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       1               IN THE UNITED STATES DISTRICT COURT
       2              FOR THE WESTERN DISTRICT OF LOUISIANA
       3                           MONROE DIVISION
       4    - - - - - - - - - - - - - x
       5    THE STATE OF MISSOURI            :
       6    et al.,                          :
       7                   Plaintiffs,       :   No.
       8    v.                               :   3:22-cv-01213-TAD-KDM
       9    JOSEPH R. BIDEN, JR.,            :
      10    et al.,                          :
      11                   Defendants.       :
      12    - - - - - - - - - - - - - x
      13
      14          Videotaped Deposition of BRIAN J. SCULLY
      15                    Thursday, January 12, 2023
      16                             9:06 a.m.
      17
      18
      19
      20
      21    Job No.: 138046
      22    Pages 1 through 376
      23    Reported by:       Cassandra E. Ellis, RPR
      24
      25



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       1                   Deposition of BRIAN J. SCULLY, held
       2    pursuant to agreement, before Cassandra E. Ellis,
       3    Certified Shorthand Reporter -- Hawaii #475,
       4    Certified Court Reporter - Washington #3484,
       5    Certified Shorthand Reporter - California -
       6    #14448, Registered Professional Reporter #823848,
       7    Certified Realtime Reporter, Realtime Systems
       8    Administrator, and Notary Public of the District
       9    of Columbia.
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       1                        A P P E A R A N C E S
       2          ON BEHALF OF PLAINTIFF:
       3                   D. JOHN SAUER, ESQUIRE
       4                   TODD SCOTT, ESQUIRE
       5                   KENT CAPPS, ESQUIRE
       6                   JOSH DIVINE, ESQUIRE
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       1         A P P E A R A N C E S           C O N T I N U E D
       2          ON BEHALF OF DEFENDANTS:
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       4                   Senior Counsel, Special
       5                   Litigation and Matters
       6                   Cybersecurity and Infrastructure
       7                   Security Agency
       8                   (202) 870-3578
       9                   Jessica.SchauNelson@cisa.dhs.gov
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      11                   MATTHEW FLEISCHMAN, ESQUIRE
      12                   OFFICE OF THE GENERAL COUNSEL
      13                   U.S. DEPARTMENT OF HOMELAND SECURITY
      14                   (202) 746-8414
      15                   matthew.fleischman@hq.dhs.gov
      16
      17
      18
      19    ALSO PRESENT:
      20    Joseph E. Ellis, Certified Legal Video Specialist
      21
      22
      23
      24
      25



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      10          Misinformation and the 2020 Election
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      19          Cyber Security Summit 2021: Responding
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       1             E X H I B I T S         C O N T I N U E D
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       5          Stamped MOLA_DEFSPROD_00008353-355,
       6          9676-680,8356-358, 10679-682,
       7          10603-605, 13661-663,13511-517,
       8          7633-634, 8349-352, 13729-734,
       9          9603-605, 7583-587, 7574-576,
      10          10538-541, 7564-566, 8768-769,
      11          10512-516, 10523-526, 8496-498,
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      14          Bates Stamped MOLA_DEFSPROD_00008722-725,
      15          10449-453, 13603-609, 8739-741, 8696-700,
      16          10420-422, 8521-522, 8693-694, 8710-711,
      17          8695, 8663-667, 8660-662, 8689, 8679,
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      20    Exhibit 11     12/01/2020 E-mail(s) Bates                   227
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       9          Stamped MOLA_DEFSPROD_00014552-553
      10    Exhibit 16     09/16/2020 E-mail Bates Stamped            252
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      13          Stamped MOLA_DEFSPROD_00014551, 14545,
      14          14552-553, 15741-743, 14526-529,
      15          14545-547, 7598-600, 7654-659, 12076-079,
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      18          Stamped MOLA_DEFSPROD_00007669-670,
      19          10298-300, 8188-189, 10718, 9703,
      20          7484-487, 7552-554, 10564-565, 8519,
      21          10392-394, 10389-391, 8625-627,
      22          8623-627, 10410-412, 8595, 8586-587,
      23          8554-557, 12223-224,12053-059
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      25



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       6          MOLA_DEFSPROD_00012672
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      10          Midterms loom
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      14          Stamped MOLA_DEFSPROD_00015459-463
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      16          Scully on government response to
      17          Disinformation, dated 06/18/2020
      18    Exhibit 52     02/17/2022 E-mail string Bates             349
      19          Stamped MOLA_DEFSPROD_00015736-737
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        1                        P R O C E E D I N G S
        2                        THE VIDEOGRAPHER:       We are on the
        3      record.      Today's date is January 12th, 2023, and
        4      the time is now 9:06 a.m.          This is the video
        5      recorded deposition of Brian Scully in the
        6      matter of the State of Missouri, et al.,
        7      plaintiff, versus Joseph R. Biden, Junior, et
        8      al., defendants, Case Number
        9      3:22-CV-01213-TAD-KDM in the United States
      10       District Court for the Western District of
      11       Louisiana, Monroe Division.
      12                         This deposition is being held via
      13       Zoom.
      14                         The reporter's name is Cassandra
      15       Ellis.       My name is Robyn Ellis.      I'm the legal
      16       videographer.      We are with Lexitas Legal.
      17                         Would the attorneys present please
      18       introduce themselves and parties they represent.
      19                         MR. SAUER:     John Sauer, from the
      20       Missouri Attorney General's Office, on behalf of
      21       the plaintiffs.       And I'm joined by my colleague,
      22       Todd Scott, who's in the room with the witness,
      23       also of the Missouri Attorney General's Office.
      24                         MR. GARDNER:     And this is Josh
      25       Gardner, with the United States Department of



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        1      Justice, on behalf of the defendants, and
        2      witness does reserve the right to read and sign.
        3                        With me today is Jessica Nelson,
        4      with CISA.        Matt Fleischman, with the Department
        5      of Homeland Security and Indraneel Sur, with my
        6      office, the Department of Justice.             We all
        7      represent the defendants.
        8                        THE VIDEOGRAPHER:        Would the court
        9      reporter please swear in the witness.
      10                         (Witness sworn)
      11                         THE VIDEOGRAPHER:        You may proceed.
      12                             BRIAN J. SCULLY
      13         having been duly sworn, testified as follows:
      14                                 EXAMINATION
      15     BY MR. SAUER:
      16                    Q.   Mr. Scully, could you please state
      17       your full name for the record?
      18                    A.   Sure.    Brian Joseph Scully.
      19                    Q.   How long -- or what is your current
      20       job title?
      21                    A.   Brand P for the MDM branch, at the
      22       National Risk Management Center, which is part
      23       of the Department of Homeland Security.
      24                    Q.   How long have you had that
      25       particular job?



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        1                   A.   Almost -- almost four years, I
        2      started in January 2019.
        3                   Q.   What did you do before that?
        4                   A.   I was a deputy for the countering
        5      and foreign influence task force, starting in
        6      April-ish, April/May 2018.
        7                   Q.   And what was your -- what was your
        8      job before that one?
        9                   A.   I was a director for policy and
      10       strategy in the Office of Infrastructure
      11       Protection.
      12                    Q.   Have you ever given a deposition
      13       before?
      14                    A.   I have not.
      15                    Q.   So this is your first one?
      16                    A.   This is my first deposition.
      17                    Q.   Can I just go over some common
      18       ground rules with you?
      19                         First of all, obviously what you
      20       and I say is being transcribed by the court
      21       reporter, so can we make an effort not to talk
      22       too fast?
      23                    A.   Yep.
      24                    Q.   And could you give -- I saw you nod
      25       your head there, and then you said yes.             Could



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        1      you try and give a verbal answer to my
        2      questions, you know, don't rely on uh-huh or
        3      uhn-uhn or head shaking as we go forward today.
        4                   A.   Yes, I can do that.
        5                   Q.   Can we make an effort not to
        6      interrupt each other, because that results in a
        7      kind of confused transcript.
        8                   A.   Of course.
        9                   Q.   Okay.   And then can you make an
      10       effort to listen carefully to the question that
      11       I'm asking you, and respond to the question that
      12       I ask, instead of discussing some other
      13       tangential topic as the day goes forward?
      14                    A.   Of course.
      15                    Q.   And you understand --
      16                    A.   Yes.
      17                    Q.   You understand that at the end of
      18       the day, if your attorney wants to ask you some
      19       follow-up questions he may have the opportunity
      20       to do that.
      21                         But when -- as I ask questions, I
      22       would ask you to focus on the questions I'm
      23       asking you, and respond to those; is that fair?
      24                    A.   That's fair.
      25                         (Exhibit No. 61 was marked for



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        1      identification.)
        2    BY MR. SAUER:
        3                   Q.   Let me start by showing you an
        4      exhibit, and I apologize, this exhibit is out of
        5      numerical order already, so I'm e-mailing it to
        6      your counsel right now.          It's pre-marked Exhibit
        7      61, but it will be the first exhibit we look at
        8      today.
        9                        And I'm going to pull it up on the
      10       screen share.      Can you see that screen share?
      11       I'm going to zoom in a little bit.
      12                         MR. GARDNER:     Hey, John, it hasn't
      13       come through yet, the e-mail, so it's just --
      14       unfortunately, that's kind of far away, it's a
      15       little challenging to see, but as soon as we get
      16       your e-mail we'll pull it up.
      17                         MR. SAUER:     You said you can't see
      18       what's on the screen share if I zoom in?
      19                         MR. GARDNER:     As you make it larger
      20       it's easier, but I don't want to speak for what
      21       the witness can and can't see.
      22                         THE WITNESS:     Yeah, I can see it.
      23     BY MR. SAUER:
      24                    Q.   Okay.   I'm happy to wait until it
      25       arrives on the e-mail.         I just want to make



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        1      sure, because I think the day's going to go more
        2      smoothly, if I can direct your attention to
        3      stuff on the screen share.
        4                        So you can see the screen share,
        5      sir?
        6                   A.   Yes, I can.
        7                   Q.   Okay.   Just looking at the top of
        8      this document, do you recognize it as an org
        9      chart for August 2022, of a subdivision of CISA?
      10                    A.   Yes.
      11                    Q.   And what -- what -- are you
      12       familiar with this org chart?
      13                    A.   Somewhat familiar with it, yes.
      14                    Q.   I just want to direct your
      15       attention over here on the right side of the
      16       page, you see here where it lists you as the
      17       chief of the mis, dis and mal-information team?
      18                    A.   Okay.
      19                    Q.   Is that your job title?
      20                    A.   Yes.
      21                    Q.   Yeah, what, exactly -- generally
      22       speaking, what do you do as the chief of the
      23       mis, dis and mal-information team for CISA, the
      24       Cyber Security and Infrastructure Security
      25       Agency?



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        1                   A.   So I -- obviously I manage the
        2      team, as a team lead.        So I manage the staff,
        3      set priority, things like that.
        4                        The purpose of the team is to build
        5      national resilience to MDM, targeting critical
        6      infrastructure.
        7                   Q.   Generally speaking, what kind of
        8      activities are involved in building resilience
        9      to critical infrastructure -- or sorry --
      10                    A.   We felt -- sure.
      11                         So principally what we do is
      12       develop products for public awareness and
      13       education or products for key stakeholders to
      14       help them understand how MDM works and steps
      15       they can take to mitigate the risks.
      16                    Q.   Do you do anything else, besides
      17       developing products?
      18                    A.   We engage with different
      19       stakeholders, civil society groups, obviously
      20       other federal partners, private sector
      21       organizations, and then we -- we do some
      22       analysis of open source reporting, and we do --
      23       obviously, you know, in 2020 we did some
      24       switchboard work on behalf of election
      25       officials.



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        1                   Q.   Switchboard work, what does that
        2      mean?
        3                   A.   It was essentially an audit
        4      official to identify something on social media
        5      they deemed to be disinformation aimed at their
        6      jurisdiction.      They could forward that to CISA
        7      and CISA would share that with the appropriate
        8      social media companies.
        9                   Q.   And what was the purpose of sharing
      10       it with social media companies?
      11                    A.   Mostly for informational awareness
      12       purposes, just to make sure that the social
      13       media companies were aware of potential
      14       disinformation.
      15                    Q.   Was there an understanding that if
      16       the social media platforms were aware of
      17       disinformation that they might apply their
      18       content moderation policies to it?
      19                    A.   Yes.   So the idea was that they
      20       would make decision on the content that was
      21       forwarded to them based on their policies.
      22                    Q.   Whereas, if it hadn't been brought
      23       to their attention then they obviously wouldn't
      24       have moderated it as content; correct?
      25                    A.   Yeah, I suppose that's true, as far



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        1      as I'm aware of it.
        2                   Q.   Directing your attention to the org
        3      chart again, can you -- I would sort of walk
        4      through the people here on your team and ask
        5      you, kind of who they are and what they do, so
        6      starting on the right column, I see Lauren
        7      Protentis on as the engagements lead; who is she
        8      and what does she do for your team?
        9                   A.   So she was -- she's a -- she's the
      10       engagements lead.       So her job was engaging with
      11       key stakeholders, interagency partners, private
      12       sector partners, essentially a majority of
      13       our outreach and engagement efforts, she managed
      14       those.
      15                    Q.   Outreach and engagement to key
      16       stakeholders, does that include social media
      17       platforms?
      18                    A.   It did, yeah.
      19                    Q.   When you say:     "It did," does she
      20       still do this or does she no longer communicate
      21       with social media platforms?
      22                    A.   Well, she's on the -- she's been on
      23       maternity leave since September, so she's --
      24       she's not currently doing it, when she returns
      25       to CISA that would be her role.



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        1                   Q.   Who's doing it while she's gone?
        2                   A.   And she -- I'm sorry, could you
        3      repeat that?
        4                   Q.   Who's -- who's playing that role in
        5      her absence?
        6                   A.   I am.
        7                   Q.   Okay.   And so for the past, I
        8      guess, three or four months you've served as
        9      essentially the active engagements lead for the
      10       MDM team?
      11                    A.   Correct.
      12                    Q.   And that goes back, I think you
      13       said, to September of 2022; is that right?
      14                    A.   Correct.
      15                    Q.   When do you expect Ms. Protentis to
      16       return?
      17                    A.   Her maternity leave ends in a
      18       couple of weeks, I believe the 23rd, potentially
      19       being gone on a detail assignment, so probably
      20       January 2024.
      21                    Q.   Oh, so you don't expect her back
      22       for another year, because of the detail?
      23                    A.   Correct.
      24                    Q.   Is the detail in -- relate to
      25       anything having to do with mis, dis or



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        1      mal-information?
        2                   A.   I believe that will be part of her
        3      portfolio on the detail, yeah.
        4                   Q.   Where is she going, if I may ask?
        5                   A.   The National Security Council.
        6                   Q.   And in her absence, you're serving
        7      as the kind of person who directly communicates
        8      with social media platforms, among other
        9      stakeholders?
      10                    A.   Correct.
      11                    Q.   I should mention, you used the
      12       shorthand earlier, MDM, and I assume it will
      13       come up again today.         When you use that, you're
      14       referring to mis, dis and mal-information;
      15       right?
      16                    A.   Correct.
      17                    Q.   I think sometimes CISA refers to MD
      18       to refer to mis and disinformation; is that
      19       right?
      20                    A.   I'm not sure I've ever seen us use
      21       MD, but that would be proactive in the context,
      22       yeah.
      23                    Q.   Turning your attention back to the
      24       period from September of 2022 to the present,
      25       what sorts of communications have you had with



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        1      social media platforms in Ms. Protentis's stead?
        2                   A.   Two -- I would say two general
        3      types of communications, one, we did regular
        4      sync meetings between government and industry,
        5      so federal partners and different social media
        6      platforms.        So it's just a coordinated meeting.
        7                        Facebook was the industry lead, so
        8      I would have coordination calls with them prior
        9      to the meetings, just to set the agenda for the
      10       meetings, so that was one.
      11                         And then two, if a platform was
      12       putting out a public statement -- or not public
      13       statement -- public report on policies or
      14       activities, we would often get a briefing on
      15       that or at least get an awareness that it was
      16       going out.
      17                         Those are the two main types of
      18       communications.
      19                    Q.   Did you -- were you involved in the
      20       last -- in the period since September 2022, and
      21       have you been involved in flagging any
      22       misinformation or disinformation issues for
      23       social media platforms?
      24                    A.   No, not that we recall.       We didn't
      25       do switchboarding in 2022.



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        1                   Q.   So when was that decision made not
        2      to do switchboarding in 2022?
        3                   A.   I believe it was back in April that
        4      that decision was made?
        5                   Q.   Who made that decision?
        6                   A.   April 2022.
        7                   Q.   Was that early or late April, do
        8      you know?
        9                   A.   I don't.   I don't recall.
      10                    Q.   Who made that decision?
      11                    A.   I -- I heard about it through Geoff
      12       Hale, who is -- is a senior org chart would be
      13       my supervisor.       I believe he received that
      14       guidance from the director, Director Easterly.
      15                    Q.   So in -- some time around -- was
      16       this late April?
      17                    A.   Honestly, I don't recall.        It's
      18       even possible it was in May by the time -- my
      19       memory's a little foggy on it -- but the
      20       earliest it was is probably mid April.
      21                    Q.   Do you know --
      22                    A.   And it could have gone any time
      23       into early May.
      24                    Q.   So the earliest would have been
      25       late April, but possibly early May is when that



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        1      decision was made; correct?
        2                        MR. GARDNER:     Objection.
        3    BY MR. SAUER:
        4                   Q.   Correct?
        5                        MR. GARDNER:     Sorry.   Objection,
        6      mischaracterizes the witness's previous
        7      testimony.
        8                   A.   Yeah, the earliest would have been
        9      mid April --
      10                    Q.   The earliest would have been mid
      11       April?
      12                    A.   -- probably.
      13                    Q.   Okay.     And then possibly beginning
      14       of May?
      15                    A.   Yeah.
      16                    Q.   And you said -- you called this
      17       switchboarding.
      18                    A.   Mm-hmm.
      19                    Q.   Switchboarding refers to routing
      20       particular disinformation concerns to social
      21       media platforms so they can evaluate them under
      22       the content modulation -- modulation policies;
      23       correct?
      24                    A.   So switchboarding is CISA's role in
      25       forwarding reporting received from election



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        1      officials, state/local election officials, to
        2      social media platforms.
        3                   Q.   CISA forwarded disinformation
        4      concerns from many other sources, besides state
        5      and local election officials, to social media
        6      platforms?
        7                   A.   I don't believe so, not that I
        8      recall.
        9                   Q.   Turning back to the two kinds of
      10       interactions you had with social media
      11       platforms, the last months since September of
      12       2022, the first one you mentioned was, I
      13       believe, a sync meeting between social media
      14       platforms and the US government; correct?
      15                    A.   Correct.
      16                    Q.   How often did those occur?
      17                    A.   They started as monthly, until, I
      18       think, October.       And then we did a couple of
      19       biweekly, I believe two biweekly meetings --
      20                    Q.   What was the purpose of the --
      21                    A.   -- prior to the election.
      22                    Q.   What was the purpose of these
      23       meetings?
      24                    A.   Generally speaking, from a CISA
      25       perspective, we would -- we would provide kind



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        1      of -- we would try to educate the platforms on
        2      how elections actually function, how they're
        3      administered, potential threats to the election
        4      administration, things like that.
        5                        So CISA's -- you know, has some
        6      expertise in the election security space.              So
        7      our role in the meetings was generally to
        8      provide kind of expertise on how elections
        9      actually work to the platforms.
      10                    Q.   And you said that was your role.
      11                         Were there other federal agencies
      12       involved in these meetings?
      13                    A.   There were, and -- and that role
      14       was generally Geoff Hale.          My role in the
      15       meetings was generally to just oversee them,
      16       facilitate the meetings.
      17                         Other agencies would provide
      18       high-level reviews or strategic intelligence
      19       briefs, if they had any -- anything to share
      20       that was unclassified.
      21                    Q.   What sorts of -- first of all, what
      22       agencies participated?
      23                    A.   DOJ, FBI, ODNI, and then DHS.
      24                    Q.   When you say DHS, was that just
      25       CISA, you and Geoff Hale, or were there other



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        1      components of DHS involved?
        2                   A.   The Office of Intelligence and
        3      Analysis of DHS also participated.
        4                   Q.   And that's called IA; is that
        5      correct?
        6                   A.   Correct.
        7                   Q.   And what was -- what did they say
        8      at these meetings, I&A?
        9                   A.   If they put out unclassified
      10       reporting, under their normal mandate, they
      11       would just talk about the reporting that they --
      12       that they published, that was related to
      13       election security.
      14                    Q.   What kind of reporting did they do,
      15       is it about foreign influence or is it about
      16       domestic threats, what kind of reporting do they
      17       do?
      18                    A.   I'm not a hundred percent certain
      19       of their -- their mission of authority.             I
      20       believe and recall what they talked about, they
      21       certainly talked about foreign threats.             I'm not
      22       sure -- they may have also talked a little bit
      23       about domestic terrorism threats, but I think
      24       that -- but I'm not 100 percent certain.
      25                    Q.   Like what sorts of things are they



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        1      saying to social media platforms, are they
        2      saying, hey, you're going to see this kind of
        3      content popping up on Facebook and Twitter and
        4      so forth, and, you know, therefore, we want you
        5      to be alert to it, what kind of -- what's the
        6      purpose of giving them these briefings?
        7                   A.   So generally speaking, it's hard
        8      for me to speak directly to the I&A reporting
        9      because, you know, I don't recall all the
      10       details of it, but generally speaking, it was
      11       more strategic-level.        So high-level things that
      12       they might be seeing, actors that might be
      13       interested in undermining confidence in the
      14       elections.
      15                         If they were seeing potential
      16       domestic terrorism type threats, those sorts of
      17       things, generally speaking, at least as long as
      18       I recall, there was never any discussion of
      19       specific content.
      20                    Q.   Did they identify specific domestic
      21       actors who they believed might try to undermine
      22       confidence in election outcomes through social
      23       media?
      24                    A.   Not that I recall.
      25                    Q.   Let me ask this:        Who, on the



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        1      government side of these meetings, who
        2      participates on behalf of -- who participated on
        3      behalf of CISA?
        4                   A.    Geoff Hale and myself were the
        5      primaries, and then you might have others who
        6      were in listen-only mode.            So Kim Wyman, for
        7      example, would sometimes be in listen-only mode.
        8      Allison Snell would sometimes be essentially the
        9      deputy or, slash, chief of staff of the --
      10       underneath Geoff, she would sometimes be in
      11       listen-only mode.         And then obviously when
      12       Lauren was pre-maternity leave she would also be
      13       on.
      14                    Q.    And then for I&A, who was on these
      15       meetings?
      16                    A.    In 2022, I believe Luke Beckman was
      17       the lead.         And then they would, depending on,
      18       you know, what product they were briefing, they
      19       would bring an analyst on, so those would
      20       change.
      21                    Q.    Do you remember any other human
      22       beings, besides Luke Beckman, from I&A, who
      23       participated in these meetings in the period of
      24       time we're talking about, from September 2022 to
      25       the present?



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        1                   A.   I don't know.     Like I -- Luke was
        2      the kind of principal lead, and who I coordinate
        3      with, I don't recall the analysts' names that
        4      they might have on there now.
        5                   Q.   What's his title?
        6                   A.   Honestly, I don't know.       I believe
        7      he's in the cyber mission center, but they are
        8      odd up there, so I'm not entirely sure what his
        9      title was, sorry.
      10                    Q.   You mentioned FBI had
      11       representatives at these meetings; is that
      12       right?
      13                    A.   Correct.
      14                    Q.   Who from FBI participated in these
      15       meetings?
      16                    A.   I recall Laura Dehmlow, at least
      17       one, and I forget who -- who the other folks
      18       were.
      19                    Q.   How many FBI people?
      20                    A.   Generally, there would be one,
      21       maybe two.
      22                    Q.   How about Elvis Chan, was he on
      23       these meetings?
      24                    A.   Oh, good reminder.      Thank you.
      25                         Yes, he would be on some of them,



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        1      as well.          I forgot about Elvis.
        2                   Q.      Do you remember anyone else,
        3      besides him?
        4                   A.      There would be, again, periodically
        5      other people would be on from different parts of
        6      FBI, but again, Laura was usually who we
        7      coordinated through, and I don't really
        8      remember -- I don't really remember the other
        9      names, sorry.
      10                    Q.      When you say Laura, that's Laura
      11       Dehmlow is who you coordinated through?
      12                    A.      Correct.
      13                    Q.      When you say:     You coordinated
      14       through them, what kind of coordination did CISA
      15       do with FBI as it pertained to these meetings?
      16                    A.      Yeah, so basically coordinating
      17       time and the logistics of the meeting, and then
      18       two, if they had any particular agenda items
      19       they wanted to raise, you know, when we were
      20       putting together the agenda, I would just check
      21       with them to see if they had any -- any
      22       particular agenda items they wanted to raise.
      23                    Q.      What sort of agenda items did they
      24       raise?
      25                    A.      I don't believe in the time I was



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        1      working, you know, in the timeframe we're
        2      talking about, I don't believe that they raised
        3      any.
        4                   Q.   Do you have -- how about before
        5      that, when Ms. Protentis was still handling the
        6      meetings?
        7                   A.   Not -- not that I recall.        Yeah, I
        8      don't -- I don't -- I don't recall, in
        9      particular, yeah, sorry.
      10                    Q.   And I take it these meetings, we've
      11       been talking about them in the period from last
      12       September until now, but they're actually going
      13       on intermittently, at least, for years; right?
      14                    A.   Yeah, so the first meeting we had
      15       with -- between federal and -- and industry was
      16       in 2018.
      17                    Q.   Yeah, we're talking -- we're now
      18       kind of four years in, and then in terms of
      19       their frequency I take it they -- they --
      20       they're less frequent when you're further away
      21       from election, and they become monthly as the
      22       election gets closer, and then they become
      23       weekly or biweekly, you know, within the last
      24       month or so before an election; is that right?
      25                    A.   I would say 2018, 2019 they were



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        1      very infrequent, so we maybe did them quarterly
        2      or less.          And then sometime in 2020 we started
        3      monthly.          And then, like you said, as we got
        4      closer to the election they would pick up.              And
        5      then after the election they would -- we would
        6      spread them back out again.
        7                           But 2018 and 2019 was different
        8      than 2020 and beyond.
        9                   Q.      And is there a plan to have these
      10       meetings continue in 2023?
      11                    A.      Not currently.
      12                    Q.      So you don't know -- you don't know
      13       whether there's going to be quarterly meetings
      14       or anything like that in 2023?
      15                    A.      Correct.
      16                    Q.      Who from DOJ was at these meetings?
      17                    A.      Rodney Patton -- Patton.
      18                    Q.      Anyone else?
      19                    A.      No, not that I recall.
      20                    Q.      How do you spell his last name?
      21                    A.      I believe it's P-a-t-t-o-n.
      22                    Q.      Like the general?
      23                    A.      Yes.
      24                    Q.      What -- what is his title at DOJ?
      25                    A.      I don't know what his title is, but



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        1      I believe he's in the national security
        2      division.
        3                   Q.    Was national security division of
        4      DOJ participating in these meetings leading up
        5      to the 2020 election?
        6                   A.    Yes.
        7                   Q.    Who from NSD participated in those
        8      meetings?
        9                   A.    I believe it was Rodney, back then,
      10       as well.
      11                    Q.    Do you remember anyone else?
      12                    A.    Adam Hickey may have jumped on a
      13       couple.
      14                    Q.    Is he also from the national
      15       security division of DOJ?
      16                    A.    I believe so, yeah.
      17                    Q.    Is that H-i-c-k-e-y?
      18                    A.    Yes.
      19                    Q.    What, if anything, did DOJ say in
      20       these meetings?
      21                    A.    Generally speaking, they didn't say
      22       anything.         Yeah, I don't recall in 2022 or even
      23       back in 2020 that they were -- were particularly
      24       active in the meetings.
      25                    Q.    Do you remember anyone from DOJ



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        1      saying anything at any point?
        2                   A.   I mean, I'm -- I'm sure they did,
        3      but I don't recall.
        4                   Q.   Do you remember anyone from DOJ
        5      ever, you know, putting an agenda items on the
        6      calendar for these meetings?
        7                   A.   I don't, no.
        8                   Q.   How about ODNI, the Office of the
        9      Director of National Intelligence, what human
      10       being from there participated in these meetings
      11       in 2022?
      12                    A.   Is it okay if I ask my attorneys a
      13       quick question?
      14                    Q.   The question --
      15                         MR. GARDNER:     Is it about a
      16       privilege?
      17                         THE WITNESS:     Yeah.
      18                         MR. GARDNER:     Yeah, John, if you
      19       want him to answer that question we'll need to
      20       recess quickly so he can consult with counsel
      21       about these issues of privilege.
      22                         MR. SAUER:     Let's go off the
      23       record.
      24                         THE VIDEOGRAPHER:        The time is now
      25       9:32.     We're off the record.



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        1                        (Recess.)
        2                        THE VIDEOGRAPHER:       The time is now
        3      9:34.    We're back on the record.
        4                        MR. GARDNER:     And counsel, I will
        5      instruct the witness not to answer that question
        6      on the basis of the National Security Act, that
        7      information is extraordinarily protected.
        8                        MR. SAUER:     Before we proceed, I --
        9      I'm announcing, for the record, that Mr. Kent
      10       Capps, from the Missouri Attorney General's
      11       Office joined the call on behalf of plaintiffs
      12       in the last break.
      13     BY MR. SAUER:
      14                    Q.   Was there anyone -- how many
      15       individuals from ODNI participated in these
      16       meetings in 2022?
      17                    A.   I believe there were two to three.
      18                    Q.   Without telling me who they are, do
      19       you remember who they are?
      20                    A.   I remember one's name and one's
      21       position, the second one's position.
      22                    Q.   How about 2020, how many --
      23                    A.   Again, it was -- it was three or
      24       four.
      25                    Q.   Do you remember who they were?



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        1                   A.   I remember the lead person's name.
        2                   Q.   Did people from ODNI speak in these
        3      meetings during 2022?
        4                   A.   Yes.
        5                   Q.   What did they say?
        6                   A.   Again, generally speaking, if they
        7      had some strategic intelligence, unclassified,
        8      strategic intelligence reporting, they might
        9      share a quick summary of that.            It was fairly
      10       limited in the timeframe from September
      11       through -- through the election, though.
      12                    Q.   Were you in the meetings prior to
      13       September of 2022, when Ms. Protentis was still
      14       at your team?
      15                    A.   I joined several of them over the
      16       summer, a couple -- couple of them over the
      17       summer, prior to her departure.           And that was
      18       just the meetings, themselves, not necessarily
      19       the coordination meetings prior to the actual
      20       sync meetings.
      21                    Q.   So the coordination meeting, is
      22       that a bilateral meeting that happens between
      23       CISA and Facebook?
      24                    A.   Yes, CISA and Facebook, and then we
      25       would do CISA with the interagency.            We would



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        1      do -- federal interagency partners would do a
        2      coordination meeting.
        3                   Q.   That would be separate from the
        4      meeting with Facebook?
        5                   A.   Correct.
        6                   Q.   Would there be two preparatory
        7      meetings, one between CISA --
        8                   A.   Generally, yes.
        9                   Q.   One between --
      10                    A.   Sorry.
      11                    Q.   -- CISA and Facebook, and one
      12       between CISA and other federal agencies?
      13                    A.   Yes, that is correct.
      14                    Q.   Turning back to what ODNI said at
      15       these meetings in 2022, what do you remember,
      16       more specifically, that they said?            Did they
      17       ever raise a specific threat advisory?
      18                    A.   Not that I recall.      I -- again,
      19       generally speaking, it was -- it was -- I don't
      20       recall specifics, so I'll just say that upfront.
      21                         And generally speaking, it was --
      22       it was higher level, kind of strategic of what a
      23       threat actor may be considering or thinking
      24       about.
      25                    Q.   And do they identify specific



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        1      threat actors?
        2                   A.   Potential state actors, yeah, so
        3      other countries.
        4                   Q.   How about domestic actors?
        5                   A.   No, not that I recall.
        6                   Q.   Did anyone on the US government
        7      side, in these meetings, identify domestic
        8      actors in the lead-up to the 2022 election?
        9                   A.   They -- they may identify domestic
      10       actors, generally, but not -- to my
      11       recollection, there's no mention of specific
      12       actors, individuals, or groups that I recall.
      13                    Q.   What social media platforms
      14       participated in these meetings?
      15                    A.   So obviously Facebook, Twitter,
      16       Microsoft, Google, Reddit generally
      17       participated, I believe sometimes LinkedIn would
      18       join.    They're a subsidiary of Microsoft, so
      19       generally we worked through Microsoft.             Those
      20       are the ones that I recall.
      21                         I believe there are others, as
      22       well, at different times, that maybe
      23       participated in a meeting or two.
      24                         But from September 2022 to the
      25       election, I think it was principally the five I



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        1      mentioned.
        2                   Q.    How about Wiki Media Foundation?
        3                   A.    I know they participated in some, I
        4      don't know how frequently, and if it -- I don't
        5      recall them participating from September on, but
        6      it's possible.
        7                   Q.    Were concerns about misinformation
        8      and disinformation on social media platforms
        9      discussed in these meetings in the 2022
      10       timeframe?
      11                    A.    Yes.
      12                    Q.    What -- what was -- what was said
      13       about those concerns and by whom?
      14                    A.    Again, it was a more general
      15       approach.         So from a CISA MDM team perspective,
      16       if we were developing any products we would
      17       discuss those.         We didn't -- we released, I
      18       believe, two sets of products in that timeframe.
      19                          And in others, if there was the
      20       intelligence community, if they're reporting
      21       included foreign actors who were potentially
      22       going to use information operations, they might
      23       mention that in their briefings.            But I don't
      24       remember specific, you know, what the specifics
      25       of every kind of mention were.



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        1                   Q.   But you --
        2                   A.   And then the platforms -- sorry, to
        3      give you both sides, that was just the
        4      government side -- the platforms, they might
        5      share some high-level trend information from
        6      public reporting that they put out.            So a lot of
        7      the platforms do their own regular reports on
        8      what they're seeing on their platforms and what
        9      they're -- what actions they're taking.             And so
      10       the platforms, themselves, would share that type
      11       of information.
      12                    Q.   So they would report to the
      13       government on what sorts of mis and
      14       disinformation they were seeing on their
      15       platforms and what content moderation actions
      16       they were taking with respect to it?
      17                    A.   So they would share essentially
      18       what they were getting ready to make public or
      19       what they had already made public.            So they
      20       would share kind of what they're seeing in their
      21       public reports, and then potentially provide
      22       some additional context around that.
      23                         So as I mentioned, most of the
      24       platforms would put out regular public reporting
      25       on what they were doing and what actions they



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        1      were taking.      And so they would share that, and
        2      if the government had questions or was looking
        3      for additional context they would often talk
        4      about that, they would generally talk about any
        5      new tactics that they were seeing.
        6                        Most of what they -- my
        7      recollections for the time period we're talking
        8      about here, from September 2022 to the election
        9      in 2022, I recall most of it was foreign based.
      10                         But, you know, when we -- often
      11       what you see overseas essentially makes its way
      12       to the United States.        So they would share kind
      13       of trends and tactics that they were seeing, but
      14       again, it was all based on public reporting that
      15       they put out.
      16                    Q.   And you say that this -- all these
      17       things that they're doing all relate to
      18       misinformation and disinformation on the
      19       platforms; correct?
      20                    A.   They don't call it misinformation
      21       or disinformation, generally, on the platforms.
      22       They generally define it as coordinated
      23       inauthentic behavior.
      24                         So they -- so -- so that's how they
      25       would describe it.        They wouldn't normally kind



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        1      of say misinformation or disinformation.             And
        2      they would each kind of define coordinated and
        3      inauthentic behavior differently.
        4                        I don't -- so I don't know that
        5      they would agree.       I don't want to speak for the
        6      platforms, obviously.        I don't know if they
        7      would agree that they were framing it as
        8      misinformation or disinformation.
        9                   Q.   From the CISA MDM teams
      10       perspective, is coordinated inauthentic behavior
      11       typically a kind of mis and disinformation?
      12                    A.   It could lead to mis or
      13       disinformation, for sure, yeah.            But it's not
      14       always mis or disinformation.
      15                    Q.   So the coordinated and inauthentic
      16       behavior may be a source of mis or
      17       disinformation of particular concern?
      18                    A.   It could be, yeah.       It could be an
      19       indicator.
      20                    Q.   Let me ask this:        Turning back to
      21       the org chart, that should be on the screen,
      22       below Ms. Protentis, is Chad Josiah, who's
      23       described as the resilience lead.            What is his
      24       role on your team?
      25                    A.   So he manages the production of our



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        1      products.         So, you know, for putting out a fact
        2      sheet or, for example, we have several graphic
        3      novels that we've developed, he would work and
        4      manage that process to get the products out, so
        5      the review process, the drafting process, things
        6      like that.
        7                   Q.    These products you're referring to,
        8      I take it those are written, publicly available
        9      bulletins or other written work products
      10       discussing disinformation and misinformation; is
      11       that right?
      12                    A.    Correct.    All of our product are
      13       available on our website.
      14                    Q.    Below him is Alex Zaheer, analyst;
      15       what does he do?
      16                    A.    He's a more junior analyst.       He
      17       supports essentially across our three lines of
      18       work.    So he helps Chad on some, he helps Warren
      19       on some of the engagement work, and then he
      20       supports Rob Schaul, who leads our analysis work
      21       in doing analysis activities, but he kind of
      22       cuts across all three.
      23                    Q.    And Rob Schaul is listed over there
      24       on the left side as analysis and response lead;
      25       correct?



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        1                   A.   Yes.
        2                   Q.   What does he do?
        3                   A.   So he does a couple things, so one,
        4      he leads our engagement with international
        5      partners; two, he builds relationships with the
        6      research community, both in academia, across the
        7      federal government, as well as in the private
        8      sector; and then, three, he pulls that together
        9      to identify new reporting or research about MDM
      10       that might be of interest to the team; and then
      11       the fourth bucket of it is he helps develop kind
      12       of analytic type products.
      13                         So right now, for example, we're
      14       working on a risk framework to help our
      15       stakeholders understand how to determine if an
      16       MDM campaign is a risk to them or not.
      17                         So he would help kind of on that
      18       side of things.
      19                    Q.   Okay.   There was -- so he talks to
      20       international partners; who are they?
      21                    A.   It varies.    Generally, all of our
      22       engagements with international partners come
      23       through the State Department or the CISA
      24       international office.
      25                         We have engaged with NATO, G7 at



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        1      the kind of multilateral level, with the CFI,
        2      counter foreign interference forum, that
        3      includes several countries.          And then we have
        4      different bilateral engagements.           A lot of
        5      countries want to come and talk to us, and so
        6      we'll do basically MDM 101 for different
        7      countries at their request.
        8                   Q.   So this is both -- these are both
        9      foreign governments and foreign nongovernmental
      10       organizations?
      11                    A.   Yeah.   I suppose if you consider
      12       the multilateral organizations, like NATO and G7
      13       as nongovernmental, but essentially we're only
      14       talking to government -- foreign government
      15       officials.
      16                    Q.   So the purpose of those discussions
      17       is to, what, track misinformation that is
      18       circulating in foreign countries that might come
      19       to the United States?
      20                    A.   No, that's not the purpose of the
      21       meetings.
      22                    Q.   Then what's the purpose?
      23                    A.   The purpose of the meetings is to
      24       share information about -- from a CISA
      25       perspective, share information about resilience



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        1      building.         So there's some countries that are
        2      much more mature and have been doing it for a
        3      long time.        So we try to learn from them kind of
        4      what they're doing, what works, what doesn't
        5      work.
        6                         So that's, again, from a CISA
        7      perspective, that's primarily our engagement
        8      with these groups.
        9                   Q.    And then you mentioned that
      10       Mr. Schaul coordinates with academic and
      11       research partners; is that correct?
      12                    A.    He doesn't coordinate, he builds
      13       relationships with, so that we can -- you know,
      14       if you have questions about reporting they put
      15       out or public reports that they have, public
      16       research, things like that, then we can have
      17       conversations with them about that research.
      18                    Q.    Who -- who -- who -- who do you
      19       have relationships like that with?
      20                    A.    We have relationships with a range
      21       of different entities.           So from an academic
      22       standpoint, we've talked to folks at Harvard, at
      23       Clemson, University of Washington, Stanford, I
      24       believe we talked to people at Georgetown and
      25       American University, Michigan University,



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        1      University of Michigan.
        2                        Essentially, if there's an academic
        3      research that puts out a report that we think is
        4      of interest, and kind of reflects our work, we
        5      try to have conversations with them to try to
        6      understand what their research findings are, and
        7      in a non-profit stage, you know, the Alliance
        8      For Securing Democracy, the Digital Frameworks
        9      Research Lab -- sorry, for the court reporter, I
      10       know I'm talking quickly.          So, you know, groups
      11       like that.
      12                         And then from a private sector
      13       perspective we talk to groups like Graphika,
      14       Alethia Group (phonetic), and organizations like
      15       those, who, again, kind of do that sort of work,
      16       mandates, you know, different organizations.
      17                         So again, the idea is to have a
      18       relationship with them so if they put out some
      19       reporting or some research publicly, that we can
      20       set up a meeting and kind of learn more about
      21       what they're seeing and what they're doing.
      22                    Q.   And has that kind of coordination
      23       gone on not from the last year but before the
      24       2020 election cycle?
      25                    A.   Yeah.



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        1                   Q.   And I think you mentioned a few
        2      entities there that includes Stanford and the
        3      University of Washington, Graphika; correct?
        4                   A.   Correct.
        5                   Q.   And all those organizations were --
        6      were involved in something called Election
        7      Integrity Partnership; right?
        8                   A.   Yep.
        9                   Q.   Yeah, what is the Election
      10       Integrity Partnership?
      11                    A.   I mean, it's a collaboration
      12       amongst -- I believe in 2020 it's amongst those
      13       four -- amongst four organizations, to -- to
      14       better understand what was going on in the
      15       information environment around elections.
      16                    Q.   And you say were those four -- you
      17       say those four organizations, I think I
      18       mentioned three, Stanford, University of
      19       Washington and Graphika, and was the Atlanta
      20       Council involved in that?
      21                    A.   Yeah, I believe the Digital
      22       Forensic Research Lab was involved.
      23                    Q.   And then were there other
      24       collaborators, besides those four, on the
      25       Election Integrity Partnership?



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        1                   A.   I think those were the official
        2      members of the partnership.          I -- I don't know
        3      if you mean something different about
        4      collaborators.
        5                   Q.   Well, let me ask this:       Was CISA --
        6      did CISA have any involvement in the Election
        7      Integrity Partnership?
        8                   A.   Involvement in the sense that a
        9      couple of our interns came up with the idea and
      10       that we had some communications with them, yes.
      11                    Q.   What kinds of communications did
      12       you have with them?
      13                    A.   So we received some briefings on
      14       the work that they were doing.            And then, like I
      15       said, we had some interns that ended up working
      16       on it.       Those are principally -- principally the
      17       communications.
      18                         We had some communications early on
      19       in the process, when they were making decisions,
      20       when Stanford was trying to figure out what the
      21       gap was.
      22                         So yeah, so it was just general,
      23       like you would have with any other research
      24       organization.
      25                    Q.   So it was no different than the



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        1      communications you had with other research
        2      organizations?
        3                   A.   I think the one difference, I would
        4      say, is that we -- we probably connected them
        5      with other -- so we connected them with the
        6      Center For Internet Security, and we connected
        7      them with some of the election official groups,
        8      so the National Association of Secretaries of
        9      State and the National Association of State
      10       Election Directors, and then we facilitated some
      11       meetings between those three.
      12                    Q.   Let me ask you this:      You said you
      13       had -- I take it you said some CISA interns came
      14       up with the idea; is that right?
      15                    A.   Correct.
      16                    Q.   And who are those interns?
      17                    A.   I'm not going to give their names.
      18                    Q.   Who were those interns?
      19                    A.   Yeah, I'm not going to give those
      20       names.
      21                    Q.   Who were -- you have no --
      22                    A.   The Stanford students -- Stanford
      23       students have seen substantial amount of
      24       harassment from public reporting.           I'm not going
      25       to include my interns in that.



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        1                   Q.      Are you -- you're declining to
        2      answer the question without an instruction?
        3                   A.      Correct.
        4                   Q.      And you said those interns were
        5      also involved in the Election Integrity
        6      Partnership; correct?
        7                   A.      I believe they worked for the
        8      Stanford Internet Observatory, as well, so yes.
        9                   Q.      And they were working for CISA and
      10       Stanford Internet Observatory on the project?
      11                    A.      When they came up with the idea,
      12       they -- obviously they were just interns.              After
      13       their internships a couple of interns remained
      14       as interns.          Several others went back to
      15       Stanford, as students, and did not remain as
      16       interns.          Two of the interns ended up working on
      17       both in the fall; correct.
      18                    Q.      You said two of the interns who
      19       were CISA interns, in the fall of 2020, worked
      20       on the Election Integrity Partnership; is that
      21       right?
      22                    A.      They worked at the Stanford
      23       Internet Observatory, which was part of the
      24       Partnership.
      25                    Q.      Were there any other interactions



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        1      between CISA and the Election Integrity
        2      Partnership, that you're aware of?
        3                   A.   So just to say so we had some
        4      initial conversation with the interns.             We had a
        5      conversation with the Stanford Internet
        6      Observatory folks about the gap.
        7                        I believe we received a briefing
        8      from them, or two, on kind of what they were
        9      putting together.
      10                         We facilitated some meetings
      11       between Stanford folks, the Center For Internet
      12       Security, and election officials, where they had
      13       discussions about how they would work together.
      14                         And then I -- I'm sure we had some
      15       conversations, kind of throughout, when they
      16       were -- particularly when they were putting out
      17       public reporting about what they were seeing.
      18                         I wouldn't be surprised if there
      19       were some other kind of brief conversations in
      20       there, but I'm not recalling.
      21                         But those are generally the
      22       categories of the conversations we had.
      23                    Q.   Did the Election Integrity
      24       Partnership, or a similar collaboration of any
      25       kind, operate during the 2022 election cycle?



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        1                        MR. GARDNER:     Objection, vague.
        2    BY MR. SAUER:
        3                   Q.   You may answer.
        4                   A.   So I believe the EIP did operate,
        5      but I'm not -- I'm not certain what they did.
        6                   Q.   How do you know they operated in
        7      2022?
        8                   A.   I believe they put out a public --
        9      some public reporting.
      10                    Q.   Did you have --
      11                    A.   But I --
      12                    Q.   Go ahead.
      13                    A.   We did not have communications with
      14       them.    They gave us a briefing, early on, about
      15       what they were thinking about, and that was the
      16       extent of our communications with them on that
      17       stuff.
      18                    Q.   When did that briefing occur?
      19                    A.   I believe it was May/June of 2022.
      20                    Q.   Who was at that briefing on your
      21       end, CISA?
      22                    A.   On my end, it was me, I believe
      23       Geoff Hale.       Who else was in that?       I think one
      24       of our -- I think that may have been it, but
      25       there might have been one other staff person



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        1      there, as well.       But it was primarily Geoff Hale
        2      and myself, that I recall.
        3                   Q.   Who was in the briefing on the EIP
        4      side?
        5                   A.   Renée DiResta was the lead, and
        6      then one of their staff, I believe his name was
        7      John, but honestly I forget what his name is.
        8                   Q.   So just two people?
        9                   A.   That I recall, yeah.
      10                    Q.   What did they say in the briefing?
      11                    A.   Essentially, they just walked
      12       through what their plans were for 2022, some of
      13       the lessons learned from 2020, that was
      14       essentially the gist of the conversation.
      15                    Q.   What were their plans for 2022?
      16                    A.   It sounded like they were going to
      17       do something similar to what they did in 2020 in
      18       terms of trying to support election officials.
      19                    Q.   Did they indicate that they were
      20       coordinating with state and local election
      21       officials?
      22                    A.   I think that was their goal with
      23       the -- with the work with state and local
      24       election officials.        I'm not sure how they would
      25       describe it.



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        1                   Q.   Sorry, I think you said this
        2      earlier, and I can't remember.
        3                        When did this briefing occur, would
        4      you say it was in May or June of 2022?
        5                   A.   I believe it was around that
        6      timeframe.        My timeline recollections are awful,
        7      so I apologize for that, but I think it was
        8      around that timeline.
        9                   Q.   Did you --
      10                    A.   Things all blur together.
      11                    Q.   Did they -- in fact, let me ask
      12       you:    Did they invite CISA to participate again?
      13                    A.   No.   CISA didn't -- I mean, I
      14       wouldn't say CISA participated in 2020, so it
      15       wouldn't have been again, so it would have been
      16       participate for -- kind of for the first time.
      17                    Q.   Did they invite CISA to have any
      18       role, at all, in what they were doing?
      19                    A.   Not that I recall.
      20                    Q.   Why were they giving you a
      21       briefing, then?
      22                    A.   I think they should know our role
      23       in the federal government for election security.
      24       And we have, you know, an established
      25       relationship with them.          So I think they were



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        1      just going around and making sure -- again, I
        2      don't -- I don't want to speak for them, but my
        3      sense was that they were just kind of briefing
        4      people who -- who were involved in election
        5      security at the federal level.
        6                   Q.   Do you -- do you know -- do you
        7      have any knowledge of what they actually did,
        8      after that briefing, during the 2022 election
        9      cycle?
      10                    A.   No.   I know -- like I said, the
      11       reason I -- I think they were operating was
      12       there was a couple of public reports, one -- at
      13       least one public report, that I recall, that I
      14       thought was pretty good, but was it about
      15       specific disinformation, it was basically how to
      16       think about whether or not a narrative poses
      17       risks.
      18                         As I mentioned earlier, we were
      19       particularly interested in understanding how to
      20       determine if MDM creates risk.            And we thought
      21       their products was pretty good on that.
      22                    Q.   You used a phrase earlier, that I
      23       did -- I passed over, and I didn't understand, a
      24       specific gap that we were talking about putting
      25       together the I&P in the first place.            What's the



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        1      gap that you're referring to?
        2                   A.   Sure.   So we had a conversation
        3      with the interns, and they were asking questions
        4      about kind of needs that the election officials
        5      have, generally.
        6                        One of the gaps that we identified
        7      from 2018 is, as you know, most election
        8      officials their offices are fairly low staff,
        9      low resourced, and so there was no -- they
      10       didn't have capabilities to try to identify
      11       disinformation targeting their jurisdictions,
      12       and so was essentially the gap is that most
      13       election offices throughout the country just
      14       didn't have that capacity or capability to be
      15       monitoring so that they could identify anything
      16       that would be potentially target their
      17       jurisdictions, so that was the gap.
      18                    Q.   So the gap is that state and local
      19       election officials don't -- just don't have the
      20       bandwidth or capacity to monitor mis and
      21       disinformation on social media that may affect
      22       their jurisdictions; right?
      23                    A.   Correct.
      24                    Q.   And then I take it was it the
      25       interns' idea that the Election Integrity



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        1      Partnership could be set up to kind of fill in
        2      that gap, was that the idea?
        3                   A.   Again, I don't want to speak for
        4      the interns.      But at that point I don't think
        5      they were necessarily thinking about more of a
        6      partnership.
        7                        I think the conversation was more
        8      along the lines of this may be something that
        9      the Stanford Internet Observatory could look
      10       into, and then I think they went back and talked
      11       to their folks at the Stanford Internet
      12       Observatory and the idea was formed from there.
      13                         So I don't think that was the
      14       interns' initial thought was to have the EIP.
      15                    Q.   Was there discussions of having
      16       CISA fill that gap, for example, by doing
      17       routing disinformation concerns to social media
      18       platforms?
      19                    A.   With the -- there's no conversation
      20       with the interns about CISA filling the gap, no.
      21                    Q.   How about internally to CISA, did
      22       CISA view itself as kind of helping fill that
      23       gap by, you know, helping state and local
      24       election officials addressing this mis and
      25       disinformation concern?



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        1                   A.   Our focus generally was not to play
        2      that role, no.       We -- we weren't looking to
        3      identify -- monitor social media to share with
        4      platforms.
        5                   Q.   You mentioned that you -- I think
        6      you mentioned you put EIP in touch with CIS, the
        7      Center For Internet Security; is that right?
        8                   A.   Correct.
        9                   Q.   What is the Center For Internet
      10       Security.
      11                    A.   I don't -- I don't know how to
      12       describe them.       They're essentially, as I
      13       understand it, they're non-profit that oversees
      14       the multi-state ISAC and the election
      15       infrastructure subsector information sharing and
      16       analysis center, that's what ISAC stands for, so
      17       that's my understanding of what they do.             I
      18       don't know what else they do.             I know them in
      19       those two contexts.
      20                    Q.   And those two contexts are
      21       overseeing an ISAC, I-S-A-C, that involves
      22       multiple states; is that right?
      23                    A.   Correct.
      24                    Q.   Now, and that's a -- basically a
      25       sharing collaborative that they facilitate



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        1      amongst state and local election officials; is
        2      that right?
        3                   A.   Yeah, it's a general woven artifact
        4      is information sharing with the sector.             So each
        5      sector -- not each -- most sectors have their
        6      own information sharing and analysis center.
        7      They're independently stood up to serve those
        8      sectors.
        9                        And so CIS was the one who was
      10       responsible for kind of running the two that I
      11       mentioned.
      12                    Q.   I'm sorry, what were those two, can
      13       you identify them again?
      14                    A.   Sure.   The multistate ISAC and the
      15       election infrastructure subsector ISAC.             And
      16       just as a reminder of what ISAC is Information
      17       Sharing and Analysis Center.
      18                    Q.   And those are, I think, referred to
      19       as the EI-ISAC and the MS-ISAC; is that right?
      20                    A.   That's correct.
      21                    Q.   And both of those, I take it,
      22       involve basically information sharing amongst
      23       state and local election officials; is that
      24       right?
      25                    A.   I believe only the election



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        1      infrastructure one is focussed on -- on election
        2      officials.        I believe the multistate one is
        3      broader across state and local government, but
        4      includes a broader set.          I'm not sure if
        5      election officials are involved in the
        6      multistate.
        7                   Q.   Is the Center For Internet Security
        8      funded, in part, by CISA?
        9                   A.   To the best of my knowledge, CISA
      10       provides funding for the EI-ISAC.
      11                    Q.   Okay.    And do you know how -- how
      12       is that funding provided, is it grants or how is
      13       it provided?
      14                    A.   I don't believe it's a grant, but
      15       I'm not 100 percent certain what the -- what the
      16       actual mechanism is, vehicle for the money to go
      17       there.
      18                    Q.   But they're --
      19                    A.   My understanding is that it's
      20       statutory, as well, but I could be wrong, also,
      21       so I don't want to speak too much.
      22                    Q.   But you're aware that CISA does
      23       provide funding for CIS to operate the EI-ISAC;
      24       is that right?
      25                    A.   My understanding is that they



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        1      provide funding to the EI-ISAC.              I don't know if
        2      the goes -- if the EI-ISAC is an organization,
        3      and the money goes to them or if the money goes
        4      to CIS, and then they filter it down to the
        5      EI-ISAC.          I'm not sure how it works, in
        6      practice.
        7                   Q.      Does CIS operate the EI-ISAC, I
        8      mean, does it kind of run it?
        9                   A.      Yeah, that's essentially how I see
      10       it, yeah.
      11                    Q.      And then you say you put them in
      12       touch, or CISA put the EIP in touch with CIS in
      13       2020, do you remember that?
      14                    A.      Yes.
      15                    Q.      How did that happen?
      16                    A.      So CISA's general position on -- on
      17       the switchboarding role was that it wasn't a
      18       role we necessarily wanted to play, because it's
      19       very resource intensive.            And so we had been
      20       working with election officials to try to find
      21       an alternate way for them to have that role,
      22       somebody play that role.
      23                            They seemed to settle on the Center
      24       For Internet Security.            And so since the EIP was
      25       working on the same mission, we wanted to make



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        1      sure that they were all connected.
        2                   Q.   And so the same mission, I take it,
        3      is the switchboarding role that you've talked
        4      about before?
        5                   A.   Correct.
        6                   Q.   Yeah, so I take it CISA was playing
        7      a switchboarding role in 2020, but you mentioned
        8      that that's resource intensive and it wasn't
        9      something that you guys wanted to be principally
      10       responsible for; right?
      11                    A.   Something we didn't want to be
      12       responsible for, at all.         But election officials
      13       asked if we could continue serving in that role
      14       until they kind of got something else set up.
      15                    Q.   And you did do that, right, in 2020
      16       you mentioned earlier that CISA performed a
      17       switchboarding function; right?
      18                    A.   Correct, in 2020.
      19                    Q.   And then Center For Internet
      20       Security performs a switchboarding function,
      21       too; is that right?
      22                    A.   Yeah.   So yes, yes and no.       So yes
      23       in the sense they were receiving reporting
      24       directly from election officials.           In the early
      25       part of 2020, they would forward what they were



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        1      receiving election officials to us at CISA, and
        2      then we would push that to the social media
        3      platform; as 2021 moved along, CIS more
        4      frequently provided that directly to the
        5      platforms, themselves.
        6                        And so I would say early on in the
        7      process, the switchboarding generally came
        8      through CISA.      Later on in the process, it was
        9      more of a mixed bag of how the switchboarding
      10       worked.
      11                    Q.   And then did EIP play a
      12       switchboarding role, too?
      13                    A.   I believe EIP did report stuff to
      14       the platforms, themselves, yes.
      15                    Q.   And was there coordination between
      16       the switchboarders, so to speak, CISA and EIP
      17       and CIS?
      18                    A.   Most of the coordination was
      19       between CISA and the Centers For Internet
      20       Security.
      21                         There was a point where one of the
      22       platforms was concerned about too much kind of
      23       duplicate reporting coming in, and so we did
      24       have some conversations with EIP and CIS on how
      25       to kind of better manage that activity to make



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        1      sure we weren't overwhelming the platforms.
        2                   Q.   In other words, like Twitter or
        3      Facebook would be hearing from CIS and CISA and
        4      EIP about a disinformation concern; correct?
        5                   A.   Yeah.   Generally speaking, yes,
        6      I'll just leave it there, yes, that's correct.
        7                   Q.   And then --
        8                   A.   Twitter, in particular, reached out
        9      to us and had some concerns about that.
      10                    Q.   And I take you talked to EIP and
      11       talked to CIS about creating a more streamlined
      12       process through the platforms?
      13                    A.   I don't think it was necessarily a
      14       streamlined process.        We just wanted to make
      15       sure that there was -- that there was awareness
      16       for the platform.
      17                         So I think, to be honest with you,
      18       I don't recall how we ended up following this,
      19       in practice.      But I think it was just we would
      20       let everybody know when we were setting
      21       something up through CIS.          We would let CIS
      22       know, and I think CIS, through that
      23       relationship, would like EIP know.
      24                         But I don't recall, specifically,
      25       how we ended up kind of solving that problem.



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        1                   Q.    But at least there was, I guess,
        2      kind of communication among CISA, the EIP, and
        3      CIS about who was reporting various concerns in
        4      an attempt to kind of de-duplicate what's being
        5      sent to the social media platforms?
        6                   A.    Yeah, I don't recall being directly
        7      from CISA to EIP.         Like I said, I think we
        8      mostly worked it through CIS.
        9                   Q.    Was there -- for example, was there
      10       direct e-mail communication between EIP and
      11       CISA?
      12                    A.    I'm sure there was.
      13                    Q.    I mean, was it your practice to
      14       copy the CISA's -- or sorry -- the EIP's tips,
      15       e-mail address when you were -- you or CIS was
      16       reporting a disinformation concern to a social
      17       media platform?
      18                    A.    No, that was not standard practice.
      19                    Q.    Did CIS do that?
      20                    A.    I don't know.      That's a good
      21       question.         I don't know.
      22                    Q.    Why don't we --
      23                    A.    Just to be clear, you're -- sorry,
      24       just to be clear, you were asking if they were
      25       sending EIP when they sent e-mail to social



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        1      media platforms; correct.
        2                   Q.   Yeah.
        3                   A.   Yeah, I'm not sure.      Sorry.
        4                   Q.   When -- when was EIP copied by CIS
        5      or you on disinformation e-mails, if ever?
        6                   A.   I don't believe we ever -- CISA
        7      ever copied EIS on e-mails we sent to platforms.
        8      I don't -- but where we were forwarding -- if we
        9      were forwarding something we received from an
      10       election official to the platform, I don't
      11       believe CISA ever copied EIP, certainly not to
      12       my recollection.          It wasn't kind of our process.
      13                         I can't speak for the Center For
      14       Internet Security.         I don't -- I don't recall
      15       who they were including on theirs.
      16                    Q.   Did you notify EIP if you were
      17       flagging a disinformation concern for a social
      18       media platform in any way?
      19                    A.   Not that I -- not directly, that I
      20       recall.       We would -- we would generally copy the
      21       Center For Internet Security.
      22                    Q.   Was it your understanding that they
      23       were communicating with EIP?
      24                    A.   CIS?    Yeah, that was essentially
      25       the -- their relationship was between those two,



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        1      yeah.
        2                   Q.   So in other words, you had the
        3      understanding that CIS had a relationship of
        4      communication and coordination with the Election
        5      Integrity Partnership; right?
        6                   A.   Yes.   Correct.
        7                   Q.   And then you would notify CIS if
        8      you were reporting something to a social media
        9      platform on the understanding that they were
      10       coordinating with EIP on what was being
      11       reported; correct?
      12                    A.   No.    The reason we -- we would
      13       coordinate with CIS was generally most of the
      14       reporting we received from an election official
      15       came through CIS.        And so we just wanted to let
      16       them know that we were -- we had set it up so
      17       that they had awareness of kind of where the
      18       report had gone.         And so that was the rationale
      19       for us coordinating with CIS.
      20                    Q.   And did you have the understanding
      21       that CIS was coordinating with EIP on what was
      22       being reported?
      23                    A.   I -- that would be speculating on
      24       exactly what they were doing there.            I'm not
      25       sure.



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        1                   Q.   You didn't know what they were
        2      doing?
        3                   A.   I mean, I know they coordinated on
        4      things.       I don't know the full nature of what
        5      they were coordinating on, I don't want to put
        6      words in their mouth.
        7                        (Exhibit No. 1 was marked for
        8      identification.)
        9                        MR. SAUER:     Let's look at Exhibit
      10       1.   I've sent that to your counsel.
      11                         MR. GARDNER:     Yeah, we've got it up
      12       here.
      13     BY MR. SAUER:
      14                    Q.   Can you also see it on the screen
      15       share?
      16                    A.   Yes.
      17                    Q.   Are you familiar with this
      18       document?
      19                    A.   Yes.
      20                    Q.   In other words, is this the report
      21       that the Election Integrity Partnership did in
      22       2021, about its activities in the 2020 election?
      23                    A.   Correct.
      24                    Q.   Had you read it before or how did
      25       it get on your attention?



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        1                   A.   Yeah, I've read portions of it
        2      before, and some of the folks briefed us on it.
        3                   Q.   Who are the folks that briefed you
        4      on it?
        5                   A.   Alex Stamos and Renée DiResta.
        6                   Q.   When did that briefing occur?
        7                   A.   I'm sorry, when or where?
        8                   Q.   When did that briefing occur?
        9                   A.   It was late spring, early summer
      10       2021.
      11                    Q.   This would have been around the
      12       time that the report was released?
      13                    A.   Yeah, sometime after that.
      14                    Q.   And Alex Stamos is at Stanford
      15       Internet Observatory; right?
      16                    A.   Yes.
      17                    Q.   Does he also serve on some CISA
      18       committees or subcommittees?
      19                    A.   I don't know.
      20                    Q.   Renée DiResta, is she also at
      21       Stanford -- Stanford Internet Observatory; is
      22       that right?
      23                    A.   Yes.   Yes, last I checked.
      24                    Q.   Do you remember what they said in
      25       the briefing?



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        1                   A.   I think they just walked through
        2      kind of what they did and how they did it,
        3      explained what they kind of learned, how they
        4      viewed some of the issues, things like that.
        5                   Q.   Who participated in the briefing,
        6      other than you, for CISA?
        7                   A.   So I received a briefing when I was
        8      at the National Security Council.           So it was a
        9      National Security Council colleague of mine,
      10       Marybeth Foley (phonetic).
      11                    Q.   Did CISA receive a briefing?
      12                    A.   I don't know for certain.
      13                    Q.   Did you do -- I can't remember if
      14       you said this -- did you do a detail on the
      15       National Security Council in that timeframe?
      16                    A.   From January 2021 to March 2022 I
      17       was on detail to the National Security Council.
      18                    Q.   Why did they report to the National
      19       Security Council?
      20                         MR. GARDNER:     Objection, calls for
      21       speculation.
      22     BY MR. SAUER:
      23                    Q.   You may answer.
      24                    A.   Yeah, I don't know why.
      25                    Q.   I mean, were they reporting back to



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        1      you because you had communicated with them back
        2      in 2020 or was it a report to your agency?
        3                        MR. GARDNER:     Objection, compound,
        4      calls for speculation.
        5                   A.   Yeah, again, I don't -- I don't
        6      know why they -- why they wanted to brief us.
        7                   Q.   Can you see the document on the
        8      screen share?
        9                   A.   Yep.
      10                    Q.   Scrolling down here on the third
      11       page of the document, they list the participants
      12       here.    Are these the same participants that you
      13       talked about earlier?
      14                    A.   Yeah.
      15                    Q.   Yeah?   And I think you mentioned
      16       Stanford Internet Observatory includes Alex
      17       Stamos and Renée DiResta; correct?
      18                    A.   Yes.
      19                    Q.   And then the University of
      20       Washington, Center For an Informed Public, is
      21       that where Dr. Kate Starbird works?
      22                    A.   I believe so, yes.
      23                    Q.   And is she also on a CISA
      24       subcommittee?      Actually, isn't she on the MDM
      25       subcommittee for the CSAC?



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        1                   A.   I believe that's correct, yeah.
        2                   Q.   And is she also involved in the
        3      Election Integrity Partnership?
        4                   A.   Yeah, that's my understanding.
        5                   Q.   Jumping ahead just a tiny bit, past
        6      the table of contents, here in the executive
        7      summary, on page six, little Roman six, you see
        8      here it says:      Election Integrity Partnership
        9      was formed to enable realtime information
      10       exchange between election officials, government
      11       agencies, civil society organizations, social
      12       media platforms, the media, and the research
      13       community; correct?
      14                    A.   Yeah, I see that sentence.
      15                    Q.   There's a reference to both
      16       election officials and government agencies
      17       engaging in realtime information exchange with
      18       social media platforms; correct?
      19                    A.   Yes.
      20                    Q.   What -- do you know what government
      21       agencies engaged in realtime information
      22       exchange under the aegis of the EIP?
      23                    A.   I don't know who they're referring
      24       to.
      25                    Q.   Did CISA do that, at all?        Did CISA



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        1      share information with EIP?
        2                   A.   Generally speaking, no.
        3                   Q.   How about more specifically, did
        4      anyone at CISA share information with the EIP?
        5                   A.   I mean, that's very broad.        Did we
        6      share information?        Can you be more specific
        7      about what type of information you're asking
        8      that we shared?       We had conversations with them,
        9      so in that sense we shared information.             Is
      10       there something in particular that you're asking
      11       about?
      12                    Q.   Sure.   What conversations did you
      13       have with them?       I know you summarized them
      14       earlier, can you be more specific?
      15                    A.   Yeah, I mean, I think that summary
      16       actually is -- is probably as specific as I can
      17       get.     Like I said, we -- we had conversations
      18       with Stanford about the gap.          They gave us some
      19       briefings on what they were doing, how they were
      20       doing it.
      21                         Prior to the election, we had some
      22       conversations with them to facilitate and
      23       coordinate meetings, as I mentioned.            And then
      24       when they put public reporting out, if we had
      25       questions about it, we would probably have



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        1      conversations with them around that, as well.
        2                   Q.   Was there any communication from
        3      government officials to EIP about specific
        4      disinformation concerns?
        5                   A.   Not that I'm aware of, no.
        6                   Q.   Who at CISA was involved in any
        7      interactions with the Election Integrity
        8      Partnership?
        9                   A.   In addition to the two interns, the
      10       primary interaction was myself and Matt
      11       Masterson.
      12                    Q.   Are you aware of anyone else at
      13       CISA communicating with them?
      14                    A.   It's possible, but I don't recall,
      15       and it certainty wouldn't have been -- you know,
      16       they would have just been part of a meeting with
      17       either Matt or myself.
      18                    Q.   How about Lauren Protentis, did she
      19       communicate?
      20                    A.   She wasn't part of the MDM team in
      21       2020.
      22                    Q.   How about --
      23                    A.   So she would not have been
      24       communicating them.
      25                    Q.   How about Geoff Hale?



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        1                   A.   I -- I wouldn't be surprised if
        2      Geoff was on some of the conversations, but I
        3      don't recall -- I don't recall him
        4      participating.
        5                   Q.   How about Director Easterly?         I
        6      guess she wasn't director back then.            How about
        7      Director Krebs?
        8                   A.   I believe Director Krebs had a
        9      relationship with Alex Stamos.            So he may have
      10       had conversations in that context.            I don't -- I
      11       don't believe he had -- necessarily had
      12       conversations in relation to EIP.
      13                    Q.   And then, in fact, when he left
      14       CISA he joined Alex Stamos at the Stanford
      15       Internet Observatory or he joined Alex Stamos in
      16       some capacity, didn't he?
      17                    A.   I believe they started a business
      18       together, yes.
      19                    Q.   Do you know what that business was?
      20                    A.   I'm sorry?
      21                    Q.   Do you know what that business was?
      22                    A.   I believe the name of it is
      23       Krebs -- Krebs/Stamos Group.
      24                    Q.   Do you know what it does?
      25                    A.   I believe cyber security theft.



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        1      I'm not entirely sure.
        2                   Q.   Does it do anything related to
        3      misinformation and disinformation?
        4                   A.   I don't know, if they do it hasn't
        5      been something they've been promoting, that I'm
        6      aware of.
        7                   Q.   Are you aware of any communications
        8      between Director Krebs -- Krebs and Alex Stamos
        9      while he -- while Krebs was still director?
      10                         MR. GARDNER:     Objection, vague.
      11                    A.   Yeah, it's really vague.
      12       Again what --
      13                    Q.   Any communications is broad and not
      14       vague.
      15                         I want to know if you have any
      16       communications of any kind between Director
      17       Krebs and Alex Stamos when Krebs was still
      18       director of CISA?
      19                         MR. GARDNER:     Same objection.
      20                    A.   I believe they -- Director Krebs
      21       may have participated in a couple of meetings
      22       that I'm aware of, that Stamos was also in, but
      23       beyond that I'm -- I'm not familiar with --
      24       obviously not going to be familiar with Krebs's
      25       direct communications with Stamos.



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        1                   Q.      What meetings were they both
        2      involved in, if you recall?
        3                   A.      So I can recall an event that
        4      occurred out in Stanford, that Krebs spoke at
        5      for the Stanford Internet Observatory, for
        6      example.          I believe the first government
        7      industry sync Stamos was the Facebook lead, at
        8      the time.          This was before he went to Stanford
        9      Internet Observatory, and Director Krebs
      10       participated in that meeting, so meetings like
      11       that.
      12                            Beyond that, I don't have a real
      13       understanding of how they communicated with each
      14       other.
      15                    Q.      Was there any discussion of the
      16       Election Integrity Partnership at the meetings
      17       you're aware of?
      18                    A.      Not that I'm aware of, no.
      19                    Q.      Turning back to the screen share,
      20       it talks about election officials, engaging in
      21       realtime information sharing with social media
      22       platforms, among others; do you see that?
      23                    A.      Yeah, as part of that same
      24       sentence, right; is that what you're referring
      25       to?



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        1                   Q.   Yeah.
        2                   A.   Yeah.
        3                   Q.   Are you aware of state and local
        4      election officials engaging in realtime
        5      information sharing with the election
        6      integrity -- you know, with social media
        7      platforms through the Election Integrity
        8      Partnership?
        9                   A.   I -- I don't know the relationship
      10       between EIP and election officials.            I'm not
      11       sure if they're referring to direct reporting to
      12       them from election officials or if they're
      13       referring to reporting through the Center for
      14       Internet Security, I'm just not sure what
      15       they're referring to there.
      16                    Q.   How about through the Center For
      17       Internet Security, was there election reporting
      18       through them?
      19                    A.   Yeah, so generally speaking, the
      20       reporting that CISA received came through the
      21       Center For Internet Security.
      22                    Q.   Gotcha.
      23                         And how about -- did -- did --
      24       as -- to the extent you understand, did EIP
      25       receive reporting through the Center of Internet



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        1      Security, you know, kind of from election
        2      officials through the internet security to the
        3      Election Integrity Partnership?
        4                        MR. GARDNER:     Objection, lack of
        5      foundation.
        6    BY MR. SAUER:
        7                   Q.   You may answer.     Do you know if --
        8                   A.   Yeah, I -- I'm not -- I'm not sure
        9      what their full relationship was and how they
      10       were sharing, what the specifics were.             It
      11       wouldn't surprise me if CIS had shared some with
      12       EIP, but I just don't know.
      13                    Q.   You mentioned Matt Masterson, and I
      14       think you said that he was involved in briefing
      15       with the EIP; is that correct?
      16                    A.   No.   He was involved -- involved
      17       in -- in conversations with Stanford Internet
      18       Observatory.       He probably -- generally, all of
      19       our -- so just to take a step back, generally
      20       our communications, when VIPs stood up, were
      21       still at the Stanford Internet Observatory.
      22                         So the conversations I'm aware of
      23       with Masterson were generally at the Stanford
      24       Internet Observatory.        He was also briefed -- I
      25       seem to recall he was probably in some of the



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        1      briefings I was in or conversations when we had
        2      questions about reporting that they did, public
        3      reporting.
        4                        So I don't know how to kind of
        5      thread the needle between, you know, when they
        6      were just conversations with Stanford Internet
        7      Observatory and when they would be considered
        8      conversations with the EIP.
        9                   Q.   And that, I take it, you said
      10       thread the needle, I take it that's kind of a
      11       fuzzy distinction, because the EIP is a
      12       collaboration that involves the Stanford
      13       Internet Observatory; correct?
      14                    A.   Right.
      15                    Q.   Do you know -- do you know -- let
      16       me ask you this:       What discussions do you know
      17       of between Matt Masterson and Stanford Internet
      18       Observatory that related in any way to the EIP?
      19                    A.   I think it would have just been if
      20       we had questions about public reporting.
      21                    Q.   What is --
      22                    A.   Kind of once they were up and
      23       running.
      24                         So he was involved in some of the
      25       conversations before, you know, the first couple



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        1      that I talked to about, kind of in our
        2      engagement with Stanford Internet Observatory,
        3      he was involved, I know, in at least one of the
        4      conversations about that.
        5                        And then, after that, I don't think
        6      he was particularly involved, but he may have
        7      been involved, and we had some briefings for --
        8      or not briefings, I don't think is the right
        9      word, where we had conversations with them about
      10       public reporting we put out.
      11                    Q.   When you say public reporting, what
      12       do you mean?
      13                    A.   So the EIP put out regular kind of
      14       blog posts, excuse me, regular blog posts on
      15       what they were seeing, so -- so it was publicly
      16       available information.
      17                    Q.   And -- and did you -- did they
      18       discuss, you know, those blog posts with Matt
      19       Masterson or you before they were posted?
      20                    A.   Not that I recall.
      21                    Q.   And what discussions did you have
      22       with the public reporting?
      23                         MR. SCOTT:    John, just one second,
      24       it looks like the video is frozen on our end.
      25       Does it appear frozen on your end, as well.



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        1                        MR. SAUER:     I see a little
        2      interference.      Shall we go off the record?
        3                        THE WITNESS:     There's interference
        4      with the top and the bottom.          I'm not seeing
        5      that.     Still, we can go off -- we can go off the
        6      record and try to fix that.
        7                        MR. SAUER:     Let's go off the
        8      record.
        9                        THE VIDEOGRAPHER:       The time is now
      10       10:27.       We are off the record.
      11                         (Recess.)
      12                         THE VIDEOGRAPHER:       The time is now
      13       10:40.       We are back on the record.
      14     BY MR. SAUER:
      15                    Q.   Mr. Scully, I think we were talking
      16       about Matt Masterson before we had the
      17       technical -- technical difficulty.
      18                         Generally speaking, do you know
      19       what role he had, if any, in originating the
      20       concept for the Election Integrity Partnership?
      21                    A.   So his primary role was the same as
      22       mine, in terms of just clarifying the gap that
      23       election officials faced for the folks at the
      24       Stanford Internet Observatory early on in the
      25       process.



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        1                   Q.      And is that something that you
        2      discussed with the interns when they came up
        3      with the idea?          Did the interns come to you or
        4      Mr. Masterson and talk about the gap?
        5                   A.      I'm sorry, so are you referring
        6      specifically to the gap?
        7                   Q.      Yeah.
        8                   A.      Yeah, so the gap came from our --
        9      the gap came from myself.
      10                    Q.      That was your idea, that there is a
      11       gap, and you shared that with the interns?
      12                    A.      I'm not sure I would say that was
      13       my idea.          That was -- that was just kind of from
      14       lessons learned from 2018, I think across the
      15       election community.
      16                            I don't know that I would say that
      17       that was -- that was something that we came up
      18       with on our own.
      19                    Q.      Is that something you shared with
      20       the interns?
      21                    A.      It is something I shared with the
      22       interns, correct.
      23                    Q.      And then the interns came up with
      24       the idea of putting together the Election
      25       Integrity Partnership as a way of assisting



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        1      state and local election authorities of filling
        2      that gap; right?
        3                   A.      I don't -- I don't know what the
        4      exact process was, essentially they identified
        5      the gap.          They went back and talked to the folks
        6      at the Stanford Internet Observatory.             And
        7      somewhere in that sausage making process, along
        8      the way, they decided that this partnership
        9      would be the best approach to take.
      10                    Q.      In that timeframe, did they also
      11       have discussions with you about putting together
      12       something like this?
      13                    A.      I'm sure they mentioned it to us
      14       somewhere along the line, that this was
      15       something they were thinking about, but I
      16       don't -- I don't know that it went beyond that.
      17                    Q.      How about Mr. Masterson, did they
      18       discuss it with him?
      19                    A.      Again, I'm not familiar with all of
      20       Matt's communications with these folks, but he
      21       was in the meeting where we talked about the gap
      22       with Stamos, in particular.             And I believe
      23       Stamos mentioned that as an option during that
      24       call.    I don't know if he had any other
      25       conversations with them.            I don't know about



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        1      that.
        2                   Q.   When did that meeting with Alex
        3      Stamos occur?
        4                   A.   Sometime in the summer of 2020, it
        5      would have -- yeah, I don't know.           The exact
        6      date would be hard for me to figure out, sorry.
        7      Yeah, the interns -- sorry -- the interns
        8      probably arrived in the May timeframe, so we
        9      probably would have had had that conversation --
      10       the initial conversation sometime in June.              And
      11       then probably Stamos, you know, a week or two
      12       after that, so probably June/July, I would say.
      13                    Q.   Was Mr. Masterson in the meeting
      14       where you discussed the gap with the interns?
      15                    A.   Not that I recall, no.
      16                    Q.   What did Mr. Stamos say in this
      17       meeting you recall from the June to July
      18       timeframe of 2020?
      19                    A.   Essentially, he just wanted to
      20       confirm that we agreed with the interns that
      21       this was a gap.
      22                    Q.   What -- what was said about the gap
      23       in that meeting, that you remember?
      24                    A.   Yeah, it was basically along the
      25       lines he just said, hey, the interns told me



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        1      that there's a gap for election officials where
        2      most of them don't have the resources to do --
        3      to identify disinformation that may be targeting
        4      their jurisdictions, is that -- did the interns
        5      give me that information correctly.            He was
        6      thinking about potentially doing something, and
        7      he obviously didn't want to spend time and
        8      resources doing something if there wasn't, in
        9      fact, a gap.
      10                    Q.   How long did this meeting occur or
      11       last, do you think?
      12                    A.   That's all of maybe 10 or 15
      13       minutes.
      14                    Q.   Was there any other communications
      15       with Mr. Stamos during this timeframe?
      16                         MR. GARDNER:     Objection, vague,
      17       also calls for speculation.
      18     BY MR. SAUER:
      19                    Q.   Do you remember any?
      20                    A.   So I don't recall any conversations
      21       I had with him in that timeframe.           I obviously
      22       can't speak for Masterson.
      23                    Q.   Okay.   Scroll ahead to page XII.
      24       There's a thank you there for contributors, and
      25       you see Kate Starbird is on that list; do you



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        1      see that?         You can look at the screen share.
        2                   A.    Yes.
        3                   Q.    You're there?      Yeah, do you know --
        4                   A.    Yeah, I got it.
        5                   Q.    Do you know how she contributed to
        6      the Election Integrity Partnership?
        7                   A.    I don't.
        8                   Q.    And I see Alex Stamos up here,
        9      obviously kind of set the thing off; right?              Do
      10       you know how else he was involved?
      11                    A.    I don't.
      12                    Q.    Okay.    Down here it says the
      13       Election Integrity Partnership would like to
      14       thank Matt Masterson for additional feedback; do
      15       you see that?
      16                    A.    I do.
      17                    Q.    Do you know what feedback
      18       Mr. Masterson provided to the Election Integrity
      19       Partnership?
      20                    A.    I don't.
      21                    Q.    When did Mr. Masterson leave CISA
      22       and go to Microsoft?
      23                    A.    So Matt left CISA, I believe, in
      24       January 2021.        I don't think he started at
      25       Microsoft until early 2022.



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        1                   Q.   Oh, do you know what he did in the
        2      intervening year?
        3                   A.   I believe he -- he worked -- he was
        4      a fellow at the Stanford Internet Observatory.
        5                   Q.   Oh, so he went from CISA to work
        6      with Alex Stamos's group at the Stanford
        7      Internet Observatory?
        8                   A.   That's my understanding, yes.
        9                   Q.   And Mr. Masterson is thanked here,
      10       in this spring of 2021, I take it he was at the
      11       Stanford Internet Observatory by then?
      12                    A.   I don't know when he officially
      13       started.
      14                    Q.   I'm going to jump ahead to page 2
      15       of the executive summary.          So if you're
      16       following on the PDF it would be the 20th page
      17       of the PDF.
      18                         There's a discussion here where it
      19       says:    The initial idea for the partnership came
      20       from four students that the Stanford Internet
      21       Observatory funded to complete volunteer
      22       internships at CISA; right?
      23                    A.   Correct.
      24                    Q.   Okay.   You've declined to identify
      25       them, early in your testimony.            Do you know who



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        1      they are?         Who are those four students?      Do you
        2      know who they are?
        3                   A.    I know for certain who two are, I
        4      believe I know who the third is, I'm unsure who
        5      the fourth is.
        6                   Q.    What -- what were they doing in
        7      their internships for CISA at the time they
        8      originated this idea?
        9                   A.    They had different activities, so
      10       they supported across the election security
      11       initiative, broadly.          So tying to think if I can
      12       recall specific tasks that they had.
      13                    Q.    And then, if you look to the next
      14       two sentences, it talks about responsibilities
      15       for election information security is divided
      16       across government offices, and it goes on to say
      17       that, yet, no government agency in the United
      18       States has the explicit mandate to monitor and
      19       correct election mis and disinformation;
      20       correct?
      21                    A.    I'm sorry, is that the next page?
      22                    Q.    If you look at the screen share,
      23       can you read that?          I can zoom in, if that
      24       helps.
      25                          MR. GARDNER:      A few sentences below



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        1      where he was reading.
        2                        THE WITNESS:     Okay.   Got you.
        3    BY MR. SAUER:
        4                   Q.   So it says:    Yet, no government
        5      agency in the United States has the explicit
        6      mandate to monitor and correct misinformation
        7      and disinformation; correct?
        8                   A.   Sorry, I'm just trying to read and
        9      catch up.
      10                    Q.   I'm just asking if you see where it
      11       says that.
      12                    A.   Yeah, I see where it says that.
      13                    Q.   And it seems to me that they're
      14       talking about a slightly different gap than the
      15       one you talked about earlier; right?            They're
      16       saying there's a gap in federal government
      17       authority to monitor and correct election mis
      18       and disinformation, right, as opposed to a gap
      19       among the capacity for state and local election
      20       authorities to do it; right?
      21                    A.   To be honest, I don't know what
      22       they're referencing, so I don't -- I don't want
      23       to speculate on what they're trying to say
      24       there.
      25                    Q.   Let me ask you this:      Do you think



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        1      there's a gap in the authority of federal
        2      government agencies to monitor and correct
        3      election mis and disinformation?
        4                           MR. GARDNER:     Objection to the
        5      extent it calls for a legal conclusion.
        6    BY MR. SAUER:
        7                   Q.      Do you think that?
        8                   A.      Yeah, I'm not a -- I'm not a
        9      lawyer, I don't want to comment on the legal
      10       authorities of the departmental agencies.
      11                    Q.      I'm just asking whether you
      12       think --          I'm not asking for your legal
      13       conclusion, I'm asking whether you think there's
      14       a gap in the authority of federal agencies that
      15       makes them unable to monitor and correct mis and
      16       disinformation?
      17                            MR. GARDNER:     Same objection, calls
      18       for a legal conclusion.
      19                    A.      Yeah, by definition, an authority
      20       is a legal determination I'm not comfortable
      21       making.
      22                    Q.      Let me ask you this:    As a
      23       practical matter, do you believe there's a gap
      24       in the ability, as opposed to the authority, the
      25       ability of federal government agencies to



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        1      monitor and correct mis and disinformation?
        2                        MR. GARDNER:     Objection, vague.
        3    BY MR. SAUER:
        4                   Q.   You may answer.
        5                   A.   Yeah, can you clarify exactly what
        6      you're asking?       I just want to make sure I
        7      understand what you're trying to get at.
        8                   Q.   I'm using your word, a gap; right?
        9                   A.   Yes.
      10                    Q.   You just called it a gap, earlier,
      11       and that's a practical word, it's not a legal
      12       conclusion?
      13                    A.   Correct.
      14                    Q.   So I'm asking you, you talked about
      15       a gap with respect to the capacities of state
      16       and local election authorities; correct?
      17                    A.   That's correct, yeah.
      18                    Q.   Do you think there's a similar gap
      19       with respect to the ability of federal
      20       government agencies to respond to mis and
      21       disinformation on social media?
      22                         MR. GARDNER:     Same objection,
      23       vague.
      24                    A.   I -- I think the federal government
      25       certainly would have the capability, if it chose



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        1      to use it, and had the authority to do it.
        2                   Q.   Do you think it hasn't chosen to
        3      use that capability?
        4                   A.   So generally speaking, I'm trying
        5      to understand your question.          So is there a gap
        6      in the federal government's ability to, what, to
        7      provide information on social media about what's
        8      online on their platforms, is that what you're
        9      asking?
      10                    Q.   I'm asking if there was a gap in
      11       the federal government's ability to, you know,
      12       take any kind of action to correct mis and
      13       disinformation on social media?
      14                         MR. GARDNER:     Same objection, to
      15       the extent it calls for a legal conclusion.
      16                    A.   Yeah, I don't know that there's a
      17       gap in the federal government's ability to do
      18       it.
      19                    Q.   Well, let me ask this:       It goes on
      20       to say -- let me ask you this:            This notion that
      21       the report says that no government agency in the
      22       United States has the explicit mandate to
      23       monitor and correct election mis and
      24       disinformation, is that something that was
      25       discussed with the CISA interns who originated



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        1      the EIP?
        2                   A.   Not that I recall, no.
        3                   Q.   Do you remember any discussions of
        4      that with anyone else, suggesting that, you
        5      know, there's no government agency in United
        6      States with an explicit mandate to monitor and
        7      correct election mis and disinformation?
        8                   A.   No, not that I -- not that I
        9      recall.       It's possible, though.
      10                    Q.   It goes on to say:      This is
      11       especially true for election disinformation that
      12       originates from within the United States, which
      13       would likely be excluded from law enforcement
      14       action under the first amendment, is not
      15       appropriate for study by intelligence agencies
      16       restricted from operating in the United States;
      17       connect?
      18                    A.   That's what the sentence says, yes.
      19                    Q.   Do you agree with that sentence?
      20                         MR. GARDNER:     Objection, calls for
      21       a legal conclusion.
      22     BY MR. SAUER:
      23                    Q.   Do you?
      24                         MR. GARDNER:     Same objection.
      25                    A.   I'm sorry, I'm reading the



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        1      sentence.
        2                        Yeah, this definitely gets into
        3      legal authority stuff that I would not want to
        4      comment on.
        5                   Q.   And the next sentence says:        As a
        6      result, during the 2020 election local and state
        7      election officials, who had a strong partner on
        8      election system and overall cyber security
        9      efforts in CISA, were without a clearinghouse
      10       for assessing mis and disinformation targeting
      11       their voting operations; correct?
      12                    A.   Yeah, that's what this sentence
      13       says.
      14                    Q.   That, to me, sounds like it's
      15       talking about the same gap you talked about
      16       earlier, and that's state and local election
      17       officials were without a clearinghouse for
      18       assessing mis and disinformation targeting their
      19       voting operations; right?
      20                    A.   That's how I read that sentence,
      21       yeah.
      22                    Q.   Yeah, and I take it that this
      23       report links that gap to gaps that they perceive
      24       in federal authority; right?
      25                         MR. GARDNER:     Objection, calls for



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        1      speculation.
        2                   A.   Yeah, I don't want to speculate on
        3      what they're trying to do there.
        4                   Q.   Okay.   Next sentence says:
        5      Students approach SIO leadership in the early
        6      summer, and in consultation with CISA and other
        7      stakeholders a coalition was assembled with
        8      like-minded partner institutions; do you see
        9      that?
      10                    A.   I do.
      11                    Q.   What -- let me ask you this:         It
      12       says, in consultation with CISA, what
      13       consultation with CISA do you recall relating to
      14       the assembling of this coalition?
      15                    A.   I don't recall any consultation
      16       with relation to the assembly of the coalition.
      17                    Q.   Well, you don't recall anyone
      18       consulting with CISA about putting together the
      19       Election Integrity Partnership?
      20                         MR. GARDNER:     Objection,
      21       mischaracterizes the witness's previous
      22       testimony.
      23                    A.   Yeah, so I don't recall any
      24       consultation with us about who would be involved
      25       in the -- in the EIP, who their members would be



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        1      or anything like that.
        2                   Q.   Do you remember any consultation of
        3      any kind about starting up the EIP in any
        4      connection?
        5                   A.   Just what I referred to earlier,
        6      the conversations with the interns and the
        7      conversation with Stamos about verifying the gap
        8      existed.
        9                   Q.   How about Mr. Masterson, is it
      10       possible they consulted with him?
      11                         MR. GARDNER:     Objection, calls for
      12       speculation.
      13                    A.   Yeah, I don't know what
      14       conversations Matt had with them.
      15                    Q.   Do you know whether he had any
      16       conversations with them relating to the
      17       commencement of the EIP?
      18                    A.   I don't.
      19                    Q.   And the next page of the document,
      20       they provide an operational timeline; do you see
      21       that?
      22                    A.   I do.
      23                    Q.   And here, the second entry in their
      24       operational timeline, is -- I'm having trouble
      25       highlighting -- it says:         July 9th of 2020,



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        1      meeting with CISA to present EIP concept; do you
        2      see that?
        3                   A.   Yep, I see that.
        4                   Q.   Do you know what meeting that is
        5      referring to?
        6                   A.   I don't know specifically what
        7      meeting that's referring to, no.
        8                   Q.   Would that -- to your mind, would
        9      that describe the 10 to 15 minute phone call you
      10       had with Alex Stamos about the gap that you
      11       talked about earlier?        Would you have described
      12       that phone call as a meeting with the EIP for
      13       EIP to present -- for -- to present the EIP
      14       concept to CISA?
      15                    A.   That 10 to 15 minute phone call
      16       only included Stamos, that I recall.            So I don't
      17       know that I would frame it as a meeting to
      18       present the EIP concept.
      19                         As I mentioned earlier, he did kind
      20       of raise the possibility of setting up some sort
      21       of a partnership, during that call, so that
      22       could be what his -- what his thinking was, but
      23       I don't know what he's referring to there.
      24                    Q.   What kind of a partnership did he
      25       talk about in that call?



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        1                   A.   He just said he thought he -- he
        2       was thinking about potentially just getting
        3       other -- other similar institutions involved.
        4                        I don't recall it -- I don't even
        5       recall if he mentioned any names or not.             I
        6       think it was more of a generic, where he didn't
        7       think Stanford could necessarily do it on its
        8       own, and would consider kind of forming some
        9       sort of partnership.
       10                   Q.   Did he talk about forming any kind
       11       of partnership with CISA?
       12                   A.   No.
       13                   Q.   So he didn't ask CISA to play any
       14       role in the concept he was putting together?
       15                   A.   No.   Again, beyond -- sorry, just
       16       to -- beyond what I've talked about earlier, you
       17       know, I think he knew he would need us helping
       18       him connect with election officials.
       19                   Q.   So he -- to the extent he -- okay.
       20                        So he was asking for your help in
       21       connecting with election officials in that
       22       meeting?
       23                   A.   I believe that was one of the asks,
       24       but I don't -- it could have been then, it could
       25       have been at another time, if that happened.



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        1                   Q.   Is there a later conversation with
        2       Mr. Stamos?
        3                   A.   I don't recall, but that's what I
        4       think there was a fifth call.             But again, I
        5       don't -- you know, this was several years ago,
        6       and my memory's a little foggy on timelines and
        7       everything that happened.
        8                   Q.   But to the best of your
        9       recollection, at some point he asked for CISA's
       10       assistance in connecting with state and local
       11       election officials; right?
       12                   A.   Yeah.
       13                   Q.   Is that when you put him in touch
       14       with the Center For Internet Security?
       15                   A.   I think they way initially put him
       16       in touch with the National Association, so the
       17       two I mentioned earlier, the National
       18       Association of Secretary's of State, and the
       19       National Association of State Election
       20       Directors.       I'm not entirely -- I don't recall
       21       when, exactly, Center For Internet Security got
       22       involved.
       23                   Q.   At some point, did you put him --
       24       put him in touch with CIS?
       25                   A.   So we put the Stanford Internet



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        1       Observatory in touch with them.          I forget if it
        2       was Alex, himself, or if it was somebody from
        3       the team there.
        4                   Q.   So at some point you put them in
        5       touch with CIS.      And were you involved in
        6       further communications with CIS and anyone at
        7       EIP?
        8                   A.   Yeah, so as I mentioned earlier, I
        9       facilitated some meetings between them, involved
       10       between them and election officials.
       11                   Q.   What sort of -- can you unpack that
       12       a little bit, you facilitated some meetings
       13       between -- was that both EIP and CIS?
       14                   A.   Right.     So I facilitated meetings,
       15       some meetings between EIP and CIS to make sure
       16       that they were -- they didn't have relationship
       17       before the -- they didn't know each other.
       18                        So we just facilitated getting them
       19       together to talk and figure out how they were
       20       going to work together.
       21                   Q.   Got you.    And who was at those
       22       meetings from EIP?
       23                   A.   I don't recall.
       24                   Q.   How about CIS, who did you put them
       25       in touch with at CIS?



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        1                   A.   I only recall the CIS person's
        2       first name was Aaron.         I'm blanking on his last
        3       name, at this point.         I suspect there were other
        4       people from CIS on the call, as well, but he
        5       was -- Aaron was my principal contact at CIS.
        6       And that's Aaron, A-a-r-o-n.
        7                   Q.   And I take it the purpose of that
        8       meeting was to set up a direct line of
        9       communication between CIS and EIP?
       10                   A.   Correct.
       11                   Q.   And then did you mention that you
       12       facilitated other meetings, for example, between
       13       EIP and NASED or National Association of
       14       Secretaries of State?
       15                   A.   Yeah, my recollection is that we
       16       did facilitate.      We put them in contact.         I
       17       don't -- I don't know if we were on the calls or
       18       not, I don't recall, but -- but I seem to recall
       19       we did put them in contact.
       20                   Q.   Okay.     And specifically you mean
       21       you put EIP --
       22                   A.   EIP in.
       23                   Q.   -- in contact with NASED and NASOS;
       24       is that what it's called?
       25                   A.   Just NASS, but yes.



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        1                   Q.   Okay.   And so, yeah, sorry, for
        2       clarity, you put EIP in contact with both NASED
        3       and NASS; correct?
        4                   A.   And just to be clear, we put SIO
        5       folks in contact with them.
        6                   Q.   Okay.
        7                   A.   But they were part of EIP, so
        8       that's kind of the -- I don't know when EIP was
        9       stood up in relation to the conversations,
       10       because I don't really know when the
       11       conversations occurred, either.          So just so
       12       you're clear, we worked through the SIO when we
       13       made those connections.
       14                   Q.   Got you.    Do you remember who at
       15       the SIO was involved in those connections?
       16                   A.   I don't.
       17                   Q.   And again, SIO is short for
       18       Stanford Internet Observatory; correct?
       19                   A.   Correct.
       20                   Q.   Do you know, what was the timeframe
       21       of those, you know, connections that you
       22       facilitated with, you know, Stanford Internet
       23       Observatory folks and CIS, NASED and NASS?
       24                   A.   I don't know for certain, but I
       25       would guess they were late July or August.



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        1                   Q.   So this would have been around the
        2       time that the EIP is kind of ramping up its
        3       activities?
        4                   A.   Yeah, I don't -- I mean, I don't
        5       know when they were ramping up their activities,
        6       but I would assume it was around that time.
        7                   Q.   Let me scroll down, so you can see
        8       this on the screen share, it's page 8.            Is that
        9       size on the screen share visible to you?
       10                   A.   Somewhat.
       11                   Q.   Do you see here on page 8 there's a
       12       kind of graphic where the EIP report lists four
       13       major stakeholders, government, civil society,
       14       platforms and media; right?
       15                   A.   Yep, I see that.
       16                   Q.   You got an arrow from government, a
       17       black arrow that flows from government to intake
       18       queue; correct?
       19                   A.   Yep.
       20                   Q.   Do you know what that's referring
       21       to, did the government -- do you know what
       22       governments as stakeholders submitting
       23       information for the intake queue for the EIP?
       24                   A.   I don't know if, specifically, what
       25       that's in reference to, no.         I mean, I would



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        1       think it was election officials, but I don't --
        2       I don't know.
        3                   Q.   How about CISA, would CISA ever
        4       receive a report from election officials and
        5       pass it along to EIP?
        6                   A.   I don't recall us doing that.         It
        7       wasn't part of our process, and -- and we would
        8       just send it to the platforms, ourselves, so I
        9       don't know that we would send it to EIP.
       10                   Q.   How about CIS, do you know if they
       11       did that on behalf of state and local officials?
       12                   A.   Did CIS forward messages that
       13       election officials sent to them to EIP?
       14                   Q.   Yeah, about disinformation.
       15                   A.   I would think so, but I don't know
       16       for certain.
       17                   Q.   And you see there's a red arrow
       18       down here at the bottom, from tier 3:
       19       Mitigation, and then that flows back to
       20       government.
       21                        Were you aware of EIP reporting
       22       back to CISA about what happened with
       23       disinformation or misinformation reports?
       24                   A.   I don't recall that there was
       25       communication when -- so just let me take a step



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        1       back.    So you're asking if we were familiar with
        2       when EIP would send reports to the platforms,
        3       were we aware of that?
        4                   Q.   Correct.
        5                   A.   Generally speaking, we were not --
        6       as far as I know we were not aware.           I wouldn't
        7       say generally.
        8                        As far as I'm aware, we were not in
        9       the loop when they were communicating with
       10       platforms.
       11                   Q.   And I apologize, I split the screen
       12       on screen share.         Actually, stay with that
       13       graphic for a minute.        Up here in the corner, it
       14       says, tier one:      Detection intake.       On-call data
       15       gathering, triage, and response; do you see
       16       that?
       17                   A.   I do.
       18                   Q.   Do you know how the Election
       19       Integrity Partnership gathered data about what
       20       was being said on social media in 2020?
       21                   A.   I don't know the specifics of how
       22       they did that, no.
       23                   Q.   Did you have any understanding at
       24       all, other than obviously receiving reports from
       25       CIS, NASED and NASS?



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        1                   A.   My understanding was that they
        2       monitored social media in some way.
        3                   Q.   Yeah, do you have any idea how they
        4       did it?      I mean, there's different ways of doing
        5       that, do you know how they did it?
        6                   A.   I don't know what tools or
        7       capabilities they used, no.
        8                   Q.   Down here below the graphic, it
        9       talks about tickets being submitted to the EIP,
       10       it says tickets were submitted both by trusted
       11       expert stakeholders detailed in section 1.4 on
       12       page 11, an internal EIP analysts; correct?
       13                   A.   Yes.
       14                   Q.   Do you know who the trusted
       15       external stakeholders were?
       16                   A.   I don't.
       17                   Q.   Do you know whether CISA, at least
       18       EIP considered CISA a trusted external
       19       stakeholder?
       20                        MR. GARDNER:     Objection, calls for
       21       separation.
       22    BY MR. SAUER:
       23                   Q.   Do you know.
       24                   A.   I suspect if we scroll down to page
       25       11 we'll find out who the stakeholders were.



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        1                   Q.   Good idea.    So here at the bottom
        2       of page 11, section 1.4, discussing external
        3       stakeholders; do you see where we are?
        4                   A.   Getting there.     And 11, external
        5       stakeholders.      Yep.
        6                   Q.   It says:     The EIP serve as a
        7       connector for many stakeholders, who both
        8       provided inputs and received outputs; correct?
        9                   A.   Yep.
       10                   Q.   Okay.    And then flipping to the
       11       next page, 12, first sentence:           External
       12       stakeholders include government, civil society,
       13       social media companies, and news media entities;
       14       correct?
       15                   A.   Correct.
       16                   Q.   It says:     Government and civil
       17       society partners could create tickets or send
       18       notes to EIP analysts; right?
       19                   A.   That's what it says, yes.
       20                   Q.   It goes on to say:      They use these
       21       procedures to flag incidents to be emerging
       22       narratives to be assessed by EIP analysts;
       23       correct?
       24                   A.   That's what it says, correct.
       25                   Q.   And do you know what government's



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        1       partners were creating tickets to flag incidents
        2       or merging narratives to the EIP?
        3                   A.   I don't.
        4                   Q.   Immediately below that paragraph,
        5       they mention some government officials; right?
        6                   A.   Yep.
        7                   Q.   Right there, it says:        Four major
        8       stakeholder groups in that graphic in the middle
        9       of page 12; right?
       10                   A.   Yep.
       11                   Q.   And there's three that are listed
       12       there; right?
       13                   A.   Mm-hmm.
       14                   Q.   There's Election Infrastructure
       15       ISAC; right?
       16                   A.   Correct.
       17                   Q.   And that's the EI-ISAC that CISA
       18       funds the Center For Internet Security to
       19       operate; is that right?
       20                   A.   Again, I don't know if the money
       21       goes directly to the EI-ISAC.            I don't know how
       22       the money flows, but EI-ISAC is part of CIS and
       23       we do fund the EI-ISAC.
       24                   Q.   Yeah, and then the next one listed
       25       is CISA?



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        1                   A.      Mm-mmm.
        2                   Q.      And the next one is listed as the
        3       GEC; right?
        4                   A.      Correct.
        5                   Q.      So do you know why CISA is listed
        6       there, why the EIP listed CISA as a major
        7       stakeholder group in the EIP?
        8                           MR. GARDNER:     Objection, calls for
        9       speculation.
       10                   A.      Yeah, I don't know why.
       11                   Q.      Down at the bottom, it says:      Four
       12       major stakeholder groups that collaborated with
       13       the EIP.         Do you believe that CISA collaborated
       14       with the EIP?
       15                   A.      Did we have conversations with
       16       representatives of the EIP?            Yes.   If that's
       17       considered collaboration then I guess we
       18       collaborated with the EIP.
       19                   Q.      Tell me about those conversations.
       20       I know you mentioned a couple of them or a few
       21       of them, already.          I take it those included a
       22       call with Alex Stamos to talk about the gap;
       23       right?
       24                   A.      Yep.
       25                   Q.      And it included facilitating



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        1       meetings between the EIP and NASED and NASS;
        2       correct?
        3                   A.   Yes.
        4                   Q.   And it included in some -- I take
        5       it, it included in some connection putting EIP
        6       in touch with Center For Internet Security;
        7       correct?
        8                   A.   That's correct.
        9                   Q.   And I take it were you kind of
       10       putting them in touch with the EI-ISAC people
       11       for the Centers For Internet Security?
       12                   A.   I don't recall that we put them in
       13       touch with the EI-ISAC people.           We put them in
       14       contact with CIS-specific people.
       15                   Q.   And, in particular, I think you
       16       mentioned someone called Aaron; is that right?
       17                   A.   Yes, Aaron, Aaron, as far as I'm
       18       aware, did not work for the EI-ISAC.            He worked
       19       just for CIS.
       20                   Q.   What other conversations with
       21       representatives of EIP do you recall, other than
       22       those four we just listed?
       23                   A.   As I mentioned earlier, I believe
       24       we had some conversations when they put out
       25       public reports.         If we had any questions about



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        1       those public reports I believe we have had a
        2       couple conversations about that.
        3                   Q.   Sorry, go ahead and finish.
        4                   A.   No, I think that's -- I think
        5       that's it, that I recall.
        6                   Q.   Who was involved in those
        7       conversations about the public reports?
        8                   A.   Again, it would likely be
        9       Masterson, and then there probably would have
       10       been some staff.      So I don't know specifically,
       11       but there would have been other election
       12       security staff, and probably other MDM-specific
       13       team staff.      But I don't recall who,
       14       specifically, it would have been.           It could have
       15       shifted, you know, based on who was available,
       16       and things like that, so -- so I don't recall.
       17                   Q.   About how many conversations of
       18       that nature, relating to public reports, do you
       19       recall?
       20                   A.   To be honest, I don't recall any,
       21       specifically.      I just know that we had a few.
       22       And so I -- I don't want to make up a number for
       23       you, but it was -- it was probably somewhere
       24       between two and four.
       25                   Q.   And were you on the two and four



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        1       conversations or did other people have them?
        2                   A.   I mean, those are the ones that I
        3       recall, so those are the ones I would have been
        4       on, I don't know if there are others that other
        5       people from CISA would have been on, that I was
        6       not.
        7                   Q.   Okay.   What was discussed in the --
        8       about their public reporting in the
        9       conversations you were involved in?
       10                   A.   We would just ask questions about
       11       tactics and things like that, what they were
       12       seeing.
       13                   Q.   What kind of contacts would they
       14       have?
       15                   A.   They were just fairly brief
       16       conversations -- sorry -- they were just fairly
       17       brief conversations, based on blog posts.             So if
       18       we had a question about jurisdiction being
       19       targeted or a new tactic or things like that, we
       20       would just ask them kind of questions about that
       21       sort of thing.
       22                   Q.   And what -- when you said tactics,
       23       those are kind of online tactics for spreading
       24       social media misinformation and disinformation?
       25                   A.   Correct.    Like we were talking



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        1       about earlier, the coordinated inauthentic
        2       behavior.        So were they using things like bots
        3       or stuff like that, kind of what was their --
        4       the technique that they were using to
        5       distribute.
        6                   Q.    Were people at CISA following their
        7       blog posts to sort of, you know, get information
        8       from them?
        9                         MR. GARDNER:      Objection, calls for
       10       speculation.
       11                   A.    Yeah, can you specify what you mean
       12       by people?
       13                   Q.    Was anyone at CISA following the
       14       EIP's public reports?
       15                         MR. GARDNER:      Same objection.
       16                   A.    I can only speak for myself.        I was
       17       following the public reports.
       18                   Q.    Okay.    How about anyone -- how
       19       about anyone on your team?
       20                         MR. GARDNER:      Same objection.
       21                   A.    Yeah, I mean, I -- they likely
       22       were, but, you know, I couldn't say for certain.
       23                   Q.    And so --
       24                   A.    The only job requirement -- there's
       25       nobody responsible on my team, as part of their



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        1       job, to regularly file to the EIP reporting.
        2                   Q.   I take it you did it, and saw some
        3       stuff you thought was interesting; is that
        4       right?
        5                   A.   Yeah.
        6                   Q.   And then are you the one who
        7       decided to reach out to them and ask questions
        8       about follow-up questions about stuff that they
        9       posted?
       10                   A.   Yeah.
       11                   Q.   And then do you remember anything
       12       specific about the tactics they flagged in their
       13       blog posts?
       14                   A.   I don't.
       15                   Q.   Who did you talk to at the EIP when
       16       you reached out?
       17                        MR. GARDNER:     Objection to the form
       18       of the question.
       19                   A.   I don't recall.
       20                   Q.   Was it Mr. Stamos?
       21                   A.   It could have been Alex, it could
       22       have been Renée.         I forget, kind of, how they --
       23       I forget how we connected with them.
       24                   Q.   Did you already know Alex Stamos
       25       and Renée DiResta when these conversations



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        1       started happening in the summer of '20?
        2                   A.    I knew Alex Stamos from previous --
        3       from when he was at Facebook.              And then, as I
        4       mentioned, Masterson and I went out to an event
        5       that Stamos hosted when he got to the Stanford
        6       Internet Observatory.         So I knew him.      Renée, I
        7       think I may have had a conversation or two with,
        8       prior, but I didn't know her as well as Alex.
        9                   Q.    You say you knew him when he was at
       10       Facebook.        What was your interactions with him
       11       then?
       12                   A.    He headed the team at Facebook that
       13       we did the coordination for some of the initial
       14       government industry meetings.              So if you recall
       15       back then, essentially the first meeting was
       16       back in 2018, Alex was the Facebook lead for
       17       that meeting.
       18                   Q.    So he was the contact person at
       19       Facebook that would be in those meetings that
       20       involved CISA and ODNI and DOJ and the FBI?
       21                   A.    Correct.
       22                   Q.    I just want to flip one page in the
       23       report.      Up here on the screen share, do you see
       24       up here they have a comment that says:
       25       Additionally, the Countering Foreign Influence



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        1       Task Force, a subcomponent of CISA, aided in the
        2       reporting process and in implementing resilience
        3       efforts to counter misinformation; do you see
        4       that sentence?
        5                   A.   I do.
        6                   Q.   I take it the counter -- countering
        7       and foreign influence task force is now called
        8       the MDM team that you lead; right?
        9                   A.   Yeah, that's correct.
       10                   Q.   Were you the leader of that team
       11       then called the CFITF in 2020?
       12                   A.   I was.
       13                   Q.   Do you know what the report means
       14       when at it says that the CFITF, which was your
       15       team, aided in the reporting process?
       16                        MR. GARDNER:     Objection, calls for
       17       speculation.
       18                   A.   Yeah, I -- I don't know,
       19       specifically, what they're referencing.             My
       20       assumption would be they're referencing a
       21       switchboarding we discussed earlier.
       22                   Q.   Tell me about that switchboarding.
       23       I take it your testimony earlier was that you --
       24       you were switchboarding or routing
       25       disinformation concerns to social media



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        1       platforms and that there was coordination with
        2       CIS and EIP on how they should be reported;
        3       correct?
        4                   A.   No, that's not correct.
        5                   Q.   Okay.
        6                   A.   So I believe what my testimony said
        7       earlier is that you would receive -- generally
        8       receive reporting through one of three ways, one
        9       of those was through the Center For Internet
       10       Security, two-fifths of that we would then
       11       forwarded to the platforms.
       12                        I don't recall any reporting
       13       directly coming from EIP.         So generally
       14       speaking, that's, you know, adding EIP into your
       15       question I think is incorrect.
       16                   Q.   What were the other two ways, you
       17       said there were three ways, one is you get
       18       them --
       19                   A.   Yep.
       20                   Q.   -- through Center for Internet
       21       Security, what are the other two?
       22                   A.   So the other two ways, sometimes
       23       election officials would send them in to CISA
       24       central, which is CISA's kind of ops center
       25       block room type setup.        And then the third way



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        1       was they would just send direct to a CISA
        2       employee, often -- often Matt Masterson, who had
        3       relationships with many of the election
        4       officials.       So those were the principal ways we
        5       received reporting from election officials.
        6                   Q.   So through the CIS, kind of
        7       directly to -- was there a kind of e-mail
        8       address for reporting misinformation that CISA
        9       maintained?
       10                   A.   Not specific to misinformation.          It
       11       was -- CISA central had their own e-mail
       12       address, and obviously Matt had his.            We had an
       13       internal CFITF e-mail address, but I don't
       14       believe we -- we put that out for election
       15       officials to send messages to, I don't recall us
       16       doing that.
       17                   Q.   And then sometimes they would go to
       18       straight to Mr. Masterson?
       19                   A.   Right.
       20                   Q.   And then I take it you -- did you
       21       coordinate with CIS on what you were reporting
       22       to social media platforms?
       23                   A.   Only in the sense that we would let
       24       them know when we reported something to a
       25       platform, again, to avoid duplication or, you



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        1       know, most of the reporting that I recall in
        2       2020 came through CIS.        And so we just wanted to
        3       let them know that we were acting on what they
        4       sent us.
        5                        For reporting that didn't come
        6       through CIS, we would often let them know after
        7       we had shared it with the platforms that we had
        8       shared something with the platforms for their
        9       arrangement.
       10                   Q.   And then I take it you said
       11       earlier, your understanding is that CIS was
       12       coordinating with EIP?
       13                   A.   Again, they had a relationship.           I
       14       don't know how I would characterize what they
       15       were -- what they were doing with the EIP.
       16                   Q.   Do you know what interactions they
       17       had, at all, other than the ones we talked about
       18       between CIS and EIP?
       19                   A.   I mean, I can't specifically say
       20       what they were doing.        They had a relationship.
       21       They shared information.         I don't know kind of
       22       the extent of that or kind of what their
       23       policies and procedures were for what they were
       24       doing.      So I know they were sharing stuff.         I
       25       don't know what, how or when, towards the



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        1       questions.
        2                   Q.   I'm going to jump ahead to page 35
        3       of this report.
        4                   A.   35?     All right.
        5                   Q.   That's going to be on page 53 of
        6       the PDF?
        7                   A.   Almost there, sorry.       All right.
        8       I'm on 35.
        9                   Q.   If you look here on the last
       10       sentence before that heading on the page, it
       11       says, according to the EIP, interestingly, just
       12       one percent of tickets related to COVID-19, and
       13       less than one percent related to foreign
       14       interference; do you see that?
       15                   A.   I do.
       16                   Q.   Is that consistent with your
       17       understanding of the reports that you were
       18       making to social media platforms in that
       19       timeframe that only a small minority related to
       20       before and afters?
       21                        MR. GARDNER:     Objection, lack of
       22       foundation, calls for speculation.
       23    BY MR. SAUER:
       24                   Q.   If you know.
       25                   A.   So CISA does not do attribution.



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        1       We didn't do analysis of what we received from
        2       election officials.         So we would not know what
        3       percentage were foreign derived.
        4                   Q.   So you would receive reports and
        5       you would forward them onto social media
        6       platforms, you know, for consideration under
        7       their content moderation policies, without
        8       assessing whether they were originated from
        9       foreign or domestics sources?
       10                   A.   That's correct.
       11                   Q.   In other words, a report would come
       12       in, and you, like, didn't take steps to see
       13       whether this came from a foreign or domestic
       14       source?
       15                   A.   Correct.
       16                   Q.   You would just pass it along to the
       17       social media platforms?
       18                   A.   Right.
       19                   Q.   Are you familiar with the gateway
       20       pundit?
       21                   A.   Am I familiar with it?       Yeah.
       22                   Q.   How do you know about it, what is
       23       the gateway pundit, on your understanding?
       24                   A.   It's some sort of a website.
       25                   Q.   How do you know about it?



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        1                   A.   I believe they've written some
        2       articles about CISA.
        3                   Q.   How did that get on your radar
        4       screen?
        5                   A.   Articles probably in our clips.
        6                   Q.   Do you remember hearing --
        7                   A.   I don't -- I don't --
        8                   Q.   Go ahead.
        9                   A.   I don't recall specifically how
       10       they got on my radar.
       11                   Q.   Do you remember hearing of them in
       12       any other connection, other than writing
       13       articles about CISA?
       14                   A.   I do think of the general kind of
       15       recall.      Yeah, I think probably just as a
       16       general fact that it had news on it I think is
       17       probably the extent of what I know.
       18                        I'm sure I've just seen them, you
       19       know, in reading other stories and things like
       20       that, I don't -- I don't -- honestly, I don't
       21       know how I came to know them.
       22                   Q.   Are you aware of anyone at CISA
       23       raising concerns that the gateway pundit might
       24       be spreading misinformation or disinformation?
       25                   A.   No.



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        1                   Q.   I'm going to jump far down in this
        2       document to page 196.
        3                   A.   Let me see if there's a quick way
        4       for me to get down there.
        5                   Q.   Yeah, it's page 213 of the PDF.
        6                        MR. GARDNER:     I think you can go
        7       here.     That's a lot.
        8                        THE WITNESS:     Sorry.
        9                        MR. GARDNER:     Yeah, you have to
       10       scroll.      All right, John, we're getting there.
       11                        THE WITNESS:     It's two what in the
       12       PDF?    I'm sorry.
       13    BY MR. SAUER:
       14                   Q.   It's page 214 of the PDF.
       15                   A.   Okay.    196.   Almost there.      Sorry.
       16                        Okay.    Yep.
       17                   Q.   Okay.    Do you see here, there's a
       18       whole section that begins:         The gateway pundit
       19       interval?
       20                   A.   I see that.
       21                   Q.   In the first sentence of that says:
       22       The gateway pundit was among the most active
       23       spreaders of election-related misinformation in
       24       our analyses; correct?
       25                   A.   That's what it says.



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        1                   Q.   Does that ring a bell, at all?           Do
        2       you recall anyone at CISA ever raising the
        3       concern that the gateway pundit was a spreader
        4       of so-called election-related misinformation?
        5                        MR. GARDNER:     Objection.     Asked and
        6       answered.
        7    BY MR. SAUER:
        8                   Q.   Do you recall that?
        9                   A.   Yep.   As I said earlier, I don't
       10       recall any examples of that, no.
       11                   Q.   Jump ahead to page 211.        This is
       12       page 229 of the PDF.
       13                   A.   Almost there.     Okay.    211, policy.
       14                   Q.   Yeah, chapter six.
       15                   A.   Gotcha.
       16                   Q.   There at the introduction, at the
       17       very beginning, it says:         Platform policies
       18       establish the rules of participation in social
       19       media communities; correct?
       20                   A.   Yes.
       21                   Q.   It says:    Recognizing the
       22       heightened rhetoric and the use of mis and
       23       disinformation during the 2020 election, all the
       24       major platforms made significant changes to
       25       election integrity policies, both as the



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        1       campaigns kicked off and through the weeks after
        2       election day; correct?
        3                   A.    Yes.
        4                   Q.    And let me ask you this:       Are you
        5       aware of social media platforms like Twitter and
        6       Facebook and YouTube and so forth changing their
        7       election integrity policies to limit
        8       election-related misinformation and
        9       disinformation during 2020?
       10                   A.    I'm aware that they changed
       11       policies.        I don't know -- again, I don't know
       12       that they needed mis and disinformation as their
       13       terminology, so I don't want to go there.             But I
       14       do recall that they changed policies in 2020
       15       related to election security.
       16                   Q.    How did you know that, at the time,
       17       did they report it to you?
       18                   A.    They -- they did talk about some of
       19       it in our regular sync meetings.           And then I
       20       believe there's some media coverage and public
       21       statements that they made about their changes.
       22                   Q.    In the sync meetings, were there
       23       any questions on the government side?            Did the
       24       government ask:          What are you doing to change
       25       your policies?



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        1                   A.   I don't recall that.       I think,
        2       generally speaking, the platforms would just
        3       talk, you know, on a regular course of the
        4       conversation they would -- that would be one of
        5       their briefing points, that they were making
        6       significant changes.        But it wasn't an essential
        7       part of the conversations, generally speaking.
        8                   Q.   Were you aware of anyone in the
        9       federal government kind of asking or encouraging
       10       them to change their content moderation policies
       11       to address election integrity?
       12                   A.   Not that I'm aware of, no.
       13                   Q.   Do you recall, was it placed on the
       14       agenda for the sync meetings?
       15                   A.   Was what placed on the agenda?
       16                   Q.   Changes in content moderation
       17       policies.
       18                   A.   Not that I recall.
       19                   Q.   Do you know how it came up in those
       20       meetings?
       21                   A.   Again, I think, you know, part of
       22       the meetings were generally different
       23       participants providing updates on what they were
       24       doing relating to election security.            And my
       25       recollection is, is that platforms might raise



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        1       those sorts of things during that portion of the
        2       agenda.
        3                   Q.   Did they ever separately e-mail you
        4       to notify you of a content policy update?
        5                   A.   Not that I recall, though it's
        6       certainly possible.         You know, I would get press
        7       releases that they would put out sometimes, they
        8       would forward to me.        But I don't recall
        9       specific e-mail on that.
       10                   Q.   Do you know whether anyone at the
       11       Center For Internet Security discussed content
       12       policy changes with the social media platforms?
       13                   A.   I don't.
       14                   Q.   Do you know whether anybody at CISA
       15       did so during the 2020 election cycle?
       16                   A.   Not that I'm aware of, no.
       17                   Q.   How about Mr. Masterson?
       18                   A.   Not that I'm aware of.
       19                   Q.   What was Mr. Masterson's title or
       20       what was his role at CISA during this timeframe
       21       in 2020?
       22                   A.   He was the senior -- I don't know
       23       what his exact title was, but he was a senior
       24       election security person at CISA.
       25                   Q.   So did you report to him when you



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        1       were the head the countering foreign influence
        2       task force?
        3                   A.   No.     Matt was what I call a
        4       political appointee, so for organizational
        5       reasons I reported up to Geoff and Geoff
        6       reported to a normal chain of command.            So there
        7       was something weird about Matt being a political
        8       appointee and where he could sit in the org
        9       chart, so none of us technically reported up to
       10       him.
       11                   Q.   So he was -- but he was -- as a
       12       political appointee is higher than you in the
       13       org chart?
       14                   A.   Yeah.
       15                   Q.   Okay.    And did you coordinate with
       16       him on the sort of -- sort of disinformation and
       17       misinformation related activities that CISA was
       18       engaged in, in 2020?
       19                        MR. GARDNER:     Objection, vague.
       20                   A.   Yeah, could you be a little more
       21       clear in what you're asking, please?
       22                   Q.   Well, did you work with Matt
       23       Masterson on election disinformation and
       24       misinformation related issues in 2020?
       25                   A.   Yes.



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        1                   Q.   Okay.   What sort of work did you do
        2       with him?
        3                   A.   Again, a majority of our work, as I
        4       mentioned earlier, was resilience building, so
        5       trying to develop products, public education,
        6       public awareness, product to help election
        7       officials, those sort of things.           And then I
        8       would have discussed with him -- he would have
        9       been familiar with the switchboarding work that
       10       we were doing.
       11                   Q.   Did he participate in the
       12       switchboarding work?
       13                   A.   Not beyond when he would receive
       14       e-mails, he forwarded them to us.
       15                   Q.   Well, he would send them to you to
       16       be switchboarded, so to speak?
       17                   A.   Yeah, I mean, he would send them to
       18       me or the team e-mail address.
       19                   Q.   Oh, and you mentioned earlier that
       20       he had close relationships with social media
       21       platforms?
       22                   A.   No, I don't think I ever said that.
       23       He had close relationships with election
       24       officials.
       25                   Q.   Oh, okay.    Did you also mention



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        1       that he was in -- he had contacts with social
        2       media platforms?
        3                   A.   Again, he would have participated
        4       in the sync meetings that I talked about, the
        5       government industry syncs.         If we had a briefing
        6       or something at other meetings he would likely
        7       participate.     Those are the only communications
        8       I'm aware of, but he may have had others.             I'm
        9       not sure.
       10                   Q.   Are you aware of anyone at the
       11       Election Integrity Partnership communicating
       12       with the social media platforms about changing
       13       their policies to, you know, kind of restrict
       14       election-related misinformation?
       15                   A.   I am not, no.
       16                   Q.   Is that something, that idea of
       17       advocating to the social media platforms to
       18       adopt more restrictive policies on
       19       election-related misinformation, is that
       20       something that's -- that you recall coming up in
       21       any meetings or discussions you had in 2020?
       22                   A.   So did we ever have -- so one, if
       23       you can clarify who the meetings were with, that
       24       you're asking about.
       25                   Q.   I'm asking --



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        1                   A.    Or the general -- did anyone at
        2       CISA meet to discuss changes in platform policy?
        3       To the best of my recollection, the answer is
        4       no, we never meant to discuss asking the
        5       platforms to make any changes to their policies.
        6                   Q.    Do you recall -- I take it that was
        7       a response as to internal meetings, are you
        8       aware of any meetings with anyone external to
        9       CISA to discuss, you know, changes in platform
       10       policies?
       11                   A.    I'm not aware of any external
       12       meetings along those lines.
       13                   Q.    Do you recall any communications of
       14       any kind that related to that in 2020?
       15                   A.    Any communications that related to
       16       what?    To -- to platforms changing their
       17       policies?        Any communications -- with -- I mean,
       18       that's a very broad -- I mean, it's possible
       19       that somebody at CISA, along the way, had a
       20       conversation about that, but I don't recall any
       21       specific conversations where we sat down to talk
       22       specifically about that.          I don't -- I don't
       23       recall any of that.         It's a very broad answer,
       24       so I don't want to say definitively that nobody
       25       at CISA ever had any conversations in 2020 about



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        1       policy changes.
        2                   Q.   How about you, do you recall
        3       communicating with anyone outside of CISA about
        4       social media platform policy changes in 2020?
        5                   A.   I don't.    I don't.
        6                   Q.   Have you ever heard of the Virality
        7       Project?
        8                   A.   I have.
        9                   Q.   What is the Virality Project?
       10                   A.   My understanding, it was Stanford's
       11       attempt to mimic the EIP for COVID.
       12                   Q.   How do you know about that?
       13                   A.   Good question.     I believe they sent
       14       me some of their public reports.
       15                   Q.   The Virality Project did?
       16                   A.   Yes.
       17                   Q.   Who -- who would have sent those to
       18       you?   Was it the same people involved in -- same
       19       people involved in the Election Integrity
       20       Partnership?
       21                   A.   I think Alex was involved, and I
       22       believe Renée was involved.         I don't know if the
       23       rest were similar or not.         I don't recall who
       24       was sending it, the exact individual who was
       25       forwarding me their reports.



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        1                   Q.    Was that --
        2                   A.    And to be honest, I'm not sure if
        3       they sent them directly to me or if they went to
        4       somebody else in government who forwarded it to
        5       me.
        6                   Q.    Okay.    Was there -- did you have an
        7       oral conversation with anyone associated with
        8       the Virality Project about what they do?
        9                   A.    Not specifically about what they
       10       do, but I did have some conversations where they
       11       were asking us for -- asking me, not us -- for
       12       any connections I had with HHS or CDC.
       13                   Q.    And did you provide them with
       14       connections?
       15                   A.    I did not.
       16                   Q.    What did you -- what did you say in
       17       that conversation?
       18                   A.    I don't recall that I had any --
       19       any relevant points of contacts to provide them.
       20                   Q.    Did you have any other
       21       conversations with them relating to the Virality
       22       Project?
       23                   A.    Not -- not substantial.       I'm trying
       24       to think.        I mean, I -- most of that work took
       25       place when I was over at the National Security



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        1       Council, so I had substantially less
        2       communication.
        3                        But I believe there were some
        4       informal kind of not work conversations that I
        5       may have had with Alex, in particular, and maybe
        6       Renée, as well.
        7                   Q.   You believe when you were detailed
        8       to the National Security Council you had
        9       conversations with Alex Stamos and Renée DiResta
       10       about the Virality Project?
       11                   A.   Just in the sense that it was
       12       something that they were doing, and that was
       13       when I think Alex asked if I had any contacts is
       14       when I was at the National Security Council.
       15                   Q.   Did you and Alex discuss anything
       16       else about it?      And let me ask you this:         Did he
       17       give you any kind of overview what they planned
       18       to do in the Virality Project?
       19                   A.   Not beyond that it was similar to
       20       what they did with the -- with the EIP, that was
       21       the extent.      We didn't get into any details or
       22       anything like that.
       23                   Q.   And he asked you for contacts at --
       24       at kind of federal kind of health agencies?
       25                   A.   Yeah, that's my recollection of



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        1       what he was asking for.
        2                   Q.   And did you have any other
        3       discussions with him that related to Virality
        4       Project?
        5                   A.   Not that I recall.      I don't know
        6       that we ever got briefed on their work, so I
        7       don't think there was anything like that.             So I
        8       think to the extent was, you know, that
        9       conversation about that, and then, like I said,
       10       I believe I received some of their reports, the
       11       public reports.
       12                   Q.   And you say either they or someone
       13       within government forwarded you with their
       14       public reports?
       15                   A.   Right, yeah, I don't recall exactly
       16       how I got them.      I think it was from -- from the
       17       Virality Project, itself, but I'm not a hundred
       18       percent certain of that.
       19                   Q.   And let me ask you this:        Was CISA
       20       active in -- in -- or take any activities to
       21       follow or address information -- misinformation
       22       relating to COVID-19?
       23                   A.   I believe we did at least one
       24       product for our critical infrastructure
       25       stakeholders related to COVID-19.



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        1                   Q.   How about --
        2                   A.   It should be on our -- sorry.
        3                        It should be on our public website.
        4                   Q.   How about switchboarding, did CISA
        5       do any switchboarding related to COVID-19
        6       misinformation concerns?
        7                   A.   No.
        8                   Q.   And again, the switchboarding
        9       that -- when I use that term I'm using your term
       10       for kind of routing disinformation concerns and
       11       misinformation concerns to the social media
       12       platforms; correct?
       13                   A.   Correct, yeah, as far as I'm aware
       14       there was no -- there was none of that occurred
       15       related to COVID.
       16                        MR. SAUER:     I'm going to pull up
       17       Exhibit 2 on the screen share, which has also
       18       been e-mailed to you, which is the Virality
       19       Project's public reporter.
       20                        (Exhibit No. 2 was marked for
       21       identification.)
       22                        MR. GARDNER:     Hold on one second,
       23       John.
       24                        MR. SAUER:     Which is the Virality
       25       Project's public report, Virality,



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        1       V-i-r-a-l-i-t-y.
        2                        MR. GARDNER:     Yeah, hold on, John.
        3       Hold on, John.      Hold on.     Got it.
        4    BY MR. SAUER:
        5                   Q.   You mentioned -- before we turn to
        6       the document, you mentioned that you had
        7       conversations with Alex Stamos and Renée DiResta
        8       about the Virality Project.         What were the
        9       nature of the conversations with Renée DiResta?
       10                   A.   They were at the same time as the
       11       conversations with Alex.         I believe it was
       12       similar content.      And I don't -- it wasn't a
       13       lengthy conversation, it was just, hey, we're
       14       doing something, I believe.
       15                   Q.   Mm-hmm.    Did she ask you for any
       16       context or anything like that?
       17                   A.   I'm sorry, could you repeat that?
       18                   Q.   Did she ask you for any context or
       19       anything like that?
       20                   A.   Not that I recall, but I think she
       21       was with Alex when we had that conversation.
       22                   Q.   So you believe it was the same
       23       conversation with Alex and Renée happened at the
       24       same time?
       25                   A.   Yeah, I believe we were having a



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        1       meeting, they were briefing us about -- so I
        2       think this was connected to when I got the brief
        3       on the report, the election report, when I was
        4       at the White House.       I think that's when they
        5       mentioned that they were going to potentially do
        6       something similar around COVID, and asked if we
        7       had any contacts.
        8                   Q.   And did you -- and I take it you
        9       said earlier you didn't have any contacts;
       10       right?
       11                   A.   Yeah, I didn't have any good
       12       contacts at CDC or HHS.
       13                   Q.   Did you ask anyone else in
       14       government if they had contacts that would be
       15       useful to them?
       16                   A.   I don't recall doing that, so I
       17       don't think so.
       18                   Q.   Did you notify people at the White
       19       House about, you know, the briefing you got from
       20       them or the information you got from them?
       21                   A.   So I'm sure I talked to my
       22       supervisor about the election briefing.             I may
       23       have mentioned, although I don't recall if I did
       24       or not, that they were going to do something
       25       similar for -- for COVID.



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        1                   Q.   What did you report back about the
        2       election briefing?         I take it that's the long
        3       fuse report from the Election Integrity Project
        4       right, or partnership; right?
        5                   A.   Yeah, just to the extent we -- just
        6       in general, we met with them kind of shared kind
        7       of their lessons learned, kind of what some of
        8       their big takeaways were.          I don't recall what
        9       the specifics were.         It was a brief kind of
       10       conversation in passing.
       11                   Q.   Who was your supervisor at that
       12       time?
       13                   A.   Kaitlin Gegovich (phonetic).
       14                   Q.   Looking at the Virality Project
       15       report, skipping ahead to page 4 of the report?
       16                   A.   4, 4, or Roman numeral four?
       17                   Q.   Regular four.
       18                   A.   Gotcha.
       19                   Q.   Is there's recommendations --
       20                   A.   Okay.     Okay.
       21                   Q.   Is there a recommendation here to
       22       implement misinformation and disinformation
       23       center of excellence housed within the cyber
       24       security infrastructure security agency; do you
       25       see that?



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        1                   A.   I do.
        2                   Q.   So Stanford recommends that the
        3       government create a misinformation and
        4       disinformation center of excellence housed
        5       within CISA; correct?
        6                        MR. GARDNER:     Objection.     He said
        7       it calls for speculation.
        8                   A.   That's what the sentence says.
        9                   Q.   Did they ever discuss --
       10                   A.   What they meant by that, I don't
       11       know what they meant.
       12                   Q.   Did they ever -- did Alex Stamos or
       13       Renée DiResta ever discuss that with you, you
       14       know, having CISA take on a new and more
       15       formalized roll with respect to misinformation
       16       and disinformation?
       17                   A.   Not that I recall.      I don't think I
       18       was ever briefed on this report, so I don't
       19       recall having that conversation.
       20                   Q.   Do you know of anyone -- they
       21       talked to anyone else at CISA about that?
       22                   A.   I don't know.     I don't know.
       23                   Q.   By the time of this report, in
       24       2021, Matt Masterson was actually working for
       25       the Stanford Internet Observatory; correct?



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        1                   A.   I believe so, yeah.
        2                   Q.   Have you ever read this report
        3       before?
        4                   A.   I think I read a little bit of it,
        5       but I don't think I read the whole -- I don't
        6       recall.      I haven't read the whole thing.         I
        7       shouldn't say I don't recall.            I haven't read
        8       the whole thing.
        9                   Q.   Do you know when you read it?
       10                   A.   I don't.
       11                   Q.   Do you know why you read it?
       12                   A.   I mean, I would read it, generally
       13       speaking, I'm interested in understanding what
       14       researchers find related to mis, dis and
       15       mal-information.
       16                   Q.   I'm sorry, relating to what?
       17                   A.   What researchers find, understand,
       18       what they're learning relating to mis, dis and
       19       mal-information.
       20                   Q.   And did you have any takeaways from
       21       this report, that informed your work at the MDM
       22       team?
       23                   A.   I don't think there's anything
       24       specific that we took from this, from a product
       25       standpoint or anything like that.



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        1                   Q.   Do you know how -- do you know how
        2       the Virality Project tracked, you know,
        3       misinformation narratives about COVID vaccines
        4       on social media?
        5                   A.   I don't.
        6                   Q.   I'm going to jump ahead to page 30
        7       of the report, very usefully that's also page 30
        8       of the PDF.
        9                   A.   Making things easier.
       10                   Q.   I think they learned a lesson after
       11       the first report.
       12                   A.   Yeah.
       13                   Q.   Reference here to your --
       14                   A.   Okay.   Got you.
       15                   Q.   There's a reference here to tiered
       16       ticket analysis, it says:         Their analysis
       17       consisted of lateral -- lateral research that
       18       used Crowd Tangle and Google searches to assess
       19       the spread of the incident or content and so
       20       forth; do you see that?
       21                   A.   I do.
       22                   Q.   What Crowd Tangle is?
       23                   A.   I believe Crowd Tangle was a
       24       Facebook-owned social media monitoring service.
       25                   Q.   And is that something that's



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        1       available to the public?         Can the public kind of
        2       subscribe to Crowd Tangle?
        3                        MR. GARDNER:     Objection.
        4    BY MR. SAUER:
        5                   Q.   Or is it kind of a --
        6                        MR. GARDNER:     Objection.       Sorry.
        7       Sorry, thought you were done, John, please, are
        8       you done?
        9                        MR. SAUER:     Yeah.
       10                        MR. GARDNER:     Sorry, objection,
       11       lack of foundation.
       12                   A.   So I don't know -- I don't know the
       13       nature of Crowd Tangle, if it's publicly
       14       available or not.
       15                   Q.   Have you ever heard of it before?
       16                   A.   I have.
       17                   Q.   In what connection have you heard
       18       of it?
       19                   A.   Just talking, you know, in the
       20       general, mis, dis, mal-information research
       21       community, I know it's a tool that some
       22       researchers use.
       23                   Q.   Okay.     Next page of the report,
       24       there's a reference to collecting video --
       25       there's a reference to -- it says:           The



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        1       engagement data or video view data for links
        2       associated with each ticket is collected
        3       differently depending on the social media
        4       platform in question, colon; do you see that?
        5                   A.   I do.
        6                   Q.   It talks about how Facebook and
        7       Instagram, they used Crowd Tangle API; right?
        8                   A.   I see that, yeah.
        9                   Q.   What is -- do you know what API
       10       stands for?
       11                   A.   I don't.
       12                   Q.   Okay.   Same question, then, as to
       13       Twitter, it says Twitter API, YouTube, API, do
       14       you know what API refers to?
       15                   A.   I --
       16                        MR. GARDNER:     Objection, asked and
       17       answered.
       18                   A.   Yeah, I don't know, that's a little
       19       above my technical knowledge.
       20                   Q.   Let's jump ahead to page 143.
       21                   A.   Okay.
       22                   Q.   Okay.   Here under:     Maintain clear
       23       channels of communication across all levels of
       24       government; do you see that?
       25                   A.   I do.



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        1                   Q.   And then there in this sentence it
        2       says -- or sorry, in this paragraph -- it says:
        3       For example, as voting-related mis and
        4       disinformation arose in the 2020 presidential
        5       election, the Election Infrastructure
        6       Information Sharing and Analysis Center, EI-ISAC
        7       served a critical role in sharing information in
        8       the Election Integrity Partnership in pushing
        9       its rapid response analysis back out to election
       10       stakeholders across the states; right?
       11                   A.   That's what the sentence says,
       12       yeah.
       13                   Q.   And I take it, we asked you this
       14       before, but are you aware of the EI-ISAC
       15       sharing -- serving a critical role in sharing
       16       information with the EIP during 2020?
       17                   A.   I -- I'm not.     My understanding and
       18       recollection it was Center For Internet
       19       Security, it's of course possible that the
       20       Stanford folks are conflating the EI-ISAC with
       21       the Center For Internet Security, kind of we
       22       talked about earlier, they're kind of part of
       23       the same organization, but I'm not aware of
       24       those sorts of direct communications with
       25       EI-ISAC.



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        1                   Q.   What is the difference between the
        2       EI-ISAC and the CIS?        My understanding was that
        3       the CIS was a non-profit, and EI-ISAC is kind of
        4       like a program that it runs, that allows for
        5       information sharing among state and local
        6       election officials, is that the distinction of
        7       what's the difference?
        8                        MR. GARDNER:     Objection, form.
        9    BY MR. SAUER:
       10                   Q.   You may answer.
       11                   A.   What's the difference between what,
       12       CIS and EI-ISAC.
       13                   Q.   Yeah, what's the distinction
       14       between them.
       15                   A.   I mean, I don't -- to be honest, I
       16       don't fully know what the distinction is, my
       17       understanding is it's roughly, as you kind of
       18       stated it, right, is CIS is an umbrella
       19       organization that has organizations underneath
       20       it.   I don't know what the operating
       21       relationship is between the EI-ISAC and CIS.              If
       22       it's a direct line, I just don't know how they
       23       operate that way.
       24                        But my understanding is that the
       25       CIS has its own staff, and that those staff and



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        1       their own funding, and that that staff and
        2       funding is what supported the 2020 election
        3       switchboarding work.
        4                   Q.   So, in other words, you think the
        5       CIS was -- was switchboarding to EIP during
        6       2020?
        7                   A.   I'm not sure that's what I said.          I
        8       mean, the relationship that I understood was
        9       between CIS and EIP, what specifically they were
       10       doing as part of that relationship I'm not --
       11       again, I don't necessarily want to speak to,
       12       because I'm not 100 percent sure how it worked.
       13                   Q.   Well, is the EI-ISAC kind of a
       14       vehicle in which CIS receives reports of
       15       misinformation and disinformation from state and
       16       local election officials?
       17                        MR. GARDNER:     Objection, lack of
       18       foundation, calls for speculation.
       19                   A.   Yeah, I don't know how -- how the
       20       EI-ISAC played in this switchboarding role.
       21                   Q.   Down here at the bottom of the same
       22       page there's another reference to the
       23       recommendations to implement a misinformation
       24       and disinformation center of excellence housed
       25       within the federal government; correct?



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        1                   A.   Yeah.
        2                   Q.   And that there in that paragraph it
        3       specifically recommends that it be housed within
        4       the federal government at CISA; correct?             See
        5       where I've highlighted?
        6                   A.   Yeah, I'm just reading that now.
        7                        Yeah, that's what the sentence
        8       says, yeah.
        9                   Q.   Do you have any recollection -- let
       10       me ask you this:         I think you testified earlier
       11       you don't remember discussing that
       12       recommendation with anyone; correct?
       13                   A.   Correct.
       14                   Q.   Okay.    How about any discussions of
       15       changing or increasing CISA's role in -- in kind
       16       of tracking or monitoring online dis and
       17       misinformation?
       18                        MR. GARDNER:      Objection to the
       19       extent that answers calls for the disclosure of
       20       information, subject to the local process
       21       privilege.       I would instruct the witness not to
       22       answer.      To the extent that you can answer that
       23       without disclosing information related to the
       24       privilege you can do so.
       25                        THE WITNESS:      I'm sorry, can you



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        1       repeat the question, just to make sure I
        2       understand it.
        3                        MR. SAUER:    Let's break it down.
        4    BY MR. SAUER:
        5                   Q.   Do you recall any discussions with
        6       anyone outside of CISA about expanding CISA's
        7       role in addressing misinformation and
        8       disinformation concerns on social media?
        9                   A.   CISA's role, expanding CISA's role,
       10       yeah.     Yes.
       11                   Q.   Okay.   What conversations do you
       12       remember about that?
       13                   A.   So we were piloting a capability
       14       that would allow us to monitor narratives
       15       online.
       16                   Q.   Now, when was this piloted?
       17                   A.   I believe it was -- we did one
       18       short pilot, I believe, in summer 2020, so I
       19       believe it was all 2020.
       20                   Q.   What -- what -- what sort of
       21       pilighting -- can you explain what you mean by
       22       pilighting -- I'm sorry -- piloting something to
       23       track mis and disinformation online?
       24                   A.   So it wasn't necessarily to track,
       25       it was to understand the information



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        1       environment, what narratives were -- were kind
        2       of perking up.       The piloting was, as I'm sure
        3       you're aware, there was extensive -- extensive
        4       privacy rules around that sort of work, and so
        5       it was just kind of piloting it to see if it
        6       would work, if it did what we wanted it to do.
        7                        In particular, we were trying to
        8       predict the likely impact of narratives on
        9       stakeholders.      And so we weren't sure if the
       10       predictive activity that we were doing actually
       11       worked, so we wanted to test that, and then we
       12       wanted to just get a sense of the privacy and
       13       other kind of rules that might be in play and if
       14       it's something that we could -- we could do.
       15                   Q.   What exactly was the pilot?         I
       16       mean, what -- what -- did you have a computer
       17       program that would, you know, go out and track
       18       what people were saying on social media?             What
       19       exactly was the pilot?         I don't understand.
       20                        MR. GARDNER:      I'll object on the
       21       grounds that that calls for disclosure of
       22       information subject to deliberative process
       23       privilege.       I instruct the witness not to
       24       answer.
       25                        MR. SAUER:     Yeah, the deliberative



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        1       process privilege only applies when there is no
        2       indication of any government wrongdoing.             Our
        3       court has already found that there's at least a
        4       substantial concern that there were significant
        5       first amendment violations, here, so I ask you
        6       to withdraw the objection.
        7                        MR. GARDNER:     I understand your
        8       position and I decline your invitation.
        9    BY MR. SAUER:
       10                   Q.   Are you declining to answer the
       11       question, sir?
       12                   A.   Yes.
       13                   Q.   So in that case, can you kind of
       14       explain more generally what this pilot project
       15       involved in 2020, to track social media on the
       16       internet?
       17                        MR. GARDNER:     To the extent that
       18       that calls for the disclosure of information
       19       subject to the deliberative process privilege I
       20       instruct the witness not to answer.
       21                        To the extent that you can answer
       22       that question at a high level of generality, you
       23       may do so.
       24                   A.   Yeah, so as I mentioned, our
       25       mission is to build the variance to MDM



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        1       targeting critical infrastructure.
        2                        So essentially what we were trying
        3       to understand is if we could predict the likely
        4       impact of MDM narrative in terms of increasing
        5       risks to critical infrastructure by a better
        6       understanding the information environment, so
        7       the pilot was essentially trying to test that
        8       theory out.
        9                   Q.   Yeah, kind of, again, at a high
       10       level of generality, how do you test that theory
       11       out?
       12                   A.   So the predictive model essentially
       13       was to say -- say you had an image, it would
       14       pull particular components of an image out and
       15       based on -- I don't want to get too -- I don't
       16       know that I understand the black box that they
       17       used all that well, if I were trying to test it,
       18       but there was a methodology that they used to do
       19       that, and so we were just trying to see if that
       20       methodology, in fact, worked from a
       21       disinformation standpoint.
       22                   Q.   When you say:     They, who's they?
       23       Is this people at CISA or is there a contractor
       24       that created a product?
       25                   A.   It was a contractor.



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        1                   Q.   What contractor?
        2                   A.   I believe the company was Limbik.
        3                   Q.   Sorry, can you spell that?
        4                   A.   L-i-m-b-i-k.
        5                        And then there was a separate
        6       pilot, that's more generically around
        7       situational awareness of potential narratives
        8       online, that didn't feed into the -- into the
        9       predictive modeling.
       10                   Q.   Was that a Limbik product, too,
       11       that second pilot?
       12                   A.   No, that was a -- that was a
       13       different contractor, and I forget who it was.
       14                   Q.   Did either of these pilots ever get
       15       any actual programming, something that you used?
       16                   A.   No.   The rules we operated the
       17       pilot on was that none of it could be used for
       18       operational purposes, because there's privacy
       19       requirements around that.         And so essentially we
       20       were just using it for internal deliberations in
       21       terms of if the -- if the tools were helpful or
       22       not.
       23                   Q.   Did you conclude that they were
       24       helpful?
       25                        MR. GARDNER:     Object on the grounds



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        1       of deliberative process privilege.           I instruct
        2       the witness not to answer.
        3                        MR. SAUER:     To be clear, I'm asking
        4       for the conclusion, not the deliberation.
        5    BY MR. SAUER:
        6                   Q.   Did you conclude that they would be
        7       useful?
        8                        MR. GARDNER:     Same objections, same
        9       instructions.
       10                        THE WITNESS:     Yeah, I'm not going
       11       to answer.
       12                        MR. SAUER:     I've e-mailed around
       13       Exhibit 9.
       14                        (Exhibit No. 9 was marked for
       15       identification.)
       16    BY MR. SAUER:
       17                   Q.   And if you have a minute to look at
       18       it, I'm also putting on the screen share, it's a
       19       collection of e-mails from October of 2020,
       20       produced by the government, involving CISA.              And
       21       I think they relate to the switchboarding you
       22       testified there about earlier.
       23                        Do you see the -- the document?
       24                   A.   I do.
       25                   Q.   Just look here on the first page,



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        1       there's an e-mail, if you look here, kind of on
        2       Thursday, October 1st, at 4:23 p.m., it shows
        3       misinformation reports sending an e-mail to you,
        4       to CISA central, which I think you mentioned
        5       earlier, to CFITF e-mail address, and -- and
        6       misinformation reports; do you see that?
        7                   A.   I do.
        8                   Q.   And this is a -- I take it, some
        9       report that relates to misinformation in social
       10       media from CIS; correct?
       11                   A.   Let me just scroll to the beginning
       12       of the e-mail chain.
       13                        Yeah, this is a report I received
       14       from CIS.
       15                   Q.   And when CIS e-mailed you this
       16       report, if you look here, towards the top or
       17       right in the middle of the first page, CIS --
       18       first of all, it's signed by Walter Oberes and
       19       Aaron Wilson; correct?
       20                   A.   Yeah.
       21                   Q.   And that Aaron, is that the Aaron
       22       you talked about earlier, as your CIS contact?
       23                   A.   It is, correct.
       24                   Q.   And how about -- who's Walter
       25       Oberes?



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        1                   A.   I don't know.
        2                   Q.   Okay.   And he -- they say:
        3       Brian -- referring to you -- we know many are
        4       already aware of this case, but the impact seems
        5       to be escalating.        Our hope is the platforms can
        6       do more to take down the misinformation;
        7       correct?
        8                   A.   That's what this says, correct.
        9                   Q.   And then it goes on to say:         The
       10       EIP has been tracking this spread under ticket
       11       EIP-243, and has more examples; correct?
       12                   A.   Correct.
       13                   Q.   Did they commonly tell you when the
       14       EIP was tracking online misinformation, as well
       15       as CIS?
       16                   A.   I don't think that was common, no.
       17                   Q.   Okay.   Were you aware, at the time,
       18       of what an EIP ticket was?
       19                   A.   I understood that EIP was using a
       20       ticketing system.        That's the extent of it, so
       21       that's what I assumed it was.
       22                   Q.   And how did you know that?
       23                   A.   That they were using a ticketing
       24       system?
       25                   Q.   Yeah.



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        1                   A.   So as I mentioned earlier, we did
        2       get some briefs from them when they were setting
        3       things up, to let us know how they would work,
        4       and there was mention of a ticketing system
        5       during that, those conversations.
        6                   Q.   When you received this report you
        7       forwarded it onto Facebook, correct, directly
        8       above?
        9                   A.   I did.
       10                   Q.   And you said --
       11                   A.   Correct.
       12                   Q.   And you said:     This is not
       13       Facebook-related reporting, but thought it would
       14       be of interest to your team; right?
       15                   A.   Right.
       16                   Q.   Why did you forward it onto
       17       Facebook if it appears to relate to tweets or
       18       Twitter, as opposed to Facebook?
       19                   A.   Well, it related to Twitter and I
       20       believe YouTube, if I'm reading this correctly.
       21                   Q.   Yeah, why did you forward it onto
       22       Facebook?
       23                   A.   There's a lot of ways that people
       24       generate traffic to YouTube, in particular, but
       25       Twitter, as well, is by posting it across



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        1       platforms.
        2                        So something like this, it would
        3       sometimes share across other platforms that we
        4       thought there might be -- it might be relevant
        5       content showing up on their platforms.
        6                   Q.   In other words, if the
        7       disinformation or misinformation might be
        8       spreading to other platforms you would notify
        9       not just the platform reported, but other
       10       platforms, as well, so that they could be aware
       11       of this content; is that what you did?
       12                   A.   Yeah.    So if I'm reading this
       13       correctly, it sounds like it literally jumped
       14       platforms.       So maybe I'm misreading.       And so,
       15       yeah, sometimes we would just -- we would share.
       16                   Q.   When you say:      We would share, you
       17       mean you would share it with other platforms
       18       than the one that was currently hosting the
       19       reported content?
       20                   A.   Correct.
       21                   Q.   Okay.    Just scrolling down a few
       22       pages, there a page with a Bates number 9676 at
       23       the bottom.
       24                   A.   9676.
       25                   Q.   It's page 7 of the PDF.



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        1                   A.   Let me just make sure I got the
        2       right one.       Got it.
        3                   Q.   And again, on this one, here's
        4       another e-mail, and you said:             Hi Richard, this
        5       is not Google-specific reporting, but thought it
        6       might be of interest to your team; correct?
        7                   A.   Correct.
        8                   Q.   And there's this other situation
        9       where a misinformation report had come in that
       10       related to a content of other platforms, and you
       11       shared it with a different platform; right?
       12                   A.   This looks like the same example we
       13       talked about above.
       14                   Q.   Oh, yeah, because this is the one
       15       being tracked under ticket EIP243?
       16                   A.   I believe it's the same.        Reading
       17       the e-mail it looks the same.
       18                   Q.   Is this something that was kind of
       19       a common practice when you were performing this
       20       switchboarding function that you described in
       21       2020, that you would report misinformation
       22       concerns, not just platform directly affected,
       23       but other platforms, as well, to get ahead of
       24       it, so to speak?
       25                        MR. GARDNER:      Objection, asked and



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        1       answered.        You can answer.
        2                   A.    I wouldn't say it was a common
        3       practice, but we did do it period -- do it
        4       periodically.
        5                   Q.    Let me jump ahead to Bates number
        6       8356.
        7                   A.    Which PDF page is that?
        8                   Q.    That looks like it's going to be
        9       page 12 of the PDF.
       10                   A.    Okay.    All right.      Just so you
       11       know, for the e-mail, the PDF page numbers are
       12       going to be a lot more helpful.
       13                   Q.    Sure.
       14                   A.    So 8357, is that what I'm looking
       15       at?
       16                   Q.    56, I think it's the page before.
       17                   A.    Oh, the one above?       I got you.
       18                   Q.    So, yeah, and I think this still
       19       relates to the same ticket; right?             If you look
       20       at the middle of the page, you're still dealing
       21       with the same report from CIS that has that same
       22       EIP ticket number; correct?
       23                   A.    Yeah, it appears correct.
       24                   Q.    And this one you passed this onto
       25       Twitter; right?



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        1                   A.   Mm-hmm.
        2                   Q.   And that was the platform that was
        3       directly affected; right?
        4                   A.   Correct.
        5                   Q.   And then talking to Twitter, at the
        6       very top, there, you said, you know, good
        7       afternoon, suspect you are -- you all are
        8       already aware of these issues, we wanted to pass
        9       along this reporting from Sonoma County,
       10       California, to see if there's anything you can
       11       share on how you're approaching; right?
       12                   A.   Mm-hmm.
       13                   Q.   Is that -- sorry, can you answer it
       14       with a yes or no?
       15                   A.   Oh, I'm sorry.
       16                        Yes.
       17                   Q.   Is that something you did when you
       18       were serving the switchboarding function was ask
       19       the social media platforms to report back how
       20       they had addressed the contents reported?
       21                   A.   Generally we would do that if the
       22       election official asked.
       23                   Q.   Why did you do that?
       24                   A.   Well, the -- the election official
       25       reported something, they just wanted to know if



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        1       a decision was made often, not often, sometimes.
        2                        And so if the platform was open to
        3       sharing if they had made a decision or not, we
        4       would just push that back to the election
        5       officials so they were aware --
        6                   Q.   So --
        7                   A.   -- of where the platform landed.
        8                   Q.   So CISA would, if the state or
        9       local official wanted to know, you know, whether
       10       the reported misinformation had been actioned in
       11       some way, CISA would ask the social media
       12       platform to report that back, and then CISA
       13       would relay that to the social media -- sorry --
       14       to the state or local official; is that right?
       15                   A.   Yeah, we did that periodically,
       16       where we would ask if the decision was made and
       17       if we can share back.
       18                   Q.   Did you do --
       19                   A.   The platforms got better, along the
       20       way, of communicating directly with the election
       21       officials, themselves.
       22                   Q.   Sometimes they would report back
       23       directly, later in the process, especially?
       24                   A.   Yeah, I believe it got better kind
       25       of as time went on.



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        1                   Q.   Did you do anything else with that
        2       information, about whether and how the reported
        3       misinformation had been actioned by the social
        4       media platform?
        5                   A.   Did we do anything else with it?
        6                        No.    No.   I mean, if it came to CIS
        7       we would push the response from the platform
        8       back up to CIS.         If the information we received
        9       from the election official came direct to us we
       10       would push that back, just back to the election
       11       official.
       12                   Q.   How about anyone else, would anyone
       13       else be notified how they acted?
       14                   A.   I think we may have put a notation
       15       in the tracking spreadsheet we kept, if a
       16       platform said something returned.           But that was
       17       an internal set of documents that would go to --
       18       normally our attorneys, the privacy folks, would
       19       let you see the tracking list review,
       20       periodically.
       21                   Q.   So there was an internal
       22       spreadsheet created by CISA to track these
       23       reports?
       24                   A.   Yes.
       25                   Q.   And did you enter, you know, all of



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        1       your switchboarding activity reports into that
        2       spreadsheet?
        3                   A.   Yeah, we did the best we could to
        4       make sure everything was captured in there.
        5                   Q.   Does that spreadsheet still exist?
        6                   A.   I believe -- I would assume so.
        7                   Q.   Who else -- or who would enter the
        8       information in this spreadsheet?
        9                   A.   So the MDM team took shifts, in
       10       terms of receiving and doing -- like I said, it
       11       was very resource intensive for us, and so other
       12       members of the MDM team would have asserted
       13       stuff in there, as well, if it was their shifts.
       14                   Q.   Who would have -- who took shifts,
       15       other than you?
       16                   A.   So back then it would have been
       17       myself, Chad, Rob, from that org chart, sorry,
       18       Rob Schaul, Chad Josiah, who else was doing it
       19       back then, myself, Alex Zaheer, an intern, which
       20       I'm not going to name, and I think that was it.
       21                   Q.   Let me see if I caught all --
       22                   A.   I think that was it.
       23                   Q.   Let me see if I caught all those
       24       e-mails, Chad Josiah did that?
       25                   A.   Mm-hmm.



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        1                   Q.   And then I think you said Rob
        2       Schaul did that, S-c-h-a-u-l; corrects?
        3                   A.   Correct, and then Alex Zaheer, who
        4       also should be on the org chart.
        5                   Q.   How do you spell letter name?
        6                   A.   His name, Alex, A-l-e-x,
        7       Z-a-h-e-e-r.
        8                   Q.   Okay.   Anyone else?
        9                   A.   There's an intern.
       10                   Q.   Can you name the intern, please?
       11                   A.   No, I'm not going to name the
       12       intern.
       13                   Q.   Are you refusing to answer that
       14       question without an instruction, again?
       15                   A.   Yes.
       16                   Q.   Okay.   Anyone else?
       17                   A.   I feel like there was, but I'm
       18       forgetting names, right now.          But those would
       19       have been the principal -- oh, John Stafford,
       20       sorry.
       21                   Q.   What's his role at CISA?
       22                   A.   He is not at CISA any longer.         He
       23       left sometime in 2021.
       24                   Q.   Okay.   What was his role?
       25                   A.   He was an analyst by -- like the



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        1       others.
        2                   Q.   And would all those people be
        3       involved in e-mails like the ones we're looking
        4       at here in October 9 -- sorry -- in Exhibit 9,
        5       where word would come in from, you know, CIS or
        6       somebody like that, they would forward it onto a
        7       social media platform?
        8                   A.   Yeah, so they would -- if -- if
        9       they received something, they would play that
       10       switchboard role and they would forward it to
       11       the platforms.
       12                   Q.   And then would they, like you,
       13       report back sometimes to CIS or whatever
       14       reporter on how things had been actioned?
       15                   A.   I don't recall if they did that or
       16       not.    If the -- if the platform sent something
       17       back on their own, which sometimes happened, as
       18       well, they would report that.            I don't know that
       19       they did anything beyond that.
       20                   Q.   Did any of them communicate with
       21       anyone at the Election Integrity Partnership?
       22                   A.   Well, the intern, I believe, worked
       23       both, although, when he was on duty, he was only
       24       working for us.      Beyond that, I don't -- I don't
       25       know.     I don't know that we would have



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        1       conversations, not about the switchboarding, I
        2       wouldn't think.
        3                   Q.   You say the intern worked both, you
        4       mean the intern part of the time was working for
        5       CISA and part of the time was working for EIP?
        6                   A.   So my understanding -- so the
        7       intern was a Stanford student, so he worked part
        8       time for us.     On election day, when he would
        9       have been on the agenda, he was just working for
       10       us.
       11                        And my understanding is he also did
       12       some work for the Stanford Internet Observatory.
       13       I don't know what that work entailed, if it was
       14       EIP-specific or not.        But yeah, he was -- he did
       15       do some stuff with the Stanford Internet
       16       Observatory, I'm just not a hundred percent
       17       certain of the nature of it.
       18                   Q.   Do you know whether he was involved
       19       in tracking misinformation and disinformation
       20       for the Stanford Internet Observatory?
       21                   A.   I don't know if that intern was
       22       responsible for that or doing that work.
       23                   Q.   Was that the only intern during
       24       2020 who was simultaneously working part time
       25       for CISA, and also working with Stanford



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        1       Internet Observatory?
        2                   A.   No.     There was one other, as I
        3       mentioned earlier, there were two.
        4                   Q.   And so, I see, in other words, it
        5       wasn't sequential.        Those two interns, did they
        6       maintain their part-time internship at CISA
        7       through the election -- the end of the election
        8       cycle in 2020?
        9                   A.   Correct.     They were summer interns,
       10       full-time summer interns, and then they went
       11       back, they continued their studies at Stanford
       12       and part-time interns of us.
       13                   Q.   Okay.    So they also, I take it,
       14       when they went back to Stanford for the fall
       15       semester they also worked for the Stanford
       16       Internet Observatory?
       17                   A.   That's my understanding, correct.
       18                   Q.   And at least one of those interns
       19       was involved in doing these switchboarding
       20       e-mails like we're looking at in Exhibit 9;
       21       right?
       22                   A.   Correct.
       23                   Q.   Okay.    What -- what did the other
       24       intern do during this timeframe for CISA?
       25                   A.   He also did some of the



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        1       switchboarding.
        2                   Q.   Okay.     So should we add intern
        3       number two is also a -- a person who engages in
        4       switchboarding e-mails?
        5                   A.   Correct.
        6                   Q.   Are you declining to disclose the
        7       name of intern number two, as well?
        8                   A.   Intern number two is on our staff
        9       now.
       10                   Q.   What's his name?
       11                   A.   Alex.
       12                   Q.   Alex what?
       13                   A.   Zaheer.
       14                   Q.   So Alex Zaheer was -- was he one of
       15       the interns who originated the idea of the EIP?
       16                   A.   Correct.
       17                   Q.   What's his role in CISA now?
       18                   A.   He is an analyst on the MDM team.
       19                   Q.   What does he do for CISA?
       20                   A.   He works on the MDM team.        He
       21       does -- we talked about him earlier in the org
       22       chart discussion.
       23                   Q.   I'm sorry, I don't remember, what
       24       does he do?
       25                   A.   So he steps across the range of



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        1       work, he does some analysis, he does some
        2       engagement, he does some product development
        3       work.
        4                   Q.   What's engagement?      Does he talk to
        5       social media platforms for CISA?
        6                   A.   He does not, no.
        7                   Q.   Does he still do any work for
        8       Stanford Internet Observatory?
        9                   A.   No, not that I'm aware of.
       10                   Q.   When was he involved in working for
       11       Stanford Internet -- Stanford Internet
       12       Observatory, to your knowledge?
       13                   A.   I don't know.     It would have been
       14       before he graduated, as far as I'm aware.
       15                   Q.   I'm asking you again, what's the
       16       name of intern number one, the one who was
       17       involved in routing disinformation concerns to
       18       social media platforms, during the 2020
       19       election, whose name you haven't disclosed yet?
       20                   A.   I'm still not going to disclose his
       21       name.
       22                        MR. SAUER:    Counsel, on the break
       23       let's talk about that.
       24    BY MR. SAUER:
       25                   Q.   Moving on a little bit, if I could



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        1       direct your attention back to -- or actually,
        2       let's jump ahead in the Exhibit 9.           Actually,
        3       let me -- let's stay on this page.
        4                   A.   Which page?
        5                   Q.   I think we're on page 11 of the
        6       PDF.
        7                   A.   Okay.
        8                   Q.   Or actually, I'm sorry, let's jump
        9       ahead to page 10603 Bates, and then that's going
       10       to be page 18 of the PDF.
       11                   A.   All right.    Okay.     I'm on page 18.
       12                   Q.   Okay.   If you look here, this is a
       13       reporting chain of a misinformation concern from
       14       you to Twitter, on October 10th; correct?
       15                   A.   Yes, that's what it appears to be.
       16                   Q.   And you're making this report at --
       17       on the Saturday afternoon; right?           Or is that an
       18       early Saturday morning?        It looks like it's a
       19       Saturday afternoon, at 12:52 p.m., there at the
       20       bottom of the page; do you see that?
       21                   A.   I do.
       22                   Q.   So you talked about this being
       23       resource intensive.       Were you guys staffing, you
       24       know, the misinformation reports and doing the
       25       switchboarding on nights and weekends?



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        1                   A.    So we ramped up as we got closer to
        2       the election.       At this stage I think it was
        3       primarily me that would receive them over the
        4       weekends.        I forget when we started -- when I
        5       started handing some of that off to my team to
        6       also pick it up over the weekends.
        7                         But at some point, we did have
        8       people on the schedule.          It didn't mean that
        9       they were 24/7 waiting for things, they just
       10       needed to monitor their phones in case something
       11       came in.
       12                   Q.    How -- so somebody was kind of
       13       tasked with -- I think you called them shifts,
       14       earlier -- someone was tasked with covering a
       15       shift at all times, not at all times, but at
       16       times over the weekend?
       17                   A.    Yeah, particularly as we got closer
       18       to the election.        I wouldn't say it was the
       19       entire election cycle, it was -- I don't know
       20       when it started, but probably sometime in
       21       mid-October when -- when we started just shifts
       22       so that people could review, before that it was
       23       mostly me that would receive them from CIS.
       24                   Q.    And -- and then how about did you
       25       ever have it where you were doing shifts in the



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        1       meddling of the night.
        2                   A.   No.   I mean, technically, you would
        3       be on for a day, if you're on your shift.             But
        4       there wasn't an expectation, if something came
        5       in at 3:00 in the morning, that you were
        6       forwarding it on.
        7                   Q.   How because between 11:00 and 12:00
        8       at night?
        9                   A.   Yeah, I mean if you were awake at
       10       11:00 or 12:00 at night, I think that we would
       11       push it on, and then obviously on election --
       12       election night we were -- we were up until at
       13       least midnight.        So if we received anything we
       14       would push it forward.
       15                        But again, it was more when we got
       16       into kind of off hours you just ask people to
       17       monitor their phones, if they could, and if
       18       something came in just to push it forward.             But
       19       the expectation that, as per this e-mail, that
       20       they would be responsible for forwarding
       21       something.
       22                   Q.   Let me ask you this:       If you look
       23       at this e-mail chain we're looking at, where it
       24       says you would forward on a concern at 12:52
       25       p.m., and looks like about 20 minutes later, on



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        1       a Saturday afternoon, maybe Saturday morning,
        2       for them, Twitter responds and says:            Thanks,
        3       Brian, we will escalate; do you see that?
        4                   A.   Yes.
        5                   Q.   So it looks like the people at
        6       Twitter are monitoring their phones to respond
        7       promptly to your reports; is that right?
        8                   A.   I mean, that would -- I don't know
        9       what their monitoring behavior was, in this case
       10       she certainty responded relatively quickly on a
       11       Saturday.
       12                   Q.   And that's not the only case, it
       13       happens again and again and again, where you get
       14       almost immediate responses from not just
       15       Twitter, but Facebook and others; correct?
       16                   A.   I mean, don't know.       I'd have to --
       17       I'm sure you could show me documents that would
       18       who that, but I honestly don't know the
       19       timelines of sends and returns.
       20                   Q.   Well, you remember them pinging you
       21       back promptly and being very responsive when you
       22       would make reports like this?
       23                   A.   They were generally responsive in
       24       making sure that we knew that they received it,
       25       yeah.



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        1                   Q.      And not just received it, for
        2       example, in this case, not long after that, at
        3       6:30 p.m. the same day, she notifies you:             These
        4       tweets have actioned for violations of our
        5       policies; right?
        6                   A.      That's what the e-mail says, yep.
        7                   Q.      And was that timeframe typical,
        8       were they turning around, you know, content that
        9       was flagged and taking action on it within hours
       10       of your reports?
       11                   A.      It's hard to say, because they
       12       didn't always get back to us if they hadn't
       13       taken any action.         So I don't know if I would
       14       say that's typical.
       15                           You know, sometimes they would let
       16       us know, sometimes they wouldn't.           Generally
       17       speaking, I think they made their decisions
       18       relatively quickly.          So I would assume if they
       19       did get back to me it would be relatively
       20       quickly.         But I can't speak to their timing or
       21       their processes or any of that stuff.            A lot of
       22       times they just didn't let us know --
       23                   Q.      But the more response --
       24                   A.      -- to be honest, if they received
       25       it.



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        1                   Q.   Sorry to interrupt.
        2                   A.   Yeah, I just wanted to say,
        3       normally we would get a note that they received
        4       the messages I forwarded to them.           We often
        5       didn't receive any kind of notification that
        6       they had taken action, no action, or what their
        7       decision was, so it's hard to say kind of what
        8       their typical timeline was for making decisions.
        9                   Q.   Let me ask you this:       Were they
       10       more responsive to you, as a representative of a
       11       federal national security agency, than they were
       12       to ordinary people who made such reports, if you
       13       know?
       14                        MR. GARDNER:     Objection.
       15       Objection, lack of foundation, calls for
       16       speculation.
       17                   A.   Yeah, I have no clue.       I don't know
       18       what the timeline was, generally.
       19                   Q.   Were there ever discussions between
       20       you or anyone at CISA and any one of the
       21       platforms about making sure the platforms are
       22       monitoring their e-mails for the -- the
       23       government's reports of misinformation?
       24                   A.   No.
       25                   Q.   How about in the synch meetings



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        1       that you talked about, between the USG and the
        2       industry, was it ever brought up that, hey, you
        3       know, we're going to have people standing by and
        4       watching for misinformation reports so we can
        5       move quickly on them?
        6                   A.   Not that I recall.      I believe on
        7       election night several of the platforms set up
        8       their own operations center.          But I don't know
        9       that there's ever a conversation about -- from
       10       the government expecting platforms to have any
       11       particular timeline.
       12                   Q.   Again, these sort of e-mail --
       13       e-mails that we're looking at here in Exhibit 9,
       14       from you to the platform and the platforms
       15       responding back about misinformation that you
       16       guys have switchboarded to them, I take it
       17       there's a set of e-mails like this, for not just
       18       you, but also for Chad Josiah, Rob Schaul, Alex
       19       Zaheer, John Stafford, and an intern that you
       20       haven't named yet; right?
       21                        MR. GARDNER:     Objection, compound.
       22                   A.   So if I'm understanding your
       23       question, would you find e-mails from those
       24       individuals to platforms notifying them or
       25       forwarding information from an election



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        1       official, so yes.
        2                        Would there likely be -- it's hard
        3       for me to know if -- if they always responded
        4       back, beyond the received, which I think was
        5       pretty standard.
        6                        So I would assume that you would
        7       find change with other members of the team,
        8       where they sent something over to a platform and
        9       the platform said received, so yeah, if that's
       10       your question.
       11                   Q.   So in other words, at least those
       12       five individuals I just listed were involved,
       13       separate from the e-mails that we're looking at
       14       that involved you, they were sending their own
       15       e-mails, when it was their shift, to social
       16       media platforms, flagging disinformation
       17       concerns?
       18                   A.   Yeah, that's correct.       But keep in
       19       mind, over the entire course of the election I
       20       think we forwarded about 200 e-mails, total.              So
       21       I would imagine the vast majority of them are
       22       mine, because for a period of time I was the
       23       principal one relaying it.
       24                        But then to answer your question,
       25       yes, there's probably other e-mail chains with



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        1       those five representatives on it.
        2                        MR. GARDNER:     So we've now been
        3       going almost two hours.         I think now would
        4       probably be a good time for a break.
        5                        MR. SAUER:     Let me ask one more
        6       question, that's right on this topic, and how
        7       about that or one little set of questions.
        8                        MR. GARDNER:     Sure.
        9    BY MR. SAUER:
       10                   Q.   Did you ever discuss with Alex
       11       Zaheer what he did for the Election Integrity
       12       Partnership?
       13                   A.   I'm sure I had conversations with
       14       Alex about his work with SIO, which was part of
       15       the larger integrity partnership.
       16                   Q.   What did you discuss with him about
       17       his work for SIO?
       18                   A.   I think he just talked about that
       19       he was participating in it, I don't know the
       20       specifics of the conversation, but that he was
       21       participating in it, and he was one of the
       22       people that were working with the ticketing
       23       system.
       24                   Q.   When you say:     Working with the
       25       ticketing system, what did he say he was doing



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        1       with the ticketing system?
        2                   A.   I don't recall.      I mean, I was -- I
        3       don't know how the ticketing system works, so I
        4       don't know, kind of, how his role would have
        5       played in there, what it was.
        6                   Q.   When you refer to the ticketing
        7       system, is that the system that Stanford had for
        8       receiving reports of disinformation that they
        9       would analyze?
       10                   A.   Correct.
       11                   Q.   How about the other intern, the one
       12       you haven't named yet, did you ever discuss with
       13       that intern the work he did for the Stanford
       14       Internet Observatory?
       15                   A.   I don't -- I don't recall.         I don't
       16       think -- certainly not in the level of detail
       17       with Alex.       Obviously Alex came to work for us,
       18       so I have a little more familiarity with what he
       19       did with SIO.      So I don't -- I didn't have a
       20       clear understanding of the other intern's role.
       21                   Q.   What did the other intern go on to
       22       do?
       23                   A.   I don't know.      As far as I know,
       24       he's still at Stanford.         But I don't know if he
       25       graduated.



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        1                         MR. SAUER:     Why don't we take a
        2       break there.
        3                         MR. GARDNER:      Okay.    I mean, it is
        4       now -- oh, let's go off the record.
        5                         THE VIDEOGRAPHER:         The time is now
        6       12:34.      We're off the record.
        7                         (Recess.)
        8                         THE VIDEOGRAPHER:         The time is now
        9       1:41 p.m.        We are back on the record.
       10                         MR. GARDNER:      Thank you.    And as I
       11       had mentioned before we got back on the record,
       12       the witness wanted to say something before we
       13       began.
       14                         THE WITNESS:      So the intern that
       15       did both SIO and CISA push forwarding was Pierce
       16       Lowary.
       17    BY MR. SAUER:
       18                   Q.    And is that L-o-w-a-r-y?
       19                   A.    I believe so, yeah.
       20                   Q.    And that intern worked
       21       simultaneously with CISA and the EIP?
       22                   A.    And SIO was a member of the EIP.
       23                   Q.    Right.     What did he do for SIO
       24       while this was going on, do you know?
       25                   A.    I don't.



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        1                   Q.   What did he do for CISA while this
        2       was going on?
        3                   A.   Again, he was part-time in the
        4       fall, so he would support the analytic stuff,
        5       and then, as I mentioned, he did some work in
        6       terms of the switchboarding.          I'm not --
        7       obviously not sure the extent of the e-mails or
        8       anything like that, that he would have forwarded
        9       over to the platforms.
       10                   Q.   Now, Pierce Lowary was involved in
       11       forwarding e-mails over to the platforms?
       12                   A.   Correct.
       13                   Q.   And that's in addition to Chad
       14       Josiah, Rob Schaul, Alex Zaheer, John Stafford,
       15       and yourself; correct?
       16                   A.   Correct.
       17                   Q.   Anyone else, in 2020, who would
       18       engage in those switchboarding e-mails?
       19                   A.   I believe that was all.
       20                   Q.   Was Pierce --
       21                   A.   From my recollection.
       22                   Q.   Was Pierce Lowary one of the four
       23       interns who originated the idea of the EIP?
       24                   A.   Yes.
       25                   Q.   Okay.   Who were the other two?



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        1                   A.   I don't --
        2                   Q.   Well, let me -- what about Alex
        3       Zaheer, was he one of the ones?
        4                   A.   Alex was one.
        5                   Q.   The idea --
        6                   A.   It got --
        7                        MR. GARDNER:     Hold on, guys, you
        8       keep talking over each other.            So let Mr. Sauer
        9       ask the question and then please answer.
       10                        John, can you re-ask it?
       11    BY MR. SAUER:
       12                   Q.   Was Alex Zaheer one of the four
       13       interns who originated the idea of the EIP?
       14                   A.   He was.
       15                   Q.   And he went on, like Mr. Lowary, to
       16       simultaneously work for CISA and for Stanford
       17       Internet Observatory during the 2020 election
       18       cycle?
       19                   A.   Correct.
       20                   Q.   Who were the other two interns who
       21       originated the idea?
       22                   A.   The fourth intern I do not know who
       23       they're referring to, so I'm not sure who that
       24       is.
       25                        The first intern is Isabella



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        1       Camargo, I forget the rest of her last name, I'm
        2       sorry.      I'd have to look.
        3                   Q.   Is it Isabella Garcia-Camargo?
        4                   A.   Yes.
        5                   Q.   Okay.   When did she intern for
        6       CISA?
        7                   A.   Over the summer of 2020.
        8                   Q.   Did she do that into the fall?
        9                   A.   She did not.
       10                   Q.   Did she go on in the fall to work
       11       for Stanford -- Stanford Internet Observatory?
       12                   A.   Yes.
       13                   Q.   And did she work for Stanford
       14       Internet Observatory during the summer, when she
       15       was also working for CISA?
       16                   A.   Yes.
       17                   Q.   Who is Ayelet Drazen, D-r-a --
       18                   A.   Hold on a second, I'm sorry, can
       19       you repeat that last question?
       20                   Q.   Which question, who is Ayelet
       21       Drazen?
       22                   A.   No, the one before.
       23                   Q.   Did she work for Stanford Internet
       24       Observatory during the time she was also working
       25       for CISA?



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        1                   A.   I don't believe so, but I'm not
        2       sure kind of their arrangement in the SIO front.
        3       I think SIO was -- I think SIO may have been --
        4       I'm not sure how that worked with SIO when
        5       they're interns, but she did not work for us in
        6       the fall, when she was working for SIO, that I'm
        7       certain of, so I don't know what the
        8       relationship was over the summer internship.
        9                   Q.   What -- what did she do for CISA?
       10                   A.   Again, like the other analysts,
       11       typical intern stuff, supporting product
       12       development, helping with, you know, any
       13       research projects, standard kind of intern work
       14       across the three panels I mentioned before,
       15       engagement, product development, and analysis
       16       research.
       17                   Q.   Who is Ayelet Drazen, D-r-a-z-e-n,
       18       first name A-y-e-l-e-t?
       19                   A.   I don't know.
       20                   Q.   Who is Ashwin Ramaswami?
       21                   A.   I believe he was one of the
       22       election security interns.
       23                   Q.   During 2020 at CISA?
       24                   A.   At least the summer of 2020.         I
       25       don't -- I don't know, kind of, how long he



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        1       stuck around.      I didn't really work with him.
        2                   Q.   Is he another Stanford intern?
        3                   A.   Yeah, I believe so.
        4                   Q.   Did he go on to work for the
        5       Stanford Internet Observatory?
        6                   A.   I don't know.     I don't know.
        7                   Q.   How about Jack Cable, C-a-b-l-e?
        8                   A.   He was a Stanford intern.        I
        9       don't -- I don't know what he did, after, just
       10       for the summer, that I'm aware of, but I'm not
       11       entirely sure.      He didn't work on the MDM stuff
       12       with me.
       13                   Q.   What did he do at CISA, do you
       14       know?
       15                   A.   He was more cyber-focused, so I'm
       16       not entirely sure, really, what his projects
       17       are.
       18                   Q.   Just a second, I'm e-mailing you
       19       two new exhibits.
       20                        Let me ask this:        Were you involved
       21       in -- Mr. Scully, were you involved in preparing
       22       CISA's discovery responses to written discovery
       23       in this case?
       24                   A.   I believe I provided names of the
       25       team.    And the IT folks searched my records for



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        1       me.
        2                   Q.   You provided names?
        3                   A.   Don't ask --
        4                   Q.   Names of the team, what does that
        5       mean?
        6                   A.   So I believe I provided names of
        7       the people who are part of the MDM team or the
        8       CFITF.
        9                   Q.   So you provided names of key
       10       custodians, for example, who might have relevant
       11       e-mails in their inboxes, stuff like that?
       12                   A.   Right.
       13                   Q.   Okay.    Were you involved in
       14       drafting interrogatory responses?
       15                   A.   If I recall correctly, I reviewed
       16       some of them.
       17                   Q.   Did you review the ones that were
       18       submitted on behalf of CISA?
       19                   A.   Yeah, those would have been the
       20       only ones I reviewed.
       21                   Q.   Before the break, you mentioned
       22       that there were about 200 e-mails that CISA
       23       forwarded to serve this switchboarding function
       24       of routing disinformation concerns to the social
       25       media platforms in 2020; right?



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        1                   A.   Yeah, give or take a few.        I don't
        2       know the exact number, but it's about 200.
        3                   Q.   How do you know how many there
        4       were.
        5                   A.   Well, as I mentioned previously, we
        6       kept a tracking spreadsheet.          Everything we sent
        7       over we logged.
        8                   Q.   Would you consult that tracking
        9       spreadsheet when you were preparing or working
       10       on responding to written discovery in this case?
       11                   A.   I don't recall that I did, it's
       12       possible, but I don't recall doing it.
       13                        (Exhibit No. 12 was marked for
       14       identification.)
       15    BY MR. SAUER:
       16                   Q.   Let me show you Exhibit 12.
       17                   A.   Okay.   That's a complaint.
       18                   Q.   It should be amended interrogatory
       19       responses that have also been filed publicly
       20       with the Court as document 86-3?
       21                        MR. GARDNER:     I'd like to take a
       22       look.    Hold on.
       23                        THE WITNESS:     I don't know.
       24                        MR. GARDNER:     Hold on one sec.
       25       Yeah, that's right.       That's right.



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        1                         THE WITNESS:      Okay.
        2    BY MR. SAUER:
        3                   Q.    Can you go to page 19 of that
        4       document?        I've also got it up on the screen
        5       share.
        6                   A.    All right.     Page 19?   Okay.    I'm at
        7       19.
        8                   Q.    In here, at the bottom of page 19,
        9       you see where it says:          CISA, colon?
       10                   A.    Yes.
       11                   Q.    It's identifying people with
       12       relevant communications response to our
       13       discovery requests.
       14                         CISA has identified the following
       15       custodians as having relevant communications as
       16       produced in the response to requests two and
       17       three; correct?          Do you see that?
       18                   A.    I do.
       19                   Q.    CISA custodians listed are Jen
       20       Easterly, Christopher Krebs, Matt Masterson,
       21       Geoff Hale, Brian Scully, and Lauren Protentis;
       22       right?
       23                   A.    Yep.
       24                   Q.    So these other people, Chad Josiah,
       25       Rob Schaul, Alex Zaheer, John Stafford, Pierce



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        1       Lowary, who were involved in forwarding e-mails
        2       to social media platforms to flag them, were not
        3       disclosed in this part of the interrogatories;
        4       correct?
        5                   A.    I think if you scroll down another
        6       paragraph, you would see most of those names.
        7                   Q.    Yeah, that's extremely interesting,
        8       isn't it?        Very next paragraph it says, oh,
        9       we've also identified some other people as
       10       appearing in the communications you produced,
       11       and it lists four of those five people, Chad
       12       Josiah, Robert Schaul, Alex Zaheer, John
       13       Stafford; right?
       14                   A.    Yes, that's who is listed there.
       15                   Q.    It appears --
       16                   A.    I don't know that that's
       17       interesting.
       18                   Q.    It's interesting that CISA knew
       19       about the involvement of these people and
       20       relevant communications, but didn't search their
       21       inboxes in response to our discovery requests;
       22       isn't that what this indicates?
       23                   A.    I have no idea what this indicates.
       24                   Q.    Well, let me ask you this:        You
       25       testified before the break that those four



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        1       people there, plus Pierce Lowary, who you just
        2       disclosed, all forwarded disinformation reports
        3       to social media platforms as part of the
        4       switchboarding function; isn't that right?
        5                   A.   They were all part of the
        6       switchboarding function.         I don't know who sent
        7       e-mails or how many e-mails or any of that.
        8                   Q.   But you testified that they took
        9       shifts and sent e-mails to social media
       10       platforms reporting this information; correct?
       11                   A.   They took shifts, and if they
       12       received something they would have sent an
       13       e-mail.      But without going through the
       14       spreadsheet that I mentioned I wouldn't know if
       15       an actual individual was on a shift, sent one,
       16       but that would be my expectation that they did.
       17                   Q.   What was the last --
       18                   A.   There were generally two people
       19       per -- there were generally two people per
       20       shift, so it's possible that just one of those
       21       two people were sending e-mails.
       22                   Q.   Pierce Lowary is not identified
       23       anywhere in these discovery responses, is he?
       24                   A.   I mean, he's not identified in
       25       these.      This is a small section.       I don't know



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        1       if he is elsewhere.
        2                   Q.   Well, you said you reviewed them
        3       when they were being prepared.            Do you remember
        4       seeing his name anywhere -- anywhere in the
        5       government's discovery responses?
        6                   A.   I don't recall, but I wouldn't
        7       have -- I don't think I would have reviewed the
        8       entire document, so I don't know.
        9                   Q.   Who would have --
       10                   A.   Obviously, I didn't see the final
       11       document.
       12                   Q.   Who would have reviewed the final
       13       document?
       14                        MR. GARDNER:     Objection, calls for
       15       speculation.
       16    BY MR. SAUER:
       17                   Q.   If you know.
       18                   A.   Yeah, I don't know.
       19                        MR. SAUER:     Exhibit 62, which I've
       20       also e-mailed you.
       21                        MR. GARDNER:     John, did you say 62?
       22                        MR. SAUER:     62, should be the most
       23       recent one in your inbox.
       24                        THE WITNESS:     Okay.    Okay.
       25                        (Exhibit No. 62 was marked for



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        1       identification.)
        2    BY MR. SAUER:
        3                   Q.   Here's Jack --
        4                   A.   Is it the -- sorry, go ahead.
        5                   Q.   This is Jack Cable's publicly
        6       available online LinkedIn profile; do you see
        7       that?
        8                   A.   I do.
        9                   Q.   If you scroll down, a fifth page of
       10       this document, it looks like he was a research
       11       assistant at Stanford Internet Observatory from
       12       2019 to 2021; correct?
       13                   A.   That's what it says, yep.
       14                   Q.   And that he ended in June of 2021,
       15       correct, at SIO?
       16                   A.   That's what it says, yeah.
       17                   Q.   And immediately below that, it
       18       looks like he was an election security technical
       19       advisor at CISA from June 2020 to January 2021;
       20       correct?
       21                   A.   That's what he says.
       22                   Q.   So he also overlapped, for an
       23       entire year, in working simultaneously for CISA
       24       and for the SIO; correct?
       25                        MR. GARDNER:     Objection, lack of



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        1       foundation.
        2    BY MR. SAUER:
        3                   Q.   According to his LinkedIn profile?
        4                        MR. GARDNER:     Same objection.
        5                   A.   LinkedIn profile says he worked at
        6       CISA for eight months.
        7                        (Reporter admonition.)
        8                        THE WITNESS:     Sorry.
        9                   A.   The LinkedIn profile said he worked
       10       at CISA for eight months.
       11                   Q.   Right.   Does the LinkedIn profile
       12       also indicate that during those same eight
       13       months, from June of 2020 to January of 2021, he
       14       also was an intern -- a research assistant at
       15       Stanford?
       16                   A.   It appears that way, yep.
       17                   Q.   Were you aware that Jack Cable was
       18       working for Stanford Internet Observatory while
       19       he was also interning for CISA?
       20                   A.   No.   Jack didn't work for me, so I
       21       didn't really pay attention to what he was
       22       doing.
       23                   Q.   He shares this simultaneous
       24       employment with SIO and CISA, along with Alex
       25       Zaheer and Pierce Lowary; correct?



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        1                        MR. GARDNER:     Objection, lack of
        2       foundation.
        3    BY MR. SAUER:
        4                   Q.   Correct?
        5                   A.   I'm sorry, could you repeat the
        6       question?
        7                   Q.   Pierce Lowary and Alex Zaheer also
        8       simultaneously worked for CISA and SIO; correct?
        9                   A.   They did.
       10                   Q.   And then, if you scroll up a little
       11       bit, to the page before, it looks like he went
       12       on to work for the Krebs-Stamos Group; were you
       13       aware of that?
       14                   A.   No, I don't think so.
       15                   Q.   And then he went on to work for the
       16       senate; correct?      Does that ring a bell?
       17                   A.   I mean, it's what it says here.
       18                   Q.   So you didn't know what Jack Cable
       19       went on to do after he left CISA?
       20                   A.   No, I didn't really pay attention
       21       to what -- like I said, he didn't work for me,
       22       so I didn't really follow him.           In fact, I'm --
       23       a couple of my interns I'm not sure what they're
       24       doing, either.
       25                   Q.   Let's go back to Exhibit 9.



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        1                        Is it possible that Jack Cable was
        2       another one of the interns who originated the
        3       EIP?    You mentioned there's one, and you're not
        4       sure if it was them?
        5                        MR. GARDNER:     Objection, calls for
        6       speculation.
        7                   A.   Yeah, I wouldn't know.       I wouldn't
        8       know.
        9                   Q.   Let's go to page 8769 in this
       10       document, Exhibit 9.
       11                   A.   Do you know what the PDF page is,
       12       John?
       13                   Q.   I'm scrolling down to it, so I'll
       14       tell you as soon as I know the answer.
       15                   A.   Okay.
       16                   Q.   I think it's PDF page 62.
       17                   A.   All right.
       18                   Q.   All right.     If you see here, it
       19       looks like Alex Zaheer, on October 30th, sends a
       20       report about misinformation to CFITF, which is
       21       the CISA reporting e-mail address; correct?
       22                        MR. GARDNER:     John, I'm sorry, are
       23       you going to post this on the -- on the live
       24       screen for us?
       25                        MR. SAUER:     I'm sorry, I didn't



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        1       realize it wasn't up.          Can you see it on the
        2       screen share?
        3                           MR. GARDNER:     Yeah, we got it now.
        4       Thank you.
        5    BY MR. SAUER:
        6                   Q.      Alex Zaheer, on October 30th, sends
        7       an e-mail to CFITF; correct?
        8                   A.      Yep.
        9                   Q.      And he's actually --
       10                   A.      Yes.
       11                   Q.      He says:   FYSA, EIP has reported
       12       the following to EI-ISAC and Twitter from EIP,
       13       and then he reports on an EIP ticket; correct?
       14                   A.      Correct.
       15                   Q.      And then this -- you responded to
       16       him, Thanks Alex; do you see that on the page
       17       before?
       18                   A.      Yes.
       19                   Q.      And then you sent an e-mail, it's
       20       not clear to whom, saying:            FYI, the EIP,
       21       submitted the below to Twitter, no need to
       22       respond.         But it looks like you were saying that
       23       to Twitter; right?
       24                   A.      Yeah, there's no header there, so
       25       I'm not certain, but that's what it appears.



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        1                   Q.   It appears that from your intern,
        2       who was simultaneously working for EIP, you
        3       received a report of alleged misinformation and
        4       submitted it onto Twitter; right?
        5                   A.   Yeah.
        6                   Q.   And then -- and that was an
        7       EIP-specific report; correct?
        8                   A.   Yep.
        9                   Q.   And then Twitter responded and
       10       said, thanks Brian, we received that report from
       11       the EIP and escalated it; correct?
       12                   A.   Yes.
       13                   Q.   And then she goes on to specify to
       14       you the action they took against that; correct?
       15                   A.   Yeah, on a contextual label
       16       pursuant to their policy on civic integrity,
       17       yeah.
       18                   Q.   Were there other instances where
       19       this occurred, where an EIP report was forwarded
       20       to you, and you forwarded it onto -- to a social
       21       media platform?
       22                   A.   As I said earlier, it's possible,
       23       but I don't recall.
       24                   Q.   How about --
       25                   A.   It was our standard practice.



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        1                   Q.   How about the other five people who
        2       were monitoring these misinformation reporting
        3       e-mails, did they ever review that, do you know?
        4                        MR. GARDNER:     Objection, calls for
        5       speculation.
        6                   A.   Yeah, I don't know.       Again, it
        7       wasn't part of our normal process, so I'm not
        8       sure.
        9                   Q.   Would that be reflected in this
       10       spreadsheet you referred to multiple times?
       11                   A.   Yeah, it should be.
       12                   Q.   So if there was -- if the EIP is
       13       referenced or is the originator of the report
       14       you would note that in the spreadsheet?
       15                   A.   I believe so.     I believe we would
       16       have the case number.
       17                   Q.   Can you scroll back up to page 33
       18       of the PDF?
       19                   A.   Yep.
       20                   Q.   It's Bates 8349.
       21                   A.   8349, yep.
       22                   Q.   You see at the top of this page
       23       there's a misinformation report from Oregon,
       24       that's being sent on by the CIS, Center For
       25       Internet Security, reporting e-mail; do you see



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        1       that?
        2                   A.   Yes.
        3                   Q.   And it's sent to you and a couple
        4       other CISA e-mails or -- CISA e-mails, there in
        5       the first line; right?
        6                   A.   Yep.
        7                   Q.   In the second line it's sent to
        8       tips@2020partnership.atlassian.net; do you see
        9       that?
       10                   A.   I do.
       11                   Q.   What is that?
       12                   A.   I don't know.
       13                   Q.   Is that the reporting e-mail for
       14       tips to the 2020 Election Integrity Partnership?
       15                        MR. GARDNER:     Objection, calls for
       16       speculation, also, asked and answered.
       17                   A.   Yeah, I don't know what it is.
       18                   Q.   Is it your testimony that you're
       19       not aware whether or not that's the reporting
       20       e-mail for the EIP?
       21                   A.   Yeah, I'm not aware -- the answer
       22       is, I'm not aware of what e-mail that is.
       23                   Q.   Were you aware that -- did you
       24       notice that CIS was commonly forwarding these
       25       reports to both you and that



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        1       tips@2020partnership e-mail?
        2                   A.   I'm not sure that I paid that much
        3       attention to it, no.
        4                   Q.   You didn't notice --
        5                   A.   Again, yeah, I wasn't -- I guess
        6       that I wasn't aware of what processes they were
        7       following.
        8                   Q.   So you didn't know they were
        9       looping in the EIP on their reports; is that
       10       what you're saying?
       11                   A.   I don't recall it, but again, as we
       12       discussed earlier, it could have been part of
       13       the effort to deconflate for the platforms.
       14                   Q.   Up here on page 51 of the PDF,
       15       scrolling to the bottom of that page down to 52,
       16       here's another CIS report.         Once again, it's
       17       sent to you at -- to CISA e-mails and
       18       tips@2020partnership@atlassian.net; correct?
       19                   A.   Yeah, I see the e-mail address in
       20       there.
       21                   Q.   And you don't recall that being --
       22       you getting copied -- that being copied on
       23       e-mails of this nature?
       24                   A.   I don't.
       25                   Q.   Really briefly, jumping ahead to



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        1       page 10539, page 55, once again, CIS is copying
        2       you and tips@2020partnership.atlassian.net;
        3       correct?
        4                   A.   That's the e-mail, yes.
        5                   Q.   Jumping ahead to page 7565, here's
        6       a report from the Colorado secretary of state's
        7       office.      Do you see, we're on page 59 of the
        8       PDF, where they're reporting it to EI-ISAC,
        9       CISA, and Stanford Partners; correct?
       10                   A.   That's what the e-mail says, yep.
       11                   Q.   It says Stanford is presumably --
       12                        MR. GARDNER:     Objection, calls for
       13       speculation.
       14                   A.   Yeah, I don't know what they mean
       15       by Stanford.
       16                   Q.   Do you think Stanford might be some
       17       other Stanford entity to which state and local
       18       election officials are reporting disinformation
       19       concerns --
       20                        MR. GARDNER:     Objection.
       21    BY MR. SAUER:
       22                   Q.   -- during the 2020 cycle?
       23                        MR. GARDNER:     Objection, calls for
       24       speculation, lacks foundation.
       25    ///



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        1    BY MR. SAUER:
        2                   Q.   Do you know?
        3                   A.   I don't know.
        4                   Q.   Scrolling above this, again, CIS
        5       forwards this to you and tips22020partnership,
        6       that reporting e-mail or that e-mail address;
        7       correct?
        8                   A.   Are you up on -- what page are you
        9       on now?
       10                   Q.   Page 58 of the PDF, immediately
       11       above, shows CIS forwarding that report from
       12       Colorado secretary of state's office to both you
       13       and tips@2020partnership.atlassian.net?
       14                   A.   So Colorado sends to CIS, CIS sends
       15       to me, CISA, and atlassian.net, okay.
       16                   Q.   And you forward this onto -- to
       17       Twitter; correct, immediately above that?
       18                   A.   So again, there's no header, but
       19       the response is from Twitter, so that's what I
       20       assume.
       21                   Q.   And you -- they say -- you say:
       22       Please see below reporting from Colorado.             These
       23       do not appear to be connected to the imposter
       24       parody accounts previously shared; correct?
       25                   A.   Correct.



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        1                   Q.      And Twitter responds within 15
        2       minutes:         We will escalate.     Thank you; correct?
        3                   A.      Correct.
        4                   Q.      Okay.   And if you scroll down a
        5       couple pages, you see that Colorado secretary of
        6       state's office has flagged some parody or
        7       imposter accounts, including one with 14
        8       followers; correct?
        9                   A.      What page are you on?
       10                   Q.      59 of the PDF.
       11                   A.      59 of the PDF?     I don't see what
       12       you're talking about there.            This is the same
       13       e-mail chain we were just talking about.
       14                   Q.      Maybe look up at the screen share,
       15       can you see where secretary of state's office
       16       has forwarded a screen shot of a Twitter
       17       account, it's got 14 followers?
       18                   A.      I do.
       19                   Q.      And secretary of state's office in
       20       Colorado says:         These are concerning to us here
       21       in Colorado because of their recent FBI/CISA
       22       warnings about impersonation accounts; correct?
       23                   A.      That's what it says, yep.
       24                   Q.      So they say that we're reporting
       25       this because it -- because it's the sort of



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        1       things that the FBI and CISA warned us may
        2       warrant reporting; right?
        3                   A.   I mean, I don't want to speak for
        4       the secretary of state, but that's kind of how
        5       the account sentence reads.
        6                   Q.   Did you -- in fact, were you
        7       involved in warning state and local election
        8       officials about impersonation accounts spreading
        9       false information about the election?
       10                   A.   I'm sure I would have reviewed a
       11       document that went out along those lines.                I'm
       12       not aware of the document, but I'm sure if it
       13       went out I would have reviewed it.
       14                   Q.   Do you remember reviewing it?
       15                   A.   They put out -- in 2020 we put out
       16       a couple of joint FBI and CISA products.             I
       17       don't remember specifically which one this is,
       18       but it certainly sounds like something we would
       19       do.
       20                   Q.   Okay.   Scrolling down, there's
       21       another one they're flagging here, that if you
       22       didn't know, it has two followers; correct?
       23                   A.   So it appears.
       24                   Q.   And you forwarded that onto
       25       Twitter, and Twitter said:         We'll escalate;



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        1       right?
        2                   A.   Yes.    They said they will escalate.
        3                   Q.   Moving onto page 10512, just a few
        4       pages down, that's going to be page 63 of the
        5       PDF.
        6                   A.   Okay.
        7                   Q.   Do you see here in the middle,
        8       here, it's an inquiry from Twitter, and she
        9       says:    Hey Brian, can we talk about CIS
       10       misinformation reporting duplicate reports to
       11       EIP, possible to have just you escalate;
       12       correct?
       13                   A.   Yeah, that's what the e-mail says.
       14                   Q.   What is she talking about, is this
       15       the duplicate reporting issue that you talked
       16       about earlier, where they were getting reports
       17       from you and EIP and CIS?
       18                   A.   That's what I would imagine it is,
       19       yeah.
       20                   Q.   Okay.   Do you remember anything
       21       about this?      We're talking about October 27th,
       22       so, you know, maybe a week before the 2020
       23       election, do you remember the social media
       24       platform is having this concern about duplicate
       25       reports from CIS and EIP?



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        1                   A.    I remember Twitter, in particular,
        2       having that concern.
        3                         Our screen is screwy again.
        4                         THE REPORTER:      Can we go off the
        5       record?
        6                         MR. SAUER:     Yeah, we can go off the
        7       record.
        8                         THE VIDEOGRAPHER:        The time is now
        9       2:11 p.m.        We're off the record.
       10                         (Recess.)
       11                         THE VIDEOGRAPHER:        The time is now
       12       2:13 p.m.        We are back on the record.
       13    BY MR. SAUER:
       14                   Q.    Okay.    So -- and then, Mr. Scully,
       15       you responded to this:          So here's the deal, EIP
       16       will only report something to Twitter if they
       17       have additional context to provided based on
       18       their research; correct?
       19                   A.    That's what I wrote, yes.
       20                   Q.    How did you know that was going to
       21       be their policy or their practice, did you talk
       22       to EIP?
       23                   A.    I would imagine I did.
       24                   Q.    Who did you talk to?
       25                   A.    I don't recall.



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        1                   Q.   And that he goes on -- or you go on
        2       to say, they will not send Twitter reporting
        3       unless it has that additional context that would
        4       help you make a decision; correct?
        5                   A.   Yep.
        6                   Q.   And then it says:       EIP will also
        7       let CISA know when they are reporting something
        8       to you so I can give you a heads up; correct?
        9                   A.   Yep.
       10                   Q.   Is that what happened after this
       11       e-mail, did EIP report to you when they were
       12       reporting something to the social media
       13       platforms?
       14                   A.   I don't recall that, in practice.
       15       Although, obviously, we just went through each
       16       one e-mail that did that.         I don't remember it
       17       being a common thing but, again, I don't -- I
       18       don't know.      It's possible.
       19                   Q.   Okay.   And then it says:       EIP will
       20       continue to use the CIA -- CIS case number to
       21       facilitate identifying duplicative reports;
       22       correct?
       23                   A.   Yep.
       24                   Q.   So EIP was talking to CIS enough to
       25       know what CIS's misinformation reporting case



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        1       numbers were; right?
        2                   A.   I don't know.     I don't know if
        3       that's true.
        4                   Q.   Were you aware that EIP was using
        5       CIS's case numbers, because you said it in this
        6       e-mail?
        7                   A.   Yep, I mean, if that's what I
        8       wrote, that's probably what they were doing.
        9                   Q.   Okay.    Do you remember discussing
       10       that with CIS or EIP that they were going to,
       11       you know, kind of share case numbers?
       12                   A.   I don't recall any such
       13       specificity.     I know we had a conversation.           I
       14       recall that we had conversations about how to
       15       de-duplicate, make sure we weren't overtaxing
       16       Twitter, in particular.
       17                   Q.   And that de-duplication process
       18       involved some kind of coordination between you,
       19       EIP and CIS; correct?
       20                   A.   Again, reading this, it appears we
       21       are just making sure we are sending something
       22       over and everybody is aware of it.
       23                   Q.   Right.    So everybody would tell
       24       everybody else that they were sending something
       25       over, and there was an attempt to avoid sending



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        1       duplicative reports to Twitter?
        2                        MR. GARDNER:     Objection, compound.
        3    BY MR. SAUER:
        4                   Q.   Correct?
        5                   A.   Yeah, can you -- can you break
        6       that -- can you start that over again?
        7                   Q.   Was there an agreement for EIP and
        8       CIS and CISA to coordinate and let each other
        9       know what they were reporting to platforms like
       10       Twitter?
       11                   A.   I think that's generally right,
       12       yeah.
       13                        MR. SAUER:     Let me send you a
       14       couple more exhibits, 10 and 11.           I'm going to
       15       pull up 10 on the screen share while you're
       16       waiting.
       17                        MR. GARDNER:     John, do you -- John,
       18       did you send them over?
       19                        MR. SAUER:     Yeah.     They should be
       20       in your inbox.
       21                        MR. GARDNER:     Yeah, I'm looking.
       22                        MR. SAUER:     They're in my sent box.
       23                        MR. GARDNER:     Okay.    I believe you.
       24       Hold on.
       25                        (Exhibit No. 10 was marked for



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        1       identification.)
        2    BY MR. SAUER:
        3                   Q.   Let me ask this:        Can you see it on
        4       the screen share?
        5                   A.   I can.
        6                        MR. GARDNER:     You haven't shared it
        7       yet, John.
        8                        THE WITNESS:     Trick question.
        9    BY MR. SAUER:
       10                   Q.   Now can you see it on the screen
       11       share?
       12                   A.   Yes.
       13                   Q.   Just looking here at the first
       14       page, you know, this exhibit is a collection of
       15       your switchboarding e-mails from November of
       16       2020, do you see you, are copied here on
       17       misinformation report from CIS on November 2nd
       18       of 2020?
       19                   A.   Yes.
       20                   Q.   Once again, CIS continues to copy
       21       tips@2020partnership.atlassian.net; do you see
       22       that?
       23                   A.   I do.
       24                   Q.   Does that ring a bell for you about
       25       what that e-mail is, after we talked about that



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        1       last e-mail, where you were arranging to
        2       coordinate with EIP about de-duplicating reports
        3       to social media platforms?
        4                   A.   I forget.      I don't recall the
        5       e-mail.      If you tell me that that was the tips
        6       for the 2020 EIP I would believe you.
        7                   Q.   Okay.   Let me scroll down a page to
        8       Bates 13603.
        9                   A.   What page was that?       I'm sorry.
       10                   Q.   Bates 13603, 10 of the PDF.
       11                   A.   Okay.
       12                   Q.   You see here there's a report from
       13       the Iowa secretary of state's office on November
       14       2nd, that's sent to CIS; do you see that?
       15                   A.   Just scrolling through it, sorry.
       16       Give me a second.        Yes.
       17                   Q.   And then it looks like the Iowa
       18       secretary of state's office also sent this to
       19       three FBI e-mail addresses; right, with the
       20       recipients redacted, FBI number two, FBI number
       21       three, and FBI number four; correct?
       22                        MR. GARDNER:      Lack of -- objection,
       23       lack of foundation.
       24                   A.   I don't see the e-mail addresses
       25       you're referring to.



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        1                   Q.   Do you see @FBI, if you look on the
        2       screen share, @FBI.gov?
        3                        MR. GARDNER:     Same objections.
        4    BY MR. SAUER:
        5                   Q.   With the handle omitted, three
        6       e-mails?
        7                   A.   Okay.
        8                   Q.   Were you aware of the FBI being
        9       involved in receiving misinformation reports
       10       from state and local elections officials?
       11                   A.   Generally speaking, we tell
       12       election officials to report what they saw to
       13       either DHS or the FBI, and it would end up where
       14       it needed to be.
       15                   Q.   So you told them to report it to
       16       either DHS or the FBI?
       17                   A.   Correct.
       18                   Q.   Who at the FBI was receiving those
       19       kinds of reports?
       20                   A.   I don't know.     I think it --
       21                   Q.   Go ahead.
       22                   A.   Generally speaking, the FBI has
       23       field offices, and so the idea was if they
       24       were -- election officials had established
       25       relationships with the FBI field office and the



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        1       elections coordinator in that office, and that's
        2       where they wanted to report it, that they could
        3       do so.
        4                   Q.   So there was -- these FBI officials
        5       tended to be FBI field officers -- officers?
        6                   A.   I don't want to speculate, but --
        7       but again, that was, you know, us trying to --
        8       to help the election officials, just if they had
        9       something they needed to report, if they had as
       10       many different options to do that as possible.
       11                   Q.   Okay.   Do you know what FBI did
       12       with its misinformation reports, was it
       13       switchboarding them like you guys were doing?
       14                   A.   I don't know, to be honest.
       15                   Q.   Is that notion that you could
       16       forward things to the FBI, is that something
       17       that was discussed in those USG
       18       industry-specific meetings you talked about?
       19                   A.   I -- not that I recall, but it's
       20       possible we -- we talked to them about the
       21       guidance we gave to election officials, that
       22       election officials could it either way, but I
       23       don't recall specific conversations along those
       24       lines.
       25                   Q.   Can you scroll down to the page 27



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        1       of the PDF.
        2                   A.   Let's go.    Okay.
        3                   Q.   If you look here, kind of at the
        4       bottom of this text chain, Aaron Wilson, he's
        5       your contact at CIS; right?
        6                   A.   Correct.
        7                   Q.   And he's forwarding something to --
        8       November 3rd, with a report about alleged
        9       election misinformation; right?
       10                   A.   Well, poll worker Erie PA says
       11       announces on Instagram they will throw away
       12       Pro-Trump votes, that's what you're talking
       13       about?
       14                   Q.   Yeah.
       15                   A.   That's the subject of the e-mail.
       16                   Q.   He uses the EIP case number for
       17       this report; correct?
       18                   A.   He does.
       19                   Q.   And he sent it to CISA at the CFITF
       20       e-mail; correct?
       21                   A.   He does, correct.
       22                   Q.   And the CFITF e-mail forwards it to
       23       you, and you forward it to Matt Masterson at
       24       Facebook; correct?
       25                   A.   No, that's not correct.        I -- Matt



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        1       was still at CISA at the time.           I forwarded it
        2       to Saleela Salahuddin at Facebook.
        3                   Q.   Copying Matt Masterson?
        4                   A.   I'm sorry?
        5                   Q.   Copying Matt Masterson?
        6                   A.   Yeah, who was at CISA.       You said he
        7       was at Facebook.      I just wanted to make sure
        8       that that was clear that he was still --
        9                   Q.   I'm sorry, I meant to say and
       10       Facebook, not at Facebook?
       11                   A.   Gotcha.
       12                   Q.   And then Facebook came back to you
       13       for clarification; right?         Do you recall that?
       14                   A.   So we -- sorry, go ahead.
       15                   Q.   Go ahead, what were you going to
       16       say?
       17                   A.   I said, just to be clear, we
       18       forwarded the statement from Pennsylvania about
       19       that incident to Facebook and Matt Masterson.
       20                   Q.   And so --
       21                   A.   That's what is here.
       22                   Q.   And they -- and it looks like
       23       Facebook asked you, could you please confirm
       24       that, A, the worker in question who was
       25       supposedly destroying Pro-Trump ballots is not a



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        1       poll worker, or B, that he did not, in fact,
        2       destroy ballots or at least there's no evidence
        3       he did.
        4                        So Facebook asked you, Brian Scully
        5       and Matt Masterson, for that clarification;
        6       right?
        7                   A.   They did.
        8                   Q.   Yeah, and then you responded:         Not
        9       sure I understand the distinction you're trying
       10       to make, but both components of the narrative
       11       are false.       The person is not a poll worker and
       12       no ballots were destroyed.          I suppose that makes
       13       the entire thing a hoax; correct?
       14                   A.   Yeah, that was my response.
       15                   Q.   What was your basis for concluding
       16       that both components of the narrative were
       17       false?
       18                   A.   I believe the statements from
       19       Pennsylvania.      I assume if you have that
       20       document we can take a look and confirm.
       21                   Q.   You read the statement from
       22       Pennsylvania and reported its content back to
       23       Facebook?
       24                   A.   Correct.
       25                   Q.   Okay.    Did you -- did that happen



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        1       from time to time, where you wouldn't just
        2       forward the disinformation concern, but then you
        3       would provide, you know, information that would
        4       help debunk it through the social media network?
        5                   A.   I think I frame it a little
        6       differently, if social media platforms needed
        7       additional information from an election official
        8       we would try to support that.            There was also
        9       one time when I believe it was Facebook had a
       10       question about DHS immigration and customs
       11       enforcement having agents going places where we
       12       also provided a response back on a specific
       13       piece.
       14                        But generally speaking, we would do
       15       what we did here, which is if the -- if the
       16       jurisdiction made a public statement or if there
       17       was additional information the jurisdiction
       18       could provide, and the platforms asked for it,
       19       that we would try to facilitate getting the
       20       information they asked for.
       21                   Q.   Did you merely relay that
       22       information, the sort of debunking information
       23       from the election official, would you sometimes
       24       find it on your own and helpfully supply it to
       25       the social media platform?



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        1                   A.   If it was a public statement, I'm
        2       sure we pulled it ourselves.          If there was not a
        3       public statement, I would imagine we would go
        4       back to the election official.
        5                   Q.   But you might --
        6                   A.   I don't know --
        7                   Q.   Go ahead.
        8                   A.   Sorry, I don't want to say that
        9       every case was exactly like that, but again, if
       10       there was a public statement that was put out by
       11       the jurisdiction, we would -- we would defer to
       12       that.
       13                   Q.   Did you take any steps to find
       14       out -- for example, suppose there's a public
       15       statement that disputes what a private citizen
       16       has said on Facebook or Twitter, would you do
       17       further research to figure out who was telling
       18       the truth or would you just relay the official
       19       government explanation of the incident to the
       20       social media platforms?
       21                   A.   We would relay the -- the official
       22       statement from the jurisdiction.
       23                   Q.   I take it sometimes you would go
       24       find that official statement on your own, and
       25       sometimes you would reach out to the state or



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        1       local jurisdiction to see if they issued a
        2       statement?
        3                   A.   Yeah, we would find, I think it
        4       implies that we were doing a rigorous search.
        5       Generally, we would be aware if a jurisdiction
        6       put out a statement and we would just pull it
        7       ourselves.
        8                   Q.   Look ahead to --
        9                   A.   And sometimes --
       10                   Q.   Go ahead.
       11                   A.   Sorry.
       12                        Sometimes we would reach out to the
       13       jurisdiction and they would just provide the
       14       statements that they had already made public, as
       15       well.
       16                   Q.   Would you relay that to the social
       17       media platform?
       18                   A.   Yeah, if they were asking for
       19       additional information we would.
       20                   Q.   Here's another one, page 35 of the
       21       PDF, Bates 8663.         Do you see that on the screen
       22       share?
       23                   A.   I'm scrolling down to it.        8663?
       24                   Q.   Yeah.
       25                   A.   Yep.



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        1                   Q.   And here in this e-mail chain it
        2       looks like it's another situation where Twitter
        3       asked for some clarification, for example, she
        4       says, on November 6th, have Pennsylvania state
        5       officials provided initial information to you on
        6       the authenticity of the video or the
        7       circumstances under -- underpinning it; do you
        8       see that?
        9                   A.   I do.
       10                   Q.   And then you respond, scrolling
       11       back up, you say:        There are two reports in the
       12       e-mail chain, and you explain what you
       13       understand what Pennsylvania is saying about the
       14       disputed information; right?
       15                   A.   Sorry, I'm just scrolling down to
       16       make sure I understand the context of the chain.
       17                        Okay.   Sorry.    Could you repeat the
       18       question?
       19                   Q.   Sure.   My question is:      You
       20       provided clarification to the social media
       21       platform about what you believe the Pennsylvania
       22       reporter meant; correct?
       23                   A.   I don't believe that is correct.
       24                   Q.   Well, did you say, for example, on
       25       the authenticity Pennsylvania states in the very



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        1       first e-mail that they believe the videos are
        2       false and we're reaching out to our partners to
        3       validate; correct?
        4                   A.   Correct.
        5                   Q.   Okay.   And then, later that day, if
        6       you scroll up, you say:        Hey, to Twitter, just
        7       came across this debunk of the video on Twitter;
        8       correct?
        9                   A.   Yes.
       10                   Q.   And then -- so you are looking
       11       around to find information that would debunk it;
       12       correct?
       13                   A.   I don't know if that's correct.
       14       It's possible somebody just let us know that
       15       there was something there.
       16                   Q.   And then 17 minutes later Twitter
       17       responds, thank you so much, we applied a label
       18       to the tweet; correct?
       19                   A.   Yes, that's what they said back,
       20       correct.
       21                   Q.   Scroll down to page 8669.
       22                   A.   What page of the PDF?
       23                   Q.   46.
       24                   A.   46?
       25                   Q.   Yes.    And here you've got a



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        1       misinformation report from the secretary of
        2       state of Arizona's office; do you see that?
        3                   A.   Yes.
        4                   Q.   It says:     This post is on a private
        5       Facebook page, above.         I've included a screen
        6       shot; correct?
        7                   A.   That's what the Arizona e-mail
        8       says, yep.
        9                   Q.   How did they -- was that unusual
       10       for them to report statements on a private
       11       Facebook page?
       12                   A.   I don't -- I don't know.        We didn't
       13       do any analysis of that kind.
       14                   Q.   Okay.    So you don't know whether
       15       someone was monitoring how posts appeared on a
       16       private Facebook page containing alleged
       17       misinformation?
       18                   A.   I don't know how Arizona secretary
       19       of state came across that information, no.
       20                   Q.   Dropping ahead to page 864, now.
       21       Here at 954 --
       22                   A.   I'm sorry.
       23                   Q.   Sorry.
       24                   A.   54?
       25                   Q.   Oh, sorry, page 54 of the PDF, yes,



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        1       sorry.      Actually, no, I'm sorry, that's not the
        2       right page.
        3                   A.   Okay.
        4                   Q.   No, sorry, page 59 of the PDF?
        5                   A.   59?     Okay.
        6                   Q.   Here's a chain on Tuesday, November
        7       10th, at 7:23 in the evening, you forwarded a
        8       report of information -- misinformation to
        9       Twitter; correct, at 7:23?
       10                   A.   Yeah, that's what appears, there's
       11       no he header on the e-mail, but considering the
       12       responses is from Twitter, I assume that's who I
       13       sent it to.
       14                   Q.   And Twitter responds in two
       15       minutes, we will escalate; right?
       16                   A.   Yep.
       17                   Q.   And then Twitter responds here a
       18       few minutes later, after midnight, at 12:11
       19       a.m., hey, we labeled all the tweets except two;
       20       right?
       21                   A.   Yes.
       22                   Q.   So Twitter was working on this well
       23       into the evening, along with -- were you guys
       24       doing that well into the evening?
       25                        MR. GARDNER:     Objection, compound.



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        1    BY MR. SAUER:
        2                   Q.   Timeframe?
        3                   A.   So was Twitter working on it well
        4       into the evening?        I mean, I guess.     Were we?
        5       Again, if somebody was checking the phone, most
        6       of the post-election stuff would have been me.
        7       We would have done something with it, but it
        8       wasn't a requirement.
        9                        (Exhibit No. 11 was marked for
       10       identification.)
       11    BY MR. SAUER:
       12                   Q.   And showing you Exhibit 11, which
       13       should be in your inbox.
       14                        MR. GARDNER:     Yeah, I think that's
       15       right.
       16                   A.   Okay.
       17                   Q.   On the last page of this PDF,
       18       there's an e-mail from Aaron Wilson?
       19                        MR. GARDNER:     I'm sorry, John, do
       20       you want to post it on the screen?
       21                        MR. SAUER:     Oh, thank you.
       22                        MR. GARDNER:     You don't need to, if
       23       you don't want to, I mean, we have the --
       24                        MR. SAUER:     I got it, I mean, I
       25       thought it was up.



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        1    BY MR. SAUER:
        2                   Q.    Last -- see it, last page of the
        3       PDF, there's a report from CIS.
        4                   A.    Yeah.
        5                   Q.    Actually, this is, interstingly, a
        6       report from CIS to Gwinnet County; right?             Where
        7       they say:        Hi Kristi, the EI-ISAC and our
        8       partners at the Election Integrity Partnership
        9       are tracking a social media post that's getting
       10       traction very quickly; right?
       11                   A.    Yes, that's what the e-mail reads,
       12       yeah.
       13                   Q.    So this is a situation where the
       14       reporting was actually originated by CIS or EIP
       15       or actually, according to this e-mail, both of
       16       them.    They're the ones who noticed the
       17       misinformation, online, first; right?
       18                         MR. GARDNER:      Objection to form.
       19    BY MR. SAUER:
       20                   Q.    Correct?
       21                   A.    That's what -- that's what the
       22       e-mail appears to say, yeah.
       23                   Q.    And they reached out, you know,
       24       proactively to Gwinnett County asking them to
       25       debunk it; right?



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        1                   A.      Yeah, they're just trying to get
        2       what was actually going on, yeah.
        3                   Q.      Yeah, they say:     We're tracking a
        4       social media post that's gaining traction very
        5       quickly.         It's likely a misunderstanding, but
        6       being portrayed as a nefarious act.            If you can
        7       clarify for us what is being shown, if it even
        8       happened, we can work with the social media
        9       platforms to try to have the post removed as
       10       misinformation; correct?
       11                   A.      Yeah, that's what he wrote.
       12                   Q.      And then Gwinnett County comes back
       13       with a -- a -- an explanation of the post;
       14       correct?
       15                   A.      Yes.
       16                   Q.      And that's forwarded to Twitter by
       17       CIS, along with their explanation; correct?
       18                           Well, actually, before they report
       19       it to Twitter they report it to you; right?
       20       Here's there's an e-mail that says --
       21                   A.      Yeah.
       22                   Q.      -- Brian and EIP --
       23                   A.      Yes.
       24                   Q.      Right?   So Brian --
       25                   A.      Yep.



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        1                   Q.    And EIP is Election Integrity
        2       Partnership; right?
        3                   A.    Yep.
        4                   Q.    And that's what CIS says, and they
        5       sent this to --
        6                   A.    Yes.
        7                   Q.    -- your e-mail, two CISA e-mails,
        8       their own e-mail and
        9       tips@2020partnership.atlassian.net; right?
       10                   A.    Yep.
       11                   Q.    So they sent this e-mail, where
       12       they say:        Brian and EIP, to you, two CISA
       13       accounts, their own account, and
       14       tips@2020partnership.atlassian.net; right?
       15                   A.    Yep.
       16                   Q.    So it appears that that
       17       tips@2020partnership e-mail is an EIP e-mail;
       18       right?
       19                         MR. GARDNER:      Objection, asked and
       20       answered, multiple times.
       21    BY MR. SAUER:
       22                   Q.    Does that refresh your memory?
       23                   A.    I wouldn't say refreshes my memory,
       24       but it's going on CISA or CIS e-mail there, so
       25       it's probably a reasonable assumption to make.



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        1                   Q.   Then you forward this on, having
        2       received the report from CIS; right?
        3                   A.   Yep.
        4                   Q.   And then @Twitter reports back to
        5       you, and says, they labeled the tweet and are
        6       taking steps to limit trending; right?
        7                   A.   Yes.
        8                   Q.   What does that mean to take steps
        9       to limit trending; do you know?
       10                        MR. GARDNER:     Objection, calls for
       11       speculation.
       12                   A.   Yeah, I don't know.       Twitter has a
       13       range of tools that they use.            I couldn't
       14       possibly speculate on what they were doing here.
       15                   Q.   Let's put Exhibit 12 back up.
       16                        These are the interrogatory
       17       responses.
       18                        MR. GARDNER:     Yeah, hold on one
       19       second, John.      You said 12?
       20                        MR. SAUER:     Yeah.
       21                        MR. GARDNER:     Hold on one second.
       22                        MR. SAUER:     Go to page 38.
       23                        THE WITNESS:     38.
       24                        MR. SAUER:     Yeah, if you would.
       25                        THE WITNESS:     Okay.    I'm on page



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        1       38, John.
        2    BY MR. SAUER:
        3                   Q.   Oh, sorry, I'm on page 28.         My
        4       mistake.
        5                   A.   All right.
        6                   Q.   38 asks that here, you see where it
        7       says CISA, and it says:        CISA responds that
        8       meetings taking place with the social media
        9       platforms relating to misinformation include,
       10       but are not limited to, and then there's a
       11       bullet list; right?
       12                   A.   I think that is 38, not 28.
       13                   Q.   Yeah, it should be on page 38?
       14                   A.   Sorry.     I thought you said 28.       Let
       15       me get back down there.
       16                   Q.   Oh, I meant I was mistaken.
       17                   A.   Okay.    So there's a table, am I
       18       looking below the table or above the table?
       19       Below the table?
       20                   Q.   Yeah.
       21                   A.   Got you.     Okay.
       22                   Q.   Okay.
       23                   A.   I'm sorry, what am I looking for?
       24                   Q.   Were you involved in identifying
       25       meetings between CISA and social media platforms



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        1       relating to misinformation in responding to
        2       discovery requests?
        3                   A.   Yes, I believe I was.
        4                   Q.   What meetings did you identify?
        5                   A.   Certainly these, the recurring
        6       meetings listed here, that we talked about, the
        7       preparation meeting we talked about, going
        8       through the list, MDM, joint MDM working group,
        9       I think I missed -- those are the ones I would
       10       have identified.
       11                   Q.   Start with the first one, first
       12       bullet point, a recurring meeting usually
       13       entitled USG industry meeting, which has
       14       generally had a monthly cadence; right?
       15                   A.   Yep.
       16                   Q.   And that is the one that you refer
       17       to as the sync meeting between industry and
       18       social media platforms; correct?           I'm sorry,
       19       industry --
       20                   A.   Right.   Yes, that's correct.
       21                   Q.   And you list there, I think seven
       22       or eight social media platforms, and the
       23       response, Google, Facebook, Twitter, Reddit,
       24       Microsoft, and then Verizon Media, Pinterest,
       25       LinkedIn and Wiki Media Foundation; correct?



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        1                   A.   Right, that's correct.
        2                   Q.   And when you say this generally has
        3       a -- had a monthly cadence, in fact, far away
        4       from elections it was only quarterly, and then
        5       it became monthly close to elections, and became
        6       weekly before the 2020 election; right?
        7                   A.   I would say from summer of 2018 to
        8       2020 they were -- to early 2020 they were
        9       quarterly.       Sometime in 2020 they became monthly
       10       and then as we got closer to the election in
       11       2020 they became weekly.
       12                   Q.   Why did they become weekly close to
       13       the election?
       14                   A.   They were mostly just touch points
       15       in case anything kind of popped up.           Those are
       16       much less formal than the monthly ones.             We
       17       didn't have an agenda for those, just an
       18       opportunity for folks to share, if they had any
       19       questions or anything like that.
       20                   Q.   What sort of stuff did folks share
       21       in these weekly touch point meetings?
       22                   A.   So from a CISA perspective, we
       23       generally provide updates on any election
       24       security-related issues.         So if -- you know, if
       25       there were any administrative kind of problems



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        1       that say we're having, speaking along those
        2       lines, the other federal partners, if they had
        3       any, again, kind of strategic, unclassified.
        4       Intelligence reporting that they felt was
        5       relevant, they might share that.           And then the
        6       platforms, I don't know what they were sharing
        7       generally.       I don't -- probably just general
        8       trends that they might be seeing on the
        9       platforms, but I don't recall specifically what
       10       they talked about.
       11                   Q.    And all these things that they
       12       share are related to election misinformation and
       13       misinformation on social media platforms?
       14                   A.    No.   It also included cyber
       15       security, in fact, I would say most of it -- I
       16       wouldn't say most of it -- a lot of it was cyber
       17       security.        And then there was a little bit on
       18       any physical threats that were occurring.
       19                   Q.    So that -- that's if someone was
       20       actually threatening poll workers, something
       21       like that?
       22                   A.    Correct.
       23                   Q.    And so in addition to physical
       24       threats, there were cyber security and issues
       25       related to misinformation and disinformation?



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        1                   A.    Correct.
        2                   Q.    Is anything else discussed in these
        3       meetings?
        4                   A.    I mean, I think those are the
        5       main -- main topics that I recall.
        6                   Q.    Was -- was the risk of hack and
        7       leak operations or hack and dump operations
        8       discussed in these meetings?
        9                   A.    I don't -- I don't recall a
       10       specific incident of that, but it's definitely
       11       possible.        It's a tactic that had been used in
       12       the past.
       13                   Q.    Did you remember you raising
       14       concerns about hack and leak operations?
       15                   A.    Me, personally, I don't recall
       16       myself raising that, but it's possible.
       17                   Q.    How about -- how about Laura
       18       Dehmlow, did she ever raise that, discuss hack
       19       and leak operations?
       20                   A.    Again, I don't know.      It was a
       21       tactic that had been used globally, previously.
       22       So it wouldn't surprise me if there was some
       23       discussion of that somewhere in these meetings.
       24                   Q.    Do you remember anyone on the
       25       government side discussing it?



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        1                   A.   Not specifically, no.
        2                   Q.   How about on the industry side,
        3       anyone from the social media platforms
        4       discussing hack and leak operations?
        5                   A.   Yeah, unfortunately, I just don't
        6       have that kind of recollection of conversations.
        7       So no, I don't specifically remember that.
        8       Again, it's possible, and I wouldn't be
        9       surprised.
       10                   Q.   How about Elvis Chan, you know who
       11       he is; right?
       12                   A.   I do.
       13                   Q.   Did he ever -- do you remember him
       14       ever talking about hack and leak issues in these
       15       meetings in 2020?
       16                   A.   Again, I don't have any specific
       17       recollection of that, but it's always possible,
       18       for sure.
       19                   Q.   How about Matt Masterson?
       20                   A.   Same answer, you know, it's
       21       possible, but I don't recall specific
       22       conversations.
       23                   Q.   Let me e-mail you a couple more
       24       exhibits.
       25                   A.   Sure.



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        1                   Q.   Do you know Yoel Roth is?
        2                   A.   Yes, I know who Yoel Roth is.
        3                   Q.   Do you know him personally?
        4                   A.   Only in the fact that I've met him
        5       a couple times.      He was at meetings, you know,
        6       some of these synch meetings he would be at.
        7                   Q.   Were these meetings related to
        8       misinformation with CISA?
        9                   A.   Again, these are regular sync
       10       meetings that we talked about, it's also I do
       11       recall we had some Twitter-only calls, as well,
       12       that he participated in, so again, it's general
       13       meetings would be of conversations.
       14                   Q.   What was -- what was discussed in
       15       the Twitter-only meetings?
       16                   A.   Similar, basic
       17       relationship-building stuff would be some of it,
       18       so, you know, just going and making sure we know
       19       who's who, and having conversations about, you
       20       know, just relationship-building sides.             I also
       21       believe we had some briefings from them on some
       22       of their public reports, if I recall correctly,
       23       so things like that.        There wasn't a ton of
       24       them.
       25                   Q.   Is this public reporting related to



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        1       misinformation and disinformation issues?
        2                   A.   Yeah, again, I don't know if that's
        3       what they called it, but that was kind of our
        4       interpretation of it.        I think they used
        5       coordinated and in-authenticated or so, but I
        6       don't recall if Twitter -- if Twitter
        7       articulated it.
        8                   Q.   You would view those briefings in
        9       those bilateral meetings with Twitter as
       10       relating to misinformation and disinformation on
       11       social media?
       12                   A.   Yeah, some of that, and some of it
       13       I'm sure kind of talking him through how
       14       elections work, because a lot of education they
       15       weren't super familiar with the election
       16       administration, how they worked, and a different
       17       role and responsibility, you know, about
       18       elections.       So again, we tried to educate as
       19       much as we could.
       20                   Q.   Were there bilateral meetings with
       21       other social media platforms, like this, where
       22       misinformation was discussed in any way?
       23                   A.   Yeah, again, generally, from a
       24       relationship-building standpoint, particularly
       25       early on in the process, we would meet -- we met



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        1       with the platforms just to talk about kind of
        2       what our role, what we would do, kind of how the
        3       relationship should act.
        4                        So just as an example, we could
        5       relate to the K-theoretical.          You know, in those
        6       meetings we wanted to make sure that the
        7       platforms understood we would never ask them to
        8       undertake any specific actions.          So we would
        9       reiterate that in all of our meetings.            And, you
       10       know, that was something we continued throughout
       11       the process.
       12                        We would educate them on -- on
       13       elections, as I mentioned.         We would talk to
       14       them a little bit about our resilience-building
       15       work, as I discussed.        They would just kind
       16       of -- again, relationship-building type stuff,
       17       very general kind of conversations.
       18                   Q.   What you describe as the process,
       19       is that the process of, you know, referring
       20       disinformation concerns to them, that we've been
       21       talking about today?
       22                   A.   We did have conversations, but I
       23       think I was referring to the election processes,
       24       how the election processes worked.
       25                   Q.   You said early, when you said early



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        1       in the process, you meant early in the election
        2       process?
        3                   A.   Oh, yeah, sorry.
        4                   Q.   You would have -- you had meetings
        5       with -- bilateral meetings with Twitter and
        6       Facebook and other social media companies?
        7                   A.   Right.   So in 2018 we didn't have
        8       any relationships with the platforms, at all.
        9       So in our initial stages of trying to build
       10       those relationships we would go meet with each
       11       platform one-on-one, just to make sure we could
       12       kind of talk to, understand what their concerns
       13       are, and then, you know, basic
       14       relationship-building stuff.
       15                   Q.   Did those bilateral meetings happen
       16       in 2020, as well?
       17                   A.   I would say they probably --
       18       probably had bilateral meetings in 2020.             I'm
       19       not remembering any specific, off the top of my
       20       head, but I believe prior to starting the
       21       switchboarding work, in 2020, we had
       22       conversations with each platform individually.
       23                   Q.   Those would be when you talk about
       24       what you would be doing in the switchboarding
       25       area; right?



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        1                   A.   Yeah, kind of what we would be
        2       doing, and again, to reaffirm our position that
        3       we would never ask them to take any specific
        4       actions, that they should make decisions based
        5       on their term of service.
        6                   Q.   So you're specifically talking
        7       about the fact that you would be sending them
        8       reports about disinformation during the election
        9       cycle?
       10                   A.   Yeah, we would be forwarding them
       11       reports from different election officials, yeah.
       12                   Q.   Just putting Exhibit 12 back up,
       13       here.
       14                        Let me show you where in your
       15       interrogatory responses you disclosed those
       16       bilateral meetings with social media platforms
       17       here in --
       18                        MR. GARDNER:     Hold on.     We're --
       19       we're pulling 12 back up, John.            Hold on.
       20                        MR. SAUER:     Page 38 to 39, it
       21       actually goes onto 40.
       22                        MR. GARDNER:     Yeah, hold on.      Whoa
       23       whoa, whoa, whoa, yeah, almost there.            You said
       24       38, John?
       25                        MR. SAUER:     Page 38.



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        1    BY MR. SAUER:
        2                   Q.   There's a list of five bullet
        3       points.
        4                   A.   Okay.   I'm sorry, what was your
        5       question?
        6                   Q.   Can you show me where on this
        7       interrogatory response you disclosed, for
        8       example, bilateral meetings between CISA and
        9       Twitter or CISA and Facebook relating to the
       10       misinformation reporting that we've been talking
       11       about?
       12                   A.   So I don't want to speak on behalf
       13       of whoever submitted the final product, but my
       14       assumption would be that they would be on the
       15       preparation meeting.        But I'm not -- I'm not
       16       sure how they captured those in here.
       17                   Q.   Were those the same as preparation
       18       meetings for the USG industry meeting?
       19                   A.   I probably wouldn't consider them
       20       to be the same, but there's -- there are similar
       21       types of meetings.
       22                        (Exhibit No. 13 was marked for
       23       identification.)
       24    BY MR. SAUER:
       25                   Q.   Let's get Exhibit 13 back up.



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        1                        Do you see this as a document filed
        2       before the FEC, entitled:         Declaration of Yoel
        3       Roth?
        4                   A.   Okay.
        5                   Q.   And scrolling, have you seen this
        6       document before?
        7                   A.   I have not.
        8                   Q.   Scroll down to paragraph 11.         Start
        9       with paragraph 10.       Mr. Roth says in this
       10       declaration, he says, since 2018 I have had
       11       regular meetings with the office of the director
       12       of National Intelligence, the Department of
       13       Homeland Security, the FBI, and industry peers
       14       regarding election security; right?
       15                   A.   Yep.
       16                   Q.   Was this a description of the --
       17       the sync meetings that we talked about today,
       18       between US government and social media
       19       platforms?
       20                        MR. GARDNER:     Objection, lack of
       21       foundation, calls for speculation.
       22    BY MR. SAUER:
       23                   Q.   Do you see that?
       24                   A.   Yeah, I don't know what he's
       25       talking about, obviously I can't tell for



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        1       certain what he's talking about.
        2                   Q.   No?     Since 2018 has the Department
        3       of Homeland Security had regular meetings with
        4       social media platforms --
        5                   A.   Yep.
        6                   Q.   -- ODNI and the FBI?
        7                        MR. GARDNER:     Objection, lack of
        8       foundation.
        9                   A.   Yes.
       10                   Q.   Yes, it has, because you've
       11       testified about them repeatedly today, so there
       12       obviously is a foundation, isn't there?
       13                        You have been personally involved
       14       in multiple meetings, these sync meetings,
       15       between USG and industry, and they involve seven
       16       or eight social media platforms, ODNI, the
       17       Department of Homeland Security, specifically
       18       CISA, and the FBI, didn't they?
       19                   A.   We had regular meetings, as I
       20       talked about.      Whether or not that is what Yoel
       21       is also talking about, here, I can't say.             But I
       22       don't think that's a bad inference to make.
       23                   Q.   Okay.    Scroll down to paragraph 11:
       24       During these weekly meetings the federal law
       25       enforcement agencies communicated that they



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        1       expected hack and leak operations by state
        2       actors might occur in the period shortly before
        3       the 2020 presidential election, likely in
        4       October; do you see that?
        5                   A.   Yes.
        6                   Q.   Do you recall that kind of
        7       communication occurring in any of these sync
        8       meetings that occurred in 2020?
        9                   A.   Again, I don't specifically recall.
       10       But as I said earlier, it's certainly possible,
       11       because it was a common tactic.
       12                   Q.   But you don't remember any federal
       13       agencies talking about hack and leak operations
       14       in these meetings, but you don't dispute that it
       15       could have happened?
       16                   A.   That's correct, yes.
       17                   Q.   Okay.   Next sentence, Mr. Roth
       18       says:    I was told in these meetings that the
       19       intelligence community expected that individuals
       20       associated with political campaigns would be
       21       subject to hacking attacks, and that the
       22       material obtained through those hacking attacks
       23       would likely be disseminated over social media
       24       platforms, including Twitter; do you see that?
       25                   A.   I do.



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        1                   Q.   Do you recall that being
        2       communicated in any of these sync meetings?
        3                   A.   Again, it's -- I don't remember
        4       specifics, but it would not surprise me if this
        5       was discussed.
        6                   Q.   Next sentence, Mr. Roth says:
        7       These expectations of hack and leak operations
        8       were discussed throughout 2020.
        9                        Does that ring a bell?       Do you
       10       recall this being raised multiple times and
       11       repeatedly in these sync meetings?
       12                   A.   Again, it's the same response.          I
       13       don't have specific memories of every item that
       14       was requested or very good memory of the
       15       conversations, in general.         But I would
       16       definitely not be surprised if these were
       17       included in those conversations.
       18                   Q.   Okay.   And then the very next
       19       sentence, spilling onto page 3, I also learned
       20       in these meetings that there were rumors that a
       21       hack and leak operation would involve Hunter
       22       Biden; do you see that?
       23                   A.   I do.
       24                   Q.   Do you recall any mention of Hunter
       25       Biden in any of these meetings with social media



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        1       platforms?
        2                   A.   I don't.
        3                   Q.   So you don't know -- do you -- do
        4       you dispute that Mr. Roth remembers it
        5       correctly?
        6                   A.   I mean, I have no basis to dispute
        7       or not dispute.
        8                   Q.   Okay.
        9                   A.   These aren't topics that CISA would
       10       be briefing on, so it's possible another agency
       11       did brief on them.
       12                   Q.   How about the FBI, do you remember
       13       the FBI, Laura Dehmlow and Elvis Chan, saying
       14       anything about Hunter Biden during these
       15       meetings?
       16                   A.   I don't.
       17                   Q.   How about ODNI?
       18                   A.   I don't, no.
       19                   Q.   How about DOJ, national security
       20       division?
       21                   A.   I don't, no.
       22                   Q.   This is dated December 17th, 2020,
       23       so that would have been within a couple of
       24       months of these meetings, a month or two of the
       25       last meeting; is that right?



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        1                   A.   I'm sorry, what was -- could you
        2       repeat that?      I just want to make sure I
        3       understand what you're asking.
        4                   Q.   I was just scrolling down to the
        5       fourth page of the document, where it's dated
        6       December 17th, 2020.
        7                   A.   Oh.
        8                   Q.   Do you see that?
        9                   A.   Yep.
       10                   Q.   So this declaration would be
       11       executed close in time to the meetings that are
       12       being discussed; correct?
       13                   A.   Correct.
       14                        MR. SAUER:     I'm going to e-mail you
       15       Exhibit 14.
       16                        MR. GARDNER:     John, did you say 14?
       17                        MR. SAUER:     Exhibit 14, yeah, do
       18       you have that?
       19                        MR. GARDNER:     Yeah, we already have
       20       that, the deposition of Elvis Chan.
       21                        MR. SAUER:     Yeah.    Sorry, guys.
       22                        (Exhibit No. 14 was marked for
       23       identification.)
       24    BY MR. SAUER:
       25                   Q.   This is the third page of this



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        1       document.
        2                   A.      Okay.
        3                   Q.      There's an exchanges here where Mr.
        4       Chan is asked -- he refers to the federal law
        5       enforcement agencies, plura, in that sentence,
        6       do you see that answer, yes; do you see where
        7       that is?
        8                   A.      Line four?
        9                   Q.      Yeah.
       10                   A.      Is that what you're referring to?
       11                           Yeah, you're referring to the
       12       question at line four?
       13                   Q.      Right.
       14                   A.      Okay.    Yeah, I see that.
       15                   Q.      And Mr. Chan was asked the question
       16       on line eight, whether other federal law
       17       enforcement agencies, other than the FBI, talked
       18       about hack and leak operations; do you see that?
       19                   A.      I do.
       20                   Q.      And he says he doesn't think of any
       21       other federal law enforcement agencies, there at
       22       line 15.         The only federal law enforcement
       23       agency I remember conveying our concern about
       24       hack and leak operations was the FBI; right?
       25                   A.      That's his response, correct.



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        1                   Q.   And then he was asked, how about
        2       any other agency, not law enforcement.            And he
        3       answered, as I mentioned, I believe CISA would
        4       have had the same concern as the FBI; right?
        5                   A.   That was his response, yep.
        6                   Q.   And I asked him:        That was relayed
        7       through Mr. Masterson and Mr. Scully, I think
        8       you said, correct?       And he answered, correct;
        9       right?
       10                   A.   Okay.   Yep.
       11                   Q.   Do you remember either you or
       12       Mr. Masterson relaying a concern about hack and
       13       leak operations in those meetings?
       14                   A.   I don't.
       15                   Q.   Next page of the document, page
       16       222, fourth page of the PDF, you testify:             I
       17       believe that the senior election official from
       18       ODNI would also flag -- flag that as a concern;
       19       correct?
       20                   A.   Yes.    That's what he says, yes.
       21                   Q.   Do you remember anyone from ODNI
       22       raising a concern about hack and leak operations
       23       in these meetings?
       24                   A.   Again, as I said in your previous
       25       questions, I don't recall specifics, but it



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        1       wouldn't surprise me if -- if they were
        2       mentioned.
        3                       MR. SAUER:     I'm sending you Exhibit
        4       15 by e-mail.
        5                       (Exhibit No's. 15, 16 and 17 were
        6       marked for identification.)
        7                       MR. GARDNER:      John, are you
        8       intending to screen share?
        9                       MR. SAUER:     Yeah, I'm doing that
       10       right now.
       11                       MR. GARDNER:      We're still waiting
       12       for the exhibit.
       13                       MR. SAUER:     Sorry.    I think I got
       14       my exhibits switched up.         Yeah, here, I'm
       15       showing you exhibit -- I think it will be
       16       Exhibits 15, 16 and 17.        You know, the one that
       17       I thought was 15 is 16, the one that I thought
       18       was 16 is 15, so I'm showing you Exhibit 16.
       19                       MR. GARDNER:      So when we receive
       20       your e-mail do you want us to pull up the
       21       document marked 16?
       22                       MR. SAUER:     Yeah, you should have
       23       received it already.
       24                       MR. GARDNER:      Yeah, not yet.
       25                       MR. SAUER:     There should be an



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        1       e-mail with 15, 16 and 17 all attached.
        2                        MR. GARDNER:      Yeah, not yet.
        3                        MR. SAUER:     Really?    Well --
        4                        MR. GARDNER:      Oh, here we go.
        5                        Do you want us to pull up 16 first?
        6                        MR. SAUER:     Yeah.
        7                        MR. GARDNER:      Okay.   John, I have
        8       15 here, and I got set up -- I see what's
        9       happening.       Hold on.   Yeah, sorry.
       10                        MR. SAUER:     It's a one-page e-mail,
       11       it should be up.
       12                        MR. GARDNER:      Yep.    Yeah.
       13    BY MR. SAUER:
       14                   Q.   Here's a -- Mr. Scully, you see an
       15       e-mail here from Facebook to you and
       16       Mr. Masterson, as well as Allison Snell and
       17       Geoff Hale; correct?
       18                   A.   I do.
       19                   Q.   And there it indicates that there
       20       it's called today's industry statement; right?
       21                   A.   Joint industry statement.
       22                   Q.   Right.     And they say -- and
       23       Facebook says to you, I wanted to ensure you had
       24       the statement we will look to release following
       25       today's meeting; right?



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        1                   A.   Correct.
        2                   Q.   And then, under the joint industry
        3       statement, it talks about how there are these
        4       meetings that have been going on; right?
        5                   A.   Yes.
        6                   Q.   And then it says -- the majority of
        7       the statement says:         At today's meeting we
        8       specifically discussed three things; right?
        9                   A.   Yes.
       10                   Q.   And the second one of those says:
       11       Ways to counter targeted attempts to undermine
       12       election conversation before, during, and after
       13       the election; right?
       14                   A.   It does.
       15                   Q.   And the industry statement goes on
       16       to say:      This includes preparing for possible
       17       so-called hack and leak operations, attempted to
       18       use platforms and traditional media to amplify
       19       unauthorized information drops; correct?
       20                   A.   Correct.
       21                   Q.   Does that -- and so the industry
       22       prepared a public statement saying that hack and
       23       leak operations were discussed at one of these
       24       meetings; correct?
       25                   A.   Correct.    Yes.



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        1                   Q.   Does that refresh your memory, at
        2       all, about hack and leak operations being raised
        3       at these sync meetings in 2020?
        4                   A.   Again, I don't have any specific
        5       recollections of the conversations.           But as I
        6       said a few times, now, it doesn't surprise me
        7       that they would discuss the common tactic used
        8       globally.
        9                   Q.   Were you aware of any pending
       10       investigations, at that time, into possible
       11       hack -- actual possible hack and leak
       12       operations?
       13                   A.   No.
       14                   Q.   I'm showing you what should be
       15       Exhibit 15.
       16                        MR. GARDNER:     Got it.
       17                        THE WITNESS:     Okay.
       18    BY MR. SAUER:
       19                   Q.   And here's an e-mail from Lauren
       20       Protentis to people at Facebook and CISA, that
       21       refers to the prep USG industry called monthly,
       22       in the subject line; correct?
       23                   A.   Yes, correct.
       24                   Q.   And I think you testified earlier
       25       that Facebook was kind of the point for the



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        1       industry.        And so there would be a preparatory
        2       meetings between CISA and Facebook to kind of
        3       set the agenda for the big monthly meeting that
        4       involved all the platforms and at least four
        5       agencies; right?
        6                   A.    That's correct, yeah.
        7                   Q.    Okay.    Here it says, among other
        8       things, industry prompts, themes, narratives,
        9       approaches you anticipate for races you think
       10       will be targeted, right, is number two?
       11                   A.    Yes.
       12                   Q.    Okay.    What's that talking about,
       13       are they asking that industry to report back on
       14       what themes and narratives on social media they
       15       anticipate may happen in certain election races?
       16                   A.    So I'm not -- I'm not sure what,
       17       specifically, they were talking about here.
       18       It's possible they were trying to understand if
       19       they were particularly they were being targeted
       20       by foreign actors, but I don't know, that's --
       21                   Q.    How about themes and narratives?
       22                   A.    Yeah, I think that would be
       23       pretty --
       24                   Q.    Go ahead.
       25                   A.    I think that would be the same kind



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        1       of idea.         Again, as I mentioned earlier, in a
        2       lot of these calls the intelligence community
        3       would provide kind of high-level assessments of
        4       unclassified reporting that they had done.
        5                   Q.      What does industry prompts mean?
        6                   A.      Generally speaking, it would be the
        7       questions that industry had for government.
        8                   Q.      So industry --
        9                   A.      For --
       10                   Q.      Go ahead.
       11                   A.      Actually, let me rephrase.      Sorry.
       12                           I think in this case it's --
       13       it's -- I'm not sure, that's how I would have
       14       interpreted it, but based on where it is in the
       15       agenda I'm not sure that's what Warren meant.
       16                   Q.      In other words, these questions of
       17       government for industry say, hey, social media
       18       platforms tell us what themes, narratives,
       19       approaches you're anticipating for the upcoming
       20       election?
       21                   A.      No, my -- my interpretation of this
       22       is that it's industry questions for government,
       23       because the government portion of the agenda.
       24       So industry, if possible, would like to hear
       25       government's perspective on these questions.



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        1                   Q.   Did government share that with the
        2       social media platforms in these meetings?             Did,
        3       you know, the federal agencies talk about what
        4       themes and narratives and approaches they
        5       anticipated on social media for election races?
        6                        MR. GARDNER:     Objection, compound.
        7                        THE WITNESS:     Yeah, can you just
        8       kind of break that question down for me?
        9    BY MR. SAUER:
       10                   Q.   In the actual meetings did the
       11       federal agencies provide information to the
       12       social media platforms about the themes and
       13       narratives they anticipated seeing on social
       14       media for particular races, election races?
       15                   A.   I don't think it was ever broken
       16       down by particular races.         I think there were --
       17       again, there was intelligence.           If there's
       18       intelligence that was unclassified they could be
       19       shared about, targets and things like that, the
       20       intelligence community would share that.
       21                        But generally speaking, I don't
       22       think that we would necessary get down to the
       23       individual race level, but again, I'm not -- I
       24       don't have a memory of every specific item that
       25       was discussed.



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        1                   Q.   How about do you remember themes
        2       and narratives being discussed, like, hey, we
        3       expect people to be, you know, talking about --
        4       expect, you know, social media postings to
        5       reflect this theme or that narrative?
        6                   A.   So I think there are two components
        7       to this one.     I believe there are some
        8       discussion about would we have seen historically
        9       in the past, and may see going forward.             So --
       10       so I believe there might have been some
       11       discussion around that.
       12                        And then if -- again, if the intel
       13       communities had reporting talked about foreign
       14       actor efforts, they would share those.
       15                        I don't recall, specifically, what
       16       was discussed.      So I -- I don't know if -- what
       17       level of detail, if any, they got down to in
       18       those conversations.
       19                        And I'm not even -- to be honest,
       20       I'm not even sure if I attended this meeting.               I
       21       think I either just got back from my detail or
       22       it was right before I got back to my detail, so
       23       I'm not sure I attended this one.
       24                   Q.   I'm going to share Exhibit 17.
       25                   A.   Okay.



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        1                   Q.   And this is a collection of
        2       e-mails, again.
        3                        Here on the first page, in April of
        4       2022, this year, Lauren Protentis is sharing the
        5       agenda for one of these USG sync meetings.             And,
        6       among other things, she says:            One-pager
        7       reminder; do you know what she's talking about?
        8                   A.   Yeah, she -- we had asked industry
        9       to provide a one-page summary of their content
       10       moderation rules that we could share with
       11       election officials.
       12                   Q.   What's the purpose of that, a
       13       one-page summary of their content moderation
       14       rules?
       15                   A.   So we -- we would receive a lot of
       16       questions from election officials about how
       17       different platforms made decisions about their
       18       terms of service.       And we thought this was a way
       19       to help the platforms be more transparent with
       20       election officials.       So we asked them to just
       21       put together kind of a one-page summary.
       22                   Q.   A one-page summary of basically
       23       what their content moderation policies were as
       24       applies to election misinformation?
       25                   A.   Yeah, that we could share with



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        1       election officials.
        2                   Q.   I take it, then, the election
        3       officials when they see something on social
        4       media that they view as disinformation or
        5       misinformation would be educated on whether or
        6       not it violates that platform's policy; is that
        7       right?
        8                   A.   I'm not sure that was the full
        9       expectation, but I think it was just to try to
       10       provide some transparency and some understanding
       11       of how the platforms make a decision.
       12                   Q.   And why is it useful?       I take it
       13       this was your idea, CISA's idea, not -- it
       14       wasn't something that the election officials
       15       have asked for?
       16                   A.   To be honest, it asks of maybe
       17       before I returned, so I'm not entirely certain,
       18       but I suspect it was some combination of
       19       election officials asking.         We got a lot of
       20       questions over the years about that, and us
       21       just, you know, raising it with the platforms
       22       the way they're trying to help the election
       23       officials.
       24                   Q.   Jumping ahead, 15743, should be on
       25       the 7th page of the PDF, there's a discussion in



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        1       the April --
        2                        MR. GARDNER:     Are you at that now?
        3                        THE WITNESS:     Sorry, I just
        4       accidentally got out.        I'm going to the page.        I
        5       think I'm there.
        6    BY MR. SAUER:
        7                   Q.   There's a discussion, a bullet
        8       point in the agenda for the August 2020 USG
        9       industry meeting of election-day coordination.
       10                        Do you know what -- what that was
       11       discussed under that?
       12                   A.   Yeah, and just to be clear, you
       13       know, we just jumped from 2022 back to 2020;
       14       right?
       15                   Q.   Yeah.
       16                   A.   Okay.   Yeah, so CISA regularly set
       17       up an operation center on election day, around
       18       the election.      And the platforms and some of the
       19       other agencies do the same.         But I think it was
       20       just a conversation about how all the different
       21       organizations were going to be managing on
       22       election day.
       23                   Q.   What is the nature of a -- what is
       24       CISA's election day operation do, does it
       25       receive disinformation reports?



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        1                   A.    It's more of a -- so just taking a
        2       step back, right, essentially what CISA does is
        3       it invites key stakeholders to CISA to
        4       facilitate information sharing about what's
        5       going on within the elections.
        6                         Most of it is cyber related, but
        7       the NAV and NAFTA that we talked about earlier
        8       were there, and so if they heard reporting up
        9       through their members, they might mention it.
       10                         Generally speaking, you might
       11       have -- in 2020 it was a little different,
       12       because of COVID.        But generally speaking, we
       13       would have somebody from our team there who we
       14       would have a team kind of working on the chats.
       15                         And so the switchboard reporting
       16       might come in and in 2018, for example, our guy
       17       was sitting in the room, in 2020 I think I was
       18       the only one in the room, maybe one other from
       19       our team.        And then they would -- you know, so
       20       that's -- I don't know if that helps clarify.              I
       21       think I just talked in mode right there.
       22                   Q.    When you say in the room, is there,
       23       like, a physical location where CISA and NASED
       24       and NASS and social media platforms all have
       25       people or what room are we talking about?



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        1                   A.   Yeah, so in 2020, CISA had a room
        2       where we had some of our stakeholders attend in
        3       person.      I don't have a full list of who was
        4       there.      It was obviously not substantial, due to
        5       COVID restrictions.        But we would have federal
        6       partners, and we have NASS and NASED there.
        7                        I don't know who else was there,
        8       but I believe there was a couple other, you
        9       know, maybe election security vendors, folks
       10       like that, just to facilitate information
       11       sharing in case an incident occurred.
       12                   Q.   Who were the federal partners?
       13                   A.   I don't -- I don't believe in 2020
       14       we had too many in the room, but CISA's watch
       15       center operations for CISA central I talked
       16       about earlier, they're our liaisons for many of
       17       the different agencies, and then we had
       18       connectivity with FBI, DOJ, NEI, I&A, things
       19       like that.       Again, 2020 all you need due to the
       20       pandemic.
       21                   Q.   And part of what happens in this
       22       election-day operation is that NASED and NASS
       23       may receive misinformation reports from their
       24       members and report them up to you guys; right?
       25                   A.   Generally speaking, it would --



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        1       they would handle them themselves, with the
        2       platforms, but I'm sure there were examples of
        3       where they sent it to us.
        4                   Q.      And then would you guys perform the
        5       same misinformation routing function and pass
        6       that along to the platforms?
        7                   A.      Yeah, correct.
        8                   Q.      Okay.   This happened again in 2022,
        9       was there an election-day operation?
       10                   A.      It was an election operation center
       11       in 2022.         We didn't do switchboarding in 2022,
       12       as we discussed earlier.
       13                   Q.      You say you didn't do
       14       switchboarding in 2022, did you relay --
       15                   A.      Correct.
       16                   Q.      -- misinformation or disinformation
       17       concerns to social media platforms at any time
       18       during the 2022 election cycle?
       19                   A.      Not that I recall, no.
       20                   Q.      How did the state and local
       21       election officials relay those concerns to the
       22       social media platforms, did they do a --
       23                   A.      Yeah, my understanding was
       24       two-fold, one, I think some of the platforms
       25       developed a little more robust infrastructure to



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        1       engage with election officials, themselves.              And
        2       then I also believe that CIS was up and running,
        3       but I'm not certain what -- kind of how it all
        4       worked.
        5                   Q.   So you believed that CIS continued
        6       to receive disinformation/misinformation reports
        7       from state and local election officials during
        8       the 2022 election cycle, and relay them directly
        9       to social media platforms?
       10                   A.   Yeah, I'm speculating a bit on
       11       that, because I'm not particularly familiar with
       12       what they actually did in 2020, but that was the
       13       general understanding I had.
       14                   Q.   Did they copy you on those reports,
       15       like they were doing in 2020?
       16                   A.   They were not, no.
       17                   Q.   Why not?    Did you tell them not to?
       18       Did you say:     Don't copy us on these or did they
       19       just stop?
       20                   A.   Yeah, we discussed earlier, CISA
       21       didn't -- was not doing switchboarding in 2022,
       22       so there's no reason for them to copy us.
       23                   Q.   And did you tell --
       24                   A.   But I --
       25                   Q.   Go ahead.



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        1                   A.   So I didn't have a conversation,
        2       myself, with CIS about it, so I'm not sure who
        3       told them not to do it.
        4                   Q.   Turning back to the 2022 election
        5       day operation, was that another case where CISA,
        6       NASED, NASS, and other federal agencies all had
        7       representatives in one room?
        8                   A.   I -- I think there was some federal
        9       representative there, like I said, most of that
       10       would -- would be in the ops center.            There were
       11       other nongovernment partners there, like -- like
       12       I said, like the -- the vendors, election
       13       security, election system vendors and folks like
       14       that.
       15                   Q.   What -- what's the ops center?
       16                   A.   That's essential, that's kind of
       17       the 24/7 situational awareness that CISA runs.
       18       And my understanding is that it has liaisons
       19       from across the federal agencies.
       20                   Q.   And were you there at the -- at the
       21       ops center in 2022 election day?
       22                   A.   So the room we would be in would be
       23       a separate room.      We wouldn't actually be on the
       24       ops center floor.       We called it a situational
       25       awareness room.



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        1                   Q.   On election -- were you there?
        2                   A.   I was in the situational awareness
        3       room on election day in 2022, yep.
        4                   Q.   Any misinformation or
        5       disinformation concerns arise on election day in
        6       2022?
        7                   A.   I don't think there was too much.
        8       I'm not recalling specific incidents.            I would
        9       imagine the two were, but I don't think there
       10       was very much, if there was.
       11                   Q.   What happened?
       12                   A.   I'm sorry, that's not very clear.
       13                        I just don't recall if there's
       14       anything specific.       I have a general sense that
       15       there were a couple of items, but I don't think
       16       there was very much.
       17                   Q.   What happened to the ones that did
       18       occur or that did arise, did they get routed to
       19       different platforms?
       20                   A.   No, I think it -- no, if any of
       21       those were mentioned, I think it was just in
       22       general conversation of what might be happening,
       23       but we didn't have anything on social media
       24       platforms.
       25                   Q.   Did NASED and NASS route things to



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        1       social media platforms?
        2                   A.      I don't -- I don't know for
        3       certain.         I would -- I would guess they did.
        4                   Q.      Jumping ahead in Exhibit 17, page
        5       14545, it's page 12 of the PDF, and here's an
        6       agenda from one of these sync meetings from July
        7       of 2022; do you see that?
        8                   A.      Is it 14545?
        9                   Q.      Yeah, page 12 of the PDF.
       10                   A.      Just making sure.       Sorry, it's
       11       weird how it shows the pages here.              Yeah, okay.
       12       Yep.
       13                   Q.      And then Lauren Protentis, here, is
       14       circulating an agenda for a sync meeting;
       15       correct?
       16                   A.      This looks like it's for a prep
       17       meeting.
       18                   Q.      Prep meeting?     Okay.
       19                           And then here in item four, it
       20       says:    CISA elections infrastructure risks,
       21       Scully; correct?
       22                   A.      Yep.
       23                   Q.      So is that referring to the plan
       24       that you -- and do you have a briefing on
       25       election infrastructure risks at the big sync



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        1       meeting?
        2                   A.   Yeah, I believe normally Geoff Hale
        3       would do that, I believe this meeting Geoff was
        4       going to be unavailable, so they asked me to
        5       cover the election infrastructure portion of the
        6       agenda.
        7                   Q.   Now, what you said about them, what
        8       does that mean, election infrastructure risks,
        9       does that refer to informational infrastructure?
       10                   A.   No, that's -- again, that's kind of
       11       the broader understanding of how elections
       12       function, so the systems, physical security,
       13       things like that.        It would just be an update on
       14       kind of where things stand across kind of the
       15       broader election infrastructure community.
       16                   Q.   Below that, item six, it says:
       17       FBI, domestic, adversarial actor update, down
       18       below; do you see that?
       19                   A.   I do.
       20                   Q.   Do you recall Laura Dehmlow giving
       21       a briefing at that meeting you were at about a
       22       domestic adversarial actor?
       23                   A.   I don't, and I -- I -- if I recall
       24       correctly, and I don't know if you have the
       25       actual agenda for the meeting, I think the --



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        1       that changed.
        2                   Q.   Oh, you don't think she gave
        3       that -- that -- that briefing?
        4                   A.   I don't believe so, no.
        5                   Q.   What kind of domestic adversarial
        6       actors is the FBI's foreign influence task force
        7       concerned about?
        8                   A.   I don't know.
        9                   Q.   Let's jump ahead to page 7599.
       10                        MR. GARDNER:     John, before we go
       11       on, we've been going about two hours, again.              I
       12       think now would probably be a good time for a
       13       break.
       14                        MR. SAUER:     I just got a few more
       15       questions about this document.           Can you keep
       16       going for a couple more minutes.
       17                        MR. GARDNER:     Sure, we can do that.
       18    BY MR. SAUER:
       19                   Q.   Let's just -- here, 7599.
       20                   A.   What page are we on?
       21                   Q.   That is page 16 of the PDF?
       22                   A.   Okay.
       23                   Q.   Do you see here on the bottom half
       24       of the page, on July 1st, 2020, Facebook sends
       25       e-mail to you and Matt Masterson, Matt and



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        1       Brian, thank you so much for the outreach on our
        2       next sync; right?
        3                   A.   Yep.
        4                   Q.   And then she gives a proposed
        5       agenda for a meeting that she proposes having on
        6       July 15th of 2020; correct?
        7                   A.   Yes.
        8                   Q.   And then, in that agenda, there's
        9       an item here, under number two, that says:
       10       Hack/leak and USG attribution speed/process; do
       11       you see that?
       12                   A.   Yep.
       13                   Q.   What was that referring to?
       14                   A.   I -- I don't recall.       You know, I
       15       would have to speculate based on what it says
       16       here.
       17                   Q.   So you don't remember hack/leak
       18       being put on the agenda for one of these
       19       meetings?
       20                   A.   Again, as I said earlier, I don't
       21       remember all the agenda items on the meetings or
       22       specific discussion points.         But I'm not
       23       surprised that it's on here, no.
       24                   Q.   Do you know why Facebook would have
       25       put that on?



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        1                        MR. GARDNER:     Objection, calls for
        2       speculation.
        3    BY MR. SAUER:
        4                   Q.   If you know.
        5                   A.   I don't know.
        6                   Q.   And then what is --
        7                   A.   I mean, again --
        8                   Q.   Go ahead.
        9                   A.   Sorry, just as I said, you know, a
       10       few times, right, it's not surprising, it was a
       11       common tactic that was used globally.            But I
       12       don't know why they -- if there was a specific
       13       reason that they put it on here.
       14                   Q.   What -- how about that, in the
       15       second half of that line, USG attribution
       16       speed/process; right?        Do you know what that
       17       means?
       18                   A.   I don't, CISA doesn't do
       19       attributions, so I'm not sure what that could be
       20       related to.
       21                   Q.   Attribution, when you say CISA does
       22       not do attribution, what does that mean?
       23                   A.   Well, the way I would look at
       24       attribution would be attributing specific actors
       25       to something.



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        1                   Q.    That was --
        2                   A.    In the MDM context CISA does not do
        3       attribution.
        4                   Q.    So attribution is figuring out who
        5       is the actual source of the social media
        6       posting?
        7                   A.    I mean, if you're talking about a
        8       social media posting, that would be attribution.
        9       If you're talking about hack and leak, I assume
       10       that would be known as the attribution to who
       11       the hacker and leaker was.
       12                   Q.    So this, then, could be a
       13       discussion of -- you know -- and by the way,
       14       this is listed there under 40 minutes deep dive
       15       topics; right?
       16                   A.    Mm-hmm.
       17                   Q.    Do you know if you participated in
       18       that July 15th, 2020 meeting?
       19                   A.    I would imagine I did, but I -- you
       20       know, I would have to go back and look at my
       21       calendar.        I don't know for certain.
       22                   Q.    You don't know -- sorry.
       23                         You don't know about whether there
       24       was a deep dive on hack/leak and USG
       25       attributions, the process?



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        1                   A.   I don't know for certain.        I mean,
        2       I would have to go back.         Do you have the actual
        3       agenda that we used for the meeting or just the
        4       proposed one by -- by Facebook?
        5                   Q.   No, let me ask you this:        I take it
        6       you -- you interpret, in the context of hack and
        7       leak, USG attribution, USG is United States
        8       government; right?
        9                   A.   Yeah, that's what I would assume it
       10       is.
       11                   Q.   Attribution, I take it, is having
       12       the USG, the government, figure out who did the
       13       hack and the leak; right?         That's what
       14       attribution means in this context?
       15                   A.   Assuming I was connected to hack
       16       and leak, I obviously don't know what this is
       17       specifically referring to, but if I were reading
       18       that bullet point that's how I would read it,
       19       that the attribution was USG attributing a hack
       20       and leak.
       21                   Q.   Okay.   And then the question is
       22       how -- how fast speed and how USG would go about
       23       doing it; right, speed/process?
       24                   A.   Again, that's what the agenda says.
       25       I don't know exactly what that means.



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        1                       MR. SAUER:     Let's take a break
        2       there.
        3                       MR. GARDNER:      10 minutes good?
        4                       MR. SAUER:     Yeah.     How long have we
        5       been on the record.
        6                       THE VIDEOGRAPHER:        The time is now
        7       3:34 p.m.     We are off the record.
        8                       (Recess.)
        9                       THE VIDEOGRAPHER:        The time is now
       10       3:50.    We are back on the record.
       11                       MR. SAUER:     Before we go back to
       12       questioning, I'm formally requesting, on the
       13       record, a supplementation of the document
       14       production directed to CISA custodians.             If you
       15       look at those pages where the key custodians are
       16       disclosed, we've had testimony today that that
       17       list of custodians at ESI should have been
       18       searched, should have included the five names
       19       that the witness has testified to today, Chad
       20       Josiah, Rob Schaul, Adam Zaheer, John Stafford
       21       and Pierce Lowary.
       22                       And, in fact, I think it's
       23       astonishing that four of those names are
       24       specifically identified as copied on e-mails
       25       from the key custodians, but whose ESI was not



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        1       searched.
        2                           So I request supplementation by
        3       tomorrow, which is the close of fact discovery.
        4       We were entitled to that going back to August.
        5       And this is the first time we've heard about
        6       this, one day before the close of discovery.
        7                           So I'm asking for those e-mails
        8       from those custodians, including their
        9       communications with social media platforms, and
       10       it now appears there were communications with
       11       the EIP, potentially, those be produced by
       12       tomorrow.
       13                           MR. GARDNER:     I understand your
       14       request.         We'll take it back.
       15                           MR. SAUER:     Thanks.
       16                           (Exhibit No. 18 was marked for
       17       identification.)
       18    BY MR. SAUER:
       19                   Q.      Let's go to Exhibit 18, it should
       20       be in your e-mail.
       21                           MR. GARDNER:     Yeah, hold on one
       22       second.
       23    BY MR. SAUER:
       24                   Q.      This document is another one of
       25       these collective exhibits of a bunch of CISA



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        1       e-mails involving you.
        2                        If you look at the first page, in
        3       the middle, here, it indicates there's reporting
        4       that you are forwarding from the state
        5       department's global engagement centers about
        6       disinformation on YouTube, and you're forwarding
        7       it onto -- to social media platform; do you see
        8       that?
        9                   A.   Yes.
       10                   Q.   Yeah.   Let me ask this:       What role
       11       does the state department's global engagement
       12       center have in addressing misinformation and
       13       disinformation on social media?
       14                   A.   I don't know what the specific
       15       authorities are.
       16                   Q.   Do you know what they do,
       17       generally?
       18                   A.   Yeah, but also, just to be clear,
       19       that this e-mail is regarding a State Department
       20       employee that was targeted overseas, I believe.
       21       So I -- to answer your -- to answer your
       22       question, I believe they -- they have a mandate
       23       to deal with information operations overseas.
       24                   Q.   Do you interact with them, at all,
       25       in your MDM team activities?



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        1                   A.   Yes.
        2                   Q.   How do you interact with them?
        3                   A.   In a couple ways.       So one, they do
        4       a lot of reporting on what they're seeing
        5       overseas, particularly as it relates to actions.
        6       So it's a good source of understanding tactics
        7       and things like that, that are occurring
        8       overseas.
        9                        We often see what happens overseas
       10       end up showing up domestically.          So it's a good
       11       source of information for that.
       12                        They also have a tech demo program
       13       that they run, where they bring in different
       14       tech companies that work in the information
       15       operations space.       So we'll go -- we have
       16       members of the team that will go and watch some
       17       of the demo.
       18                        So I think those are the two main
       19       ones.    We -- trying to think if there's others.
       20                   Q.   Do you know George Beebe,
       21       B-e-e-b-e?
       22                   A.   Do I know George?       I'm sorry, could
       23       you spell that again?
       24                   Q.   B-e-e-b-e.
       25                   A.   The name does not sound familiar.



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        1                   Q.   Do you know if the GEC was involved
        2       in the Election Integrity Partnership in any
        3       way?
        4                   A.   I don't.    I know you showed me a
        5       document earlier, that they were listed, but I
        6       don't know what they did.
        7                   Q.   Okay.   Second page, here, where
        8       this lists information report, you said -- it
        9       indicates, in the last sentence there, the
       10       journalist tells me there's a YouTube channel
       11       run by Americans falsely claiming that this
       12       diplomatic officer is patient zero for COVID-19;
       13       correct?
       14                   A.   I'm sorry, what page are you on?
       15                   Q.   Second page of the PDF.
       16                   A.   Okay.   Yes, that's what the e-mail
       17       says.
       18                   Q.   So you said -- well, maybe
       19       overseas, it looks like the thing they're
       20       challenging is something posted by Americans;
       21       correct?
       22                   A.   I -- I don't know.      I mean, that's
       23       just a YouTube channel run by Americans, that's
       24       what they say, yeah.
       25                   Q.   You forward this onto him; right?



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        1                   A.   I believe that's true, yes.
        2                   Q.   Scrolling down to page 10718 -- by
        3       the way, did you flag these accounts?            If you
        4       look here on the 11th page of the PDF for a
        5       section --
        6                   A.   Sorry, page 11 of the PDF?
        7                   Q.   Yeah, here there's a screen shot of
        8       unofficialcogov, and the Twitter handle, says:
        9       DM us your weed store location, open
       10       parentheses, hoes be mad, but this is a parody
       11       account; correct?
       12                   A.   It appears I forwarded it to
       13       Twitter, yes.
       14                   Q.   Okay.   And then that was the only
       15       one, and the next page there's one you forwarded
       16       to Twitter that says:        Smoke, weed, erry day, I
       17       think they mean every day.         The official
       18       (unofficial) Twitter account of the State of
       19       Colorado; right?
       20                   A.   Yeah, it seems to be part of the
       21       same e-mail in Colorado.
       22                   Q.   Those two accounts you forwarded to
       23       Twitter, you forward those to Twitter for
       24       consideration; correct?
       25                   A.   Yeah.



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        1                   Q.    And then, sorry, moving back a
        2       little bit of the document, I apologize, on the
        3       9th page there's an e-mail on September 25th of
        4       2020, from you to Twitter, saying, good morning,
        5       do you all have five minutes for a quick call
        6       today.      I'd like to give you a quick update on
        7       our reporting process this year.            Do you know
        8       what that was about?
        9                   A.    I don't --
       10                   Q.    It looks like --
       11                   A.    -- know specifically what it's
       12       about, no.
       13                   Q.    It looks like the specific subject
       14       you mentioned was:        Election disinfo reporting;
       15       correct?
       16                   A.    Let me scroll down.       Do you have
       17       the rest of the e-mail chain?             Obviously it
       18       appears to be a reply to something.             Am I
       19       missing something, here?
       20                   Q.    Well, this is all we've got.           It
       21       says --
       22                   A.    Oh, there's no -- there's no
       23       header, again.
       24                   Q.    But -- but Twitter's response to
       25       you, says:       Re:   Election disinfo reporting?



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        1                   A.   Yeah.
        2                   Q.   Okay.    Do you know -- do you
        3       remember having a call with them about your
        4       process reporting election disinformation on
        5       that date?
        6                   A.   I don't.
        7                   Q.   Next page, 9703, tenth page of the
        8       PDF, there's an e-mail from Twitter to you and
        9       Matt Masterson, in September of 2020, where it
       10       says:     Hi Matthew and Brian, hope you're doing
       11       very well.       We want to give you an update today.
       12       We're updating our civic integrity policy.             Our
       13       existing policy does such and such, and it says,
       14       starting next week we will label or remove false
       15       or misleading information intended to undermine
       16       public confidence in an election or other civic
       17       process; right?
       18                   A.   Yep.
       19                   Q.   Do you know why they gave you this
       20       report?
       21                        MR. GARDNER:      Objection, calls for
       22       speculation.
       23                   A.   Yeah, I don't know why they
       24       specifically -- it looks like there's ways to
       25       public information about it, so as I mentioned



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        1       earlier, sometimes they would -- they're putting
        2       things out publicly they would just give us a
        3       heads up.
        4                   Q.   Now, have you ever asked them to
        5       give you a heads up or Matt Masterson ask them
        6       to give you a heads up about changes in their
        7       content moderation policies?
        8                   A.   Not that I recall.
        9                   Q.   Page 8519, sorry, I'm in the wrong
       10       spot on the document.
       11                        Let me ask you this:       Do you
       12       remember sharing a -- with Facebook, a
       13       disinformation report about CISA and Director
       14       Krebs, does that ring a bell, where the
       15       disinformation was disinformation about your own
       16       agency?
       17                   A.   I don't recall that, specifically,
       18       no.
       19                   Q.   Here it is, 19th page of the PDF.
       20                   A.   19?
       21                   Q.   Yeah, page 19 of the PDF.
       22                   A.   Okay.
       23                   Q.   And it says:     Good afternoon -- you
       24       sent an e-mail on November 5th of 2020 to
       25       Facebook, saying, good afternoon Facebook,



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        1       wanted to share this disinfo report about CISA
        2       and Director Krebs; do you know what that was
        3       about?
        4                   A.   I don't.
        5                   Q.   And your second --
        6                   A.   I don't recall.
        7                   Q.   The second line says:       IG disinfo
        8       report; do you know what IG means?
        9                   A.   It appears, based on the link in
       10       the e-mail, that it was referring to Instagram.
       11                   Q.   By you don't remember -- you don't
       12       remember a specific -- anything specific
       13       relating to Director Krebs, do you?
       14                   A.   No, I don't.
       15                   Q.   Let's scroll ahead a few pages, to
       16       10394.
       17                        Well, let me ask this:       Do you
       18       remember disinformation about Director Krebs
       19       circulating in that timeframe, just after the
       20       2020 election?
       21                   A.   I recall that he was named on an
       22       Iranian-driven enemies of the people list.
       23       Beyond that, I don't -- I don't recall any other
       24       specific MDM related to the director, no.
       25                   Q.   Okay.   Scroll down to the 22nd page



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        1       of the PDF.
        2                   A.   Okay.   Okay.
        3                   Q.   Do you see here, you sent an e-mail
        4       to Facebook on November 10th, 2020, saying:
        5       Good morning, Director Krebs is particularly
        6       concerned about the hammer and scorecard
        7       narrative that is making the rounds; do you see
        8       that?
        9                   A.   Yep.
       10                   Q.   Do you know what that was, the
       11       hammer and scorecard narrative?
       12                   A.   If I remember correctly, it was
       13       something about the NSA, and maybe a different
       14       federal agency, conspiring to change votes or
       15       something along those lines.          Like there's new
       16       technology that the NSA developed.           I forget the
       17       specifics of the narrative, itself, but it's
       18       something along those lines.
       19                   Q.   So this is a narrative on social
       20       media suggesting that the federal government is
       21       engaging in intellectual or sort of election
       22       interference in some way?
       23                   A.   I think it could have been social
       24       media, it could have been other media.            I'm not
       25       sure what I was referring to when I said making



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        1       the rounds.      I don't recall.
        2                   Q.   Okay.    Well, your next sentence
        3       says:    Wanted to see if you all, meaning
        4       Facebook, have been tracking this narrative and
        5       if there's anything you can share around
        6       amplification; right?
        7                   A.   Yep.
        8                   Q.   What does amplification mean?
        9                   A.   If a particular narrative is being
       10       amplified.
       11                   Q.   So, in other words, you wanted to
       12       know -- you're asking Facebook to tell you
       13       whether or not that narrative is being amplified
       14       on its platform?
       15                   A.   Correct.    That's how I read that,
       16       yeah.
       17                   Q.   Okay.    And then Facebook responds
       18       by saying:       Our teams are actively -- actively
       19       monitoring developments on this at this time and
       20       to the extent you or USG have information about
       21       confirmed misinformation or other information of
       22       note, we absolutely welcome that; correct?
       23                   A.   Yep, that's what they wrote.
       24                   Q.   And they follow up by saying:
       25       Wanted to follow up on the below to say that our



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        1       teams have confirmed that we have third-party
        2       fact checker verification that the "hammer and
        3       scorecard" narrative is false; right?
        4                   A.   Yes, that's what they say.
        5                   Q.   And they go on to report to you:
        6       Our systems are labeling and downranking the
        7       contents as identified; correct?
        8                   A.   Yes.
        9                   Q.   Is that consistent with other
       10       e-mails, where they report back to you on how
       11       they've taken action against a content that you
       12       have flagged?
       13                   A.   Yeah, generally consistent, I
       14       think.
       15                   Q.   Let's jump ahead to the 10390, that
       16       is going to be page 24 of the PDF, and here at
       17       the bottom of the page you sent the very same
       18       e-mail to Twitter, as well; right?
       19                   A.   Yep.
       20                   Q.   Director Krebs is very concerned
       21       about the hammer and scorecard narrative, and
       22       I'm wondering if you have been tracking this
       23       one, if there's anything you can share in terms
       24       of sharing and amplification; correct?
       25                   A.   Yeah, that's what I wrote.



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        1                   Q.   The usual context says:        We have
        2       been tracking this issue.         I will allow Yoel to
        3       follow up with detailed information; right?
        4                   A.   Yes.
        5                   Q.   And that's Yoel Roth; right?
        6                   A.   I believe so, yeah, that's -- let's
        7       see, yep.
        8                   Q.   He was then the chief content
        9       modulation officer for Twitter, right, ahead of
       10       their trust and safety team?
       11                   A.   I don't recall what his title was,
       12       but he certainly was in charge of some trust and
       13       safety, safety stuff.
       14                   Q.   Trust and safety, that means
       15       enforcing content moderation policies; right?
       16                   A.   I suspect that's one of the
       17       responsibilities.
       18                   Q.   He comes back to you with a kind of
       19       detailed report here at the top of the page
       20       about what Twitter's been doing on this, he
       21       says, we've been tracking the hammer/scorecard
       22       issue closely, particularly since Director
       23       Krebs's tweet on the subject, which is pretty
       24       unambiguous as debunks go; correct?
       25                   A.   That's what he wrote, yeah.



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        1                   Q.   Do you recall Director Krebs
        2       debunking this in a tweet?
        3                   A.   I suspect, and I keep on, let me
        4       just add, I don't recall Director Krebs'
        5       specific tweet.        Two, its possible, as part of
        6       our universe reality page, and Director Krebs
        7       would put a new item up on our universe reality
        8       page, he would tweet out the new universe
        9       reality entry, but I'm not aware of the specific
       10       tweet, but that would be my guess as to what was
       11       going on.
       12                   Q.   Were you aware that the social
       13       media platforms were following the rumor page
       14       posted by CISA and using that as a debunking
       15       method for content on their platforms?
       16                   A.   We had a sense they were doing
       17       that, yeah.
       18                   Q.   And that's kind of the point of it,
       19       right, the point of the rumor page is to debunk
       20       things; right?
       21                   A.   No.     The point of the page is just
       22       to provide accurate information about rumors
       23       that we were hearing.
       24                   Q.   Okay.    You were aware, I think you
       25       just said, that the social media platforms, like



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        1       Twitter, were following the page and using it to
        2       fact check, essentially, things that people were
        3       posting on their platforms?
        4                   A.      Yeah.   So the platforms are looking
        5       for a place to get accurate information about
        6       different things that they were seeing on their
        7       platforms.         And I know some of them used the
        8       universe reality page to do that.
        9                   Q.      And, in fact, this e-mail indicates
       10       that they used it to debunk the hammer/scorecard
       11       narrative, if the tweet that Director Krebs did
       12       refers to the rumor page; correct?
       13                   A.      I'm sorry, could you repeat the
       14       question?
       15                   Q.      Actually, let's move on to the page
       16       8625, it's a couple pages down, on page 27 of
       17       the PDF.         Here you're flagging, on Friday,
       18       November 13th of 2020, you've been flagging a
       19       tweet for Twitter.          And at one point you say, at
       20       11:26 p.m. on a Friday night, you e-mail Twitter
       21       and say:         Some Friday night fun for the two of
       22       us, hope you are well; right?
       23                   A.      Yeah.
       24                   Q.      So you were forwarding and routing
       25       disinformation concerns to social media



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        1       platforms near midnight on a Friday?
        2                   A.   It appears so.
        3                   Q.   And they were responding in
        4       realtime, for example, 7 minutes later, at 11:33
        5       p.m., Twitter's responding to you late on a
        6       Friday night; correct?
        7                   A.   Yeah.
        8                   Q.   And she says, among other things,
        9       we have labeled so many tweets tonight, so I'm
       10       afraid that the answer is there isn't any
       11       tonight; correct?
       12                   A.   I'm sorry, what are you asking?
       13                   Q.   Directly above, she said:        We've
       14       labeled so many tweets tonight that it isn't
       15       ending tonight; correct?
       16                   A.   We have labeled so many tweets
       17       tonight, so I am afraid that for now the answer
       18       is that it isn't ending tonight?
       19                   Q.   Right.
       20                   A.   Yes, that's what she wrote.
       21                   Q.   This is based on an exchange a
       22       little lower down, that you flagged something on
       23       Dominion machines for her, at 11:20 p.m.             And
       24       she responded at 11:21 p.m., within one minute,
       25       saying, thanks, Brian, we will escalate;



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        1       correct?
        2                   A.   Yep, that's what the timestamps
        3       say.
        4                   Q.   Were you getting -- you were kind
        5       of reporting misinformation on social media late
        6       at night to social media platforms during this
        7       timeframe?
        8                   A.   I accidently closed -- that's page
        9       24?
       10                   Q.   Yeah.
       11                   A.   Sorry.     Yeah, as I said, if I were
       12       on my phone, and I saw something come in, I
       13       would push it along.
       14                   Q.   Jump ahead to -- and was it common
       15       for Twitter or Facebook or other platforms to
       16       respond almost immediately, even near midnight
       17       on a Friday?
       18                   A.   I mean, it's hard to say common.          I
       19       know it happened.         They were generally pretty
       20       responsive.      Common's a pretty loose term so,
       21       you know, I don't know how to respond to that.
       22                   Q.   But you say they were generally
       23       responsive, and that includes prompt in their
       24       responses to you?
       25                   A.   Correct.     Right.     So they were



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        1       prompt in letting me know that they had received
        2       any e-mail that I sent them, that's essentially
        3       what I was talking about.
        4                   Q.   Let's go to 8557, it's page 42 of
        5       the PDF.
        6                   A.   42?    Okay.
        7                   Q.   Here it looks like Facebook is
        8       e-mailing Lauren Protentis and saying that:              I
        9       wanted to share our account security doc that
       10       we've been working on, and we're grateful for
       11       any feedback; right?
       12                   A.   Yep.
       13                   Q.   Do you know what account security
       14       document they're talking about, here in April
       15       15th of 2022?
       16                        MR. GARDNER:     Objection, calls for
       17       speculation.
       18                   A.   Yeah, I don't know what specific
       19       documents they're talking about.
       20                   Q.   Is it possible this is the
       21       one-pager that we were talking about earlier,
       22       does that ring a bell?
       23                        MR. GARDNER:     Objection, calls --
       24       objection, calls for speculation.
       25                   A.   Yeah, I don't -- I don't -- I don't



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        1       know.
        2                   Q.   Okay.   Next page, Lauren Protentis,
        3       thanks so much for sending, this looks great.
        4       The only thing I recommend is any steps for
        5       flagging or escalating MDM content, if possible;
        6       right?
        7                   A.   Yeah, that's what Lauren said.
        8                   Q.   And she said:     I think then that
        9       this -- I think, then, that would make this a
       10       comprehensive product on both the critical needs
       11       of officials, account security, and MDM
       12       concerns; correct?
       13                   A.   Yeah, that's what she wrote.
       14                   Q.   She says:    We discussed this a bit
       15       in our in-person meting a few weeks ago; right?
       16                   A.   Yep.
       17                   Q.   Okay.   Were you aware of Lauren
       18       asking for Facebook to produce a document and
       19       asking them to include steps for planning or
       20       escalating MDM content for officials?
       21                   A.   I was not aware of this document,
       22       no.     I know that the -- I knew those
       23       conversations about the one-pagers we discussed
       24       earlier, but I'm not -- I'm not entirely sure
       25       what this is referring to.



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        1                   Q.   Well, I think you said earlier the
        2       one-pagers would talk about what their content
        3       moderation policies are?
        4                   A.   Right.
        5                   Q.   If you look higher, on that same
        6       page, Facebook is replying to Lauren and saying,
        7       would it be -- would it work to just provide my
        8       e-mail when you share out this one-pager; right?
        9       Do you see that?
       10                   A.   So I'm scrolling up.
       11                   Q.   When you share out this one-pager;
       12       do you see that?
       13                   A.   Yes.
       14                   Q.   Okay.    So -- so does it seem that
       15       Lauren is talking about the one-pager that all
       16       the social media platforms were asked to provide
       17       for state and local elections; is that what's
       18       going on?
       19                   A.   Again, I'm not sure.       It could be
       20       two different one-pagers that she's talking
       21       about, one on account security and one that
       22       Lauren was working on, I wouldn't be -- again, I
       23       wouldn't be surprised if they were similar, but
       24       I -- I can't -- I don't know.
       25                   Q.   Regardless, for the purpose of this



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        1       one-pager, Lauren is specifically asking that
        2       they add to it a procedure for state officials
        3       to flag and escalate MDM content; correct?
        4                   A.   It appears she's asking for a
        5       process for election officials to report MDM
        6       content to Facebook, yeah.
        7                   Q.   Jump ahead to 12223, here on the --
        8       starting at the 48th page of the PDF and
        9       spilling to the 49th page, there's another
       10       e-mail from Lauren Protentis, this time to
       11       people at Microsoft, which is subject is
       12       one-pager for election officials; do you see
       13       that?
       14                   A.   Did you say 48?
       15                   Q.   Yeah, 48, spilling over onto 49,
       16       it's -- the header's on 48 and the -- oh, I'm
       17       sorry, 43.       Bad eyesight.     Sorry.   It really
       18       looks like an 8.
       19                   A.   That's okay.
       20                   Q.   Sorry, 43.
       21                   A.   I understand that.
       22                        Okay.    So one-pager for election
       23       officials, got the header, okay.
       24                   Q.   And in this e-mail Lauren says to
       25       Microsoft:       META is working with industry



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        1       partners to create one-pagers for election
        2       officials, in the lead-up to the midterms, that
        3       provide steps to create secure accounts --
        4       secure accounts and to report MDM; do you see
        5       that?
        6                   A.   I do.
        7                   Q.   And she said:     We'll be sharing
        8       these products at our various engagements with
        9       officials, presumably meaning state and local
       10       election officials; right?
       11                        MR. GARDNER:     Objection, calls for
       12       speculation.
       13                   A.   Yeah, I mean, obviously, I don't
       14       know what she means by officials, but I think
       15       that's a fair assumption.
       16                   Q.   And that's a one-pager for election
       17       officials; correct?
       18                   A.   Yes.
       19                   Q.   Skipping ahead to 22053, page 45 of
       20       the PDF, going onto 46.
       21                   A.   Okay.
       22                   Q.   You see here, on May 11, 2022,
       23       Lauren Protentis is writing to Twitter:             Hope
       24       this e-mail finds you well, wanted to circle
       25       back on this and see if you have any questions.



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        1       The team has a few upcoming engagements with
        2       elections officials for this one-pager, would be
        3       particularly helpful to share as a leave behind;
        4       correct?
        5                   A.   Yes, that's what she's written.
        6                   Q.   And Twitter goes back and says:
        7       I'll have a one-pager for you later today, just
        8       getting the final signoff; right?
        9                   A.   Correct.
       10                   Q.   And then, once he sends it to him,
       11       scrolling back up, first, she says:               State and
       12       local officials in New Hampshire, Illinois, will
       13       be the first recipients of this; right?               There
       14       at the top of the page.
       15                        The first line on page 45 of the
       16       PDF Lauren says --
       17                   A.   Yeah, the e-mail chain is a little
       18       funky, so I was just trying to read and make
       19       sure the e-mails were connected.
       20                        Okay.    So Twitter provided the
       21       one-pager.       Lauren said thanks.        State and local
       22       officials in New Hampshire and Illinois will be
       23       the first recipients to this?             Okay.   Sorry.
       24                   Q.   Then she follows up with another
       25       e-mail, saying:       Actually, one question, is



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        1       there a way to include something about how to
        2       report disinformation; do you see that?
        3                   A.   Yep.   Yep.
        4                   Q.   And Twitter says:       The best way for
        5       them to do that is to contact gov@twitter.com;
        6       right?
        7                   A.   Yep.
        8                   Q.   And I can add that to the doc if
        9       that would be helpful; correct?
       10                   A.   Correct.
       11                   Q.   And Lauren says:        That would be so
       12       helpful if you could add that to the doc.             Thank
       13       you; right?
       14                   A.   Yep.
       15                   Q.   And Twitter says:       They do; right?
       16                   A.   Mm-hmm.
       17                   Q.   So that's the second time she's
       18       pushed the social media platform to expand the
       19       one-pager to include a reporting process for MDM
       20       for the state and local election officials;
       21       correct?
       22                   A.   I'm not sure that's how I would
       23       characterize it.        I think she's just trying to
       24       make sure that election officials have the
       25       information they need if they want to report.



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        1       I'm not sure it's expanding.          I don't know.
        2       You're making it more dramatic than it was, I
        3       think.
        4                   Q.   Well, suffice to say that she's
        5       asking Twitter to include information
        6       specifically about how do you report MDM;
        7       correct?
        8                   A.   About how election officials should
        9       support MDM, correct.
       10                   Q.   And Twitter had not included that
       11       in theirs, and she asked them to put it in and
       12       they did; right?
       13                   A.   It appears so, yeah.
       14                   Q.   Same thing happened, actually, with
       15       YouTube in your earlier e-mail, right, they
       16       hadn't included it in a one-pager, and she asked
       17       them to put it in; correct?
       18                   A.   I don't recall that e-mail.         Which
       19       e-mail is that?
       20                        (Exhibit No. 27 was marked for
       21       identification.)
       22    BY MR. SAUER:
       23                   Q.   Let's move on, actually.
       24                        I'm going to e-mail you some new
       25       exhibits.



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        1                        I'm pulling up Exhibit 27, which
        2       should also be popping up in your inbox.
        3       There's a news report entitled:             CISA expands
        4       efforts to fight election disinformation ahead
        5       of challenging 2024 vote; do you see that?
        6                        MR. GARDNER:       Yeah.   I'm sorry,
        7       John, we're still waiting for your -- oh, just
        8       got it.      Hold on.    Hold up.    You said 27?
        9                        MR. SAUER:     Yeah.
       10                        MR. GARDNER:       Here you go.
       11                        THE WITNESS:       Okay.
       12    BY MR. SAUER:
       13                   Q.   Do you see the headline:          CISA
       14       expands efforts to fight election disinformation
       15       ahead of challenging 2024 vote; do you see that?
       16                   A.   I do.
       17                   Q.   What steps are you aware of CISA
       18       taking to expand its efforts to fight election
       19       disinformation going into the next election
       20       cycle, 2024?
       21                   A.   At this time, I'm not aware of any.
       22                   Q.   This is dated August 12th, 2022, if
       23       you scroll down.
       24                   A.   Sure.
       25                   Q.   Were you aware of any discussions



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        1       or efforts -- any efforts at that time?
        2                   A.   When this was written, in August of
        3       2022?    I'm sorry, what time?
        4                   Q.   Well, I'm just saying, are you
        5       aware, around August of 2022, did CISA -- was
        6       CISA expanding efforts to fight disinformation?
        7                   A.   No, no specific efforts, that I'm
        8       aware of, I believe there might have been some
        9       additional funding requested in the budget, but
       10       I'm not sure if that actually went up or not.
       11                   Q.   What -- what efforts did CISA
       12       undertake to fight election disinformation
       13       during the 2022 election cycle?
       14                   A.   We put out a couple of sets of
       15       products.
       16                   Q.   Anything else?
       17                   A.   Not -- not that I recall.        We
       18       honestly we didn't do a ton in 2022.
       19                   Q.   What were you guys doing, you're
       20       the MDM team, what did you do to fight MDM?
       21                   A.   So again, our -- as I mentioned,
       22       our role is to build resilience, so we put out
       23       the two sets of products, as I mentioned.
       24       Earlier in 2022, we put out additional products.
       25       I'm sure we gave some stakeholders to build



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        1       relationships.
        2                        But generally speaking, we did a
        3       lot of foundational work to better understand
        4       how it functions, those sorts of things, as
        5       opposed to very election-specific activities.
        6                   Q.   Here in the article it says:         The
        7       danger -- in the second paragraph -- it says:
        8       The danger of disinformation has become an
        9       incredibly difficult problem, CISA Director Jen
       10       Easterly said on Friday; do you see that?
       11                   A.   I do.
       12                   Q.   And it goes on in his report:         That
       13       Easterly has taken several specific steps to
       14       fight the problem, including bringing Kim Wyman,
       15       former Secretary of State of Washington into
       16       CISA to bolster its election work; correct?
       17                   A.   That's what the article says, yep.
       18                   Q.   What has Kim Wyman done to fight
       19       election-related disinformation at CISA?
       20                        MR. GARDNER:     Objection.
       21       Objection, lack of foundation, calls for
       22       speculation.
       23    BY MR. SAUER:
       24                   Q.   You may answer.
       25                   A.   Yeah, can you be more specific



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        1       about what you're trying to get to?
        2                   Q.      Well, what does Kim Wyman do at
        3       CISA?
        4                   A.      Kim Wyman is essentially the new
        5       Matt Masterson.         So she's a senior advisor to
        6       the director on election security.           Most of her
        7       work has been engagement with election
        8       officials.         I also think she was CISA's
        9       representative on the CSAC for MDM.
       10                           So beyond some public speaking
       11       and -- and the CSAC work, I'm not sure what else
       12       she would have done, would have been doing on
       13       MDM.
       14                   Q.      Down here at the very last
       15       paragraph, second page of the document, sorry,
       16       this is hard to highlight, very last paragraph,
       17       it says:         While it's not CISA's role to police
       18       social media Easterly said her team has
       19       discussions with platforms, but they're more to
       20       understand large trends, not specific tweets; is
       21       that right?
       22                   A.      That's what the article says, yeah.
       23                   Q.      Do you have discussions with
       24       platforms discussing large trends of online
       25       disinformation?



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        1                   A.   Yeah, I think that's consistent
        2       with what we talked about from the sync meetings
        3       and the discussions around the public reporting
        4       that the platforms have done.
        5                   Q.   Any other time when there would
        6       be -- where there was discussions with platforms
        7       about disinformation trends?
        8                   A.   I think it's just the two, the
        9       normal sync meetings we discussed, and then the
       10       normal if they were putting up public reporting
       11       we might get a briefing on it.            I'm trying to
       12       think if we ever received -- yeah, I think those
       13       are the big things.       We may have done a briefing
       14       where we had a platform maybe talk about -- talk
       15       with election officials, but I'm not sure if I'm
       16       remembering that correctly, so just those two, I
       17       think, would be the main ones.
       18                        (Exhibit No. 28 was marked for
       19       identification.)
       20                        MR. SAUER:     Exhibit 28.
       21                        MR. GARDNER:     Should be right
       22       there.
       23                        THE WITNESS:     Okay.
       24    BY MR. SAUER:
       25                   Q.   Should be on the screen share, too.



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        1                           Here's an e-mail chain, starting
        2       with Facebook sending an e-mail directly to Jen
        3       Easterly, saying she had spoken to Facebook
        4       about receiving a briefing from us on 2022
        5       election approach; do you see that there, the
        6       second page of the document, the beginning of
        7       the chain?
        8                   A.      I do.
        9                   Q.      Were you aware that Easterly had
       10       reached out to Facebook directly and asked for,
       11       I guess in January of 2022, a briefing on how
       12       Facebook planned to approach the election?
       13                   A.      I was not.
       14                   Q.      Facebook says:     We're happy to do
       15       this with your team at your convenience, and
       16       we'd also love to discuss further how we might
       17       help support the JCDC effort; do you see that?
       18                   A.      I do.
       19                   Q.      What does JCDC stand for?
       20                   A.      I was afraid you were going to ask
       21       me that.         I don't know exactly what it -- what
       22       it stands for, I think it's joint cyber
       23       something or another.            Sorry, I -- I forget the
       24       exact acronym, too many acronyms.
       25                   Q.      Is it a committee or a subdivision



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        1       within CISA or within DHS?
        2                   A.    I believe it's a -- it's an effort
        3       by CISA to -- to collaborate with private sector
        4       on cyber defense.
        5                   Q.    Okay.     And Director Easterly
        6       responds to Facebook saying:           Looping in Kris
        7       and teammates to please follow up; do you see
        8       that?
        9                   A.    I do.
       10                   Q.    And then Kris Rose; do you know who
       11       Kris Rose is?
       12                   A.    My understanding is counselor for
       13       the director, for Director Easterly.
       14                   Q.    So -- and he says:       Thank you,
       15       Director.        Moving you to BCC; does that stand
       16       for blind carbon copy?
       17                   A.    That would be my understanding.
       18                   Q.    And he says per Geoff, G-e-o-f-f, I
       19       presume that's a Geoff Hale; right?
       20                   A.    Yeah.
       21                   Q.    Sounds like we may want to discuss
       22       three primary topics that include 2022
       23       elections; right?
       24                   A.    Mm-hmm.
       25                   Q.    Risk management in the face of



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        1       influence of operations; do you know what that
        2       means?
        3                   A.   I mean, I don't know what context
        4       he was saying it here, but generally speaking,
        5       that's CISA's mission to reduce risks to
        6       critical infrastructure.         So I assume it's risk
        7       management from critical infrastructure to
        8       influence of operations.
        9                   Q.   And JCDC, that's the thing you
       10       testified before?
       11                   A.   Yeah.
       12                   Q.   Do you know -- let me ask you this:
       13       Were you included in this meeting between
       14       Director Easterly and Facebook?
       15                   A.   I was not, in fact, I don't know if
       16       the meeting actually ever occurred.
       17                   Q.   Do you know if Geoff Hale
       18       participated?
       19                   A.   I -- I don't.
       20                        (Exhibit No. 29 was marked for
       21       identification.)
       22    BY MR. SAUER:
       23                   Q.   Let's look at Exhibit 29.
       24                   A.   Okay.
       25                   Q.   Here's a series of text messages



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        1       that were produced to us as coming from Director
        2       Easterly.
        3                        So do you see the blue text, that
        4       would be Director Easterly, the other side, in
        5       the gray, is the interlocutor here on the first
        6       page is this gentleman from Facebook; do you see
        7       that?
        8                   A.   Yeah.
        9                   Q.   This -- he -- he -- he issued a
       10       series of texts.         Do you know why he would be
       11       texting Director Easterly, does he know her?
       12                        MR. GARDNER:     Objection, compound.
       13       Objection, calls for speculation.
       14                   A.   Yeah, I -- I don't know is the
       15       short answer.      I don't know what their
       16       relationship is.
       17                   Q.   Do you know him, Mr. Gleicher?
       18                   A.   Yeah, I know Nathaniel Gleicher,
       19       yeah.
       20                   Q.   Does he interact with CISA about
       21       misinformation issues on Facebook?
       22                   A.   He does, he participates in the
       23       monthly regular meetings that we talked about.
       24                   Q.   What else does he do, do you know,
       25       for Facebook on --



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        1                   A.   I'm sorry, what was the last part?
        2                   Q.   What else does he do for Facebook
        3       on misinformation?
        4                   A.   Again, I think he would articulate
        5       the inoffensive behavior, coordinating
        6       inoffensive behavior.        So I don't know if he
        7       would talk about it in the context of
        8       disinformation.         But my understanding is he
        9       leads the team one of the teams that deals with
       10       the coordinated inoffensive behavior.
       11                   Q.   Let me ask you about Rob Silvers.
       12       Do you know who Rob Silvers?
       13                   A.   Yes.
       14                   Q.   Who's Rob Silvers?
       15                   A.   He heads up the DHS office of
       16       policy.      I don't know what his back title is,
       17       assistant secretary or secretary, something like
       18       that.
       19                   Q.   So he's in the secretary's office?
       20                   A.   I believe he reports up to the
       21       secretary, yeah.
       22                   Q.   He -- he -- and Mr. Gleicher says
       23       to Jen Easterly:        Do you have any context you
       24       can share in the role Rob Silvers is playing on
       25       disinfo; right?



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        1                   A.   Yep, that's what the text says.
        2                   Q.   I understand his team is a task
        3       force set up, and it was suggested that his team
        4       is handing policy on disinfo while CISA is
        5       handling operations; right?
        6                   A.   Yeah, that's what Nathaniel wrote.
        7                   Q.   What is -- what was your
        8       understanding of Rob Silver being involved in
        9       policy on disinformation?
       10                   A.   So that is the DHS office of
       11       policy.      He would be involved in most, I would
       12       say, policy activities related to any topic that
       13       crossed the department, including
       14       disinformation.
       15                   Q.   And Director Easterly says she's
       16       happy to chat with Mr. Gleicher; right?
       17                   A.   Yep.
       18                   Q.   You don't know if they actually
       19       talked to each other, do you?
       20                   A.   I don't.
       21                   Q.   She goes on to say:       Rob is running
       22       a governance board to look at potential new
       23       areas of confronting MDM; correct?
       24                   A.   That's what she wrote, yeah.
       25                   Q.   Then she says:     It doesn't change



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        1       or impact anything, we, meaning CISA, are doing
        2       or have already established; right?
        3                   A.   Yes, that's what she wrote.
        4                   Q.   What were the potential -- what
        5       potential new areas of confronting MDM were
        6       discussed, do you know?
        7                        MR. GARDNER:     Objection, lack of
        8       foundation.
        9                   A.   I don't have any clue.
       10                   Q.   Next page, there's an e-mail from
       11       Matt Masterson to the director; right?
       12                   A.   Yep.
       13                   Q.   This is a -- Matt Masterson know
       14       the director well, I take it he was a political
       15       appointee, did you say that?
       16                   A.   In previous administration --
       17       excuse me -- yeah, he was a political appointee.
       18       I don't know what his relationship with the
       19       director was, so I don't know how well he knew
       20       her.
       21                   Q.   What was the director's role in the
       22       previous administration, was she at CISA?
       23                   A.   No.    Director Easterly was not at
       24       CISA, no.
       25                   Q.   Who was she?



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        1                   A.   I'm sorry?
        2                   Q.   Was she in government?
        3                   A.   Prior to the -- in the previous
        4       administration?
        5                   Q.   Yeah.
        6                   A.   I don't know.     I think her
        7       immediate previous job was in the private
        8       sector, but I don't know how long and if she
        9       spent any time, at all, in the -- in the
       10       previous administration in government.
       11                   Q.   And here, Director Easterly says to
       12       Matt Masterson, just trying to get us in a place
       13       where FED can work with platforms to better
       14       understand the mis, dis trends so relevant
       15       agencies can try to prebunk/debunk as useful;
       16       correct?
       17                   A.   That's what she wrote, yeah.
       18                   Q.   And that discussion of trends is
       19       similar to her statement in the media article we
       20       just looked at about how CISA is interacting
       21       with social media platforms to identify trends;
       22       correct?
       23                   A.   She mentioned trends in both,
       24       correct.
       25                   Q.   And here she -- the reason she



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        1       wants to understand the trends from the
        2       platforms is so that the relevant agencies can
        3       try to prebunk or debunk the mis and
        4       disinformation; correct?
        5                   A.   Yeah, I think that's what she's
        6       saying.
        7                   Q.   Can you do that at CISA, when you
        8       find out about a trend do you go try to work
        9       with another federal agency to prebunk or debunk
       10       it?
       11                   A.   So again, from a resilience-
       12       building perspective, you know, what we try to
       13       do is provide accurate information about those
       14       issues and topics that are relevant to us.             So
       15       from an election perspective we would try to
       16       provide appropriate information about elections,
       17       so that the universe reality page would be an
       18       example of that, it would fall more potentially
       19       into the debunking side.
       20                        Prebunking is trying to understand
       21       ahead of time what could happen so you could
       22       fill information gaps.
       23                        And so that's generally kind of how
       24       resilience works.       So yeah, we would -- we would
       25       try to do some of that.



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        1                        I don't know -- so we worked a
        2       little bit with the FBI, on products or
        3       resilience-based products, as I mentioned.             I
        4       say that's probably -- we worked, as I mentioned
        5       earlier, we worked with the GAC initiative about
        6       tactics and such.
        7                        So those are the types of things
        8       that we would do to, again, help people
        9       understand how MDM works and steps they can take
       10       to reduce the risks.
       11                   Q.   Her next text here, Director
       12       Easterly's next text says:         Not our mission, but
       13       was looking to play a coord role so not every
       14       D/A is independently reaching out to platforms
       15       which could cause a lot of chaos; right?
       16                   A.   That's what she wrote, yep.
       17                   Q.   What does D/A mean, is that
       18       department or agency?
       19                        MR. GARDNER:     Objection, calls for
       20       speculation.
       21    BY MR. SAUER:
       22                   Q.   If you know.
       23                   A.   That's -- that is one of our common
       24       abbreviations for department and agency, but I'm
       25       not sure if that's what she's referring to here.



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        1                   Q.    Do you know -- let me ask this:          Do
        2       you believe that if every federal department and
        3       agency is independently reaching out to the
        4       platforms that could cause chaos?
        5                   A.    Yeah, I think chaos might be a
        6       little strong.        But, you know, it does create
        7       challenges and provides the platforms
        8       opportunities to play departments off each
        9       other.
       10                   Q.    Does -- does CISA try to play a
       11       coordinating role in that, in other words,
       12       coordinating between the federal agencies and
       13       the social media platforms on disinformation and
       14       misinformation issues?
       15                   A.    So we did do that as it relates to
       16       the sync meetings we discussed throughout the
       17       testimony.       Beyond that, we didn't -- we didn't
       18       attempt to play a substantial role in terms of
       19       coordinating between.
       20                   Q.    Let me ask you this:      Matt
       21       Masterson responds to this e-mail or this text
       22       and says:        We'll get there, and that kind of
       23       leadership really helps.          Platforms have got to
       24       get more comfortable with government.              It's
       25       really interesting how hesitant they remain;



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        1       correct?
        2                   A.    That's something I wrote.
        3                   Q.    Is that consistent with your
        4       experience that the social media platforms have
        5       to be kind of pushed or encouraged to coordinate
        6       with the government on misinformation issues?
        7                   A.    I don't think that's how I would
        8       characterize it.        You know, we operate in a
        9       voluntary kind of manner, so it's voluntary
       10       whether -- for CISA, again, for CISA, the MDM
       11       team, so it's always up to the platforms what
       12       level of engagement they want to have with us.
       13                   Q.    Do you know whether Masterson and
       14       Easterly had any further discussion of these
       15       issues?
       16                   A.    I don't know.
       17                   Q.    Let me send you a couple more
       18       exhibits.        And while they are coming, do you
       19       know, were you involved, at all, in the
       20       formation --
       21                         MR. GARDNER:      I'm sorry, John, I'm
       22       sorry, the witness just asked me if we can take
       23       a break.
       24                         MR. SAUER:     Oh.
       25                         THE WITNESS:      Just a few minutes,



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        1       bathroom break.
        2                           MR. SAUER:     Well, why don't we make
        3       it five, and try to make it the last break of
        4       the day.         How long have we been on the record?
        5                           MR. SCOTT:     We got back on at 3:50,
        6       so it's 4:40, so it's 50 minutes in, we have an
        7       hour and 10 minutes left.
        8                           MR. GARDNER:     He's been reliable.
        9       We need to do this off the record, first of all.
       10                           THE VIDEOGRAPHER:       The time is now
       11       4:42.    We are off the record.
       12                           (Recess.)
       13                           THE VIDEOGRAPHER:       The time is
       14       4:53.    We are back on the record.
       15                           (Exhibit No. 30 was marked for
       16       identification.)
       17    BY MR. SAUER:
       18                   Q.      Exhibit 30 should be in your inbox.
       19       I'll put it up on the screen share.
       20                           Here's an article in The Intercept
       21       called Truth Cops, Leaked Documents Outline
       22       DHSA's Plans to Police Disinformation; do you
       23       see that?
       24                   A.      Yeah, we don't have it on here, but
       25       I saw the headline in your screen share.



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        1                   Q.   Okay.   Sorry.    But scrolling down,
        2       still on the first page, it says:           The
        3       Department of Homeland Security is quietly
        4       broadening its effort to curb speech it
        5       considers dangerous; do you see that?
        6                   A.   I see that in the article, yep.
        7                   Q.   Are you aware of DHS broadening its
        8       efforts to address disinformation?
        9                   A.   I am not, no.
       10                   Q.   Has CISA been expanding its MDM
       11       team?
       12                   A.   As I mentioned earlier, we have
       13       not.
       14                   Q.   Let me ask you this:       Scrolling
       15       down here, third page of the document, it says:
       16       There is also a formalized process for
       17       government officials to directly flag content on
       18       Facebook or Instagram and request that it be
       19       throttled or suppressed through a special
       20       Facebook portal that requires a government or
       21       law enforcement e-mail to use; do you see that?
       22                   A.   Yeah, I see that in the article.
       23                   Q.   And it actually provides a link for
       24       it, Facebook.com/Xtakedowns/login; are you aware
       25       of that reporting channel for government



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        1       officials?
        2                   A.   I am not, no.
        3                   Q.   On the next page, fourth page of
        4       the document, it says:        According to a draft
        5       copy of DHS's quadrennial Homeland Security
        6       review, DHS's capstone report outlining the
        7       department's strategy and priorities in the
        8       coming years, the department plans to target
        9       inaccurate information on a wide range of
       10       topics; do you see that?
       11                   A.   Yeah, I see that in the article.
       12                   Q.   Are you aware of the document
       13       that's a draft of the quadrennial Homeland
       14       Security review?
       15                   A.   I know it says quadrennial Homeland
       16       Security review is, I don't know if I've seen
       17       the draft of the most recent one.
       18                   Q.   Have you seen any drafts of the
       19       most recent one?
       20                   A.   Not that I recall.
       21                   Q.   When does it -- when does it get
       22       finalized?
       23                   A.   I -- I -- I don't know.
       24                   Q.   It says:    Including the origins of
       25       the COVID-19 pandemic and the efforts of the



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        1       COVID-19 vaccines, racial justice, US withdrawal
        2       from Afghanistan, and the nature of US support
        3       for Ukraine, in quotes; do you see that?
        4                   A.   I do.
        5                   Q.   Are you aware of discussions
        6       anywhere in DHS about addressing misinformation
        7       about the origins of the COVID-19 pandemic?
        8                   A.   I am not.
        9                   Q.   So how about the efficacy of
       10       COVID-19 vaccines?
       11                   A.   Yes, I'm aware of some discussions
       12       on that.
       13                   Q.   What discussions are you aware of?
       14                   A.   So it was a -- as I mentioned
       15       earlier, our building critical infrastructure
       16       help in public health is one of the sectors of
       17       critical infrastructure, so we engage with CDC
       18       and HHS to help them.        We've also put out one
       19       product, sometime in mid 2020, for
       20       infrastructure stakeholders about COVID-related
       21       disinformation.
       22                   Q.   What do you do to assist CDC and
       23       HSH?
       24                   A.   For the most part, not a lot, to be
       25       honest.      Like I said, we did the one product



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        1       related to them, and we just participate in
        2       meetings with them.       From our perspective,
        3       again, we're trying to understand trends, how
        4       this information is spreading tactics so we can
        5       help the public, the public and organizations,
        6       critical infrastructure organizations, as well
        7       as some others, understand the risks from MDM
        8       and how it works and what they can do about it.
        9                   Q.   Do you -- do you obtain information
       10       from CDC and HHS about how COVID vaccine
       11       misinformation spreads?
       12                   A.   I believe that they provided some
       13       briefings on that, yeah.
       14                   Q.   And do you also provide briefings
       15       to them or information to them?
       16                   A.   We did some work on the kind of
       17       bio-lab narratives, so this is essentially
       18       foreign governments, whenever anything happens,
       19       whether biological and sometimes not, they will
       20       point to US biolabs as being the culprit behind
       21       it, and so as part of our resilience-building
       22       efforts we're trying to understand how foreign
       23       actors have used that narrative over time.
       24                        And so we, starting back in the
       25       '80s, probably since back in the '80s, the



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        1       Russians were using that.         Usually they're
        2       saying at Fort Detrick or some other kind of US
        3       entity is a biolab, and that's where whatever it
        4       starts.
        5                        We saw this with COVID.        We saw
        6       this Monkey Pox.      We saw this around Ukraine.
        7       And so, again, just helping people understand
        8       that a lot of these disinformation narratives
        9       are recycled over time, for different issues, as
       10       a way to help build resilience.
       11                   Q.   How about racial justice, are you
       12       doing anything to address misinformation about
       13       racial justice issue?
       14                   A.   CISA has not, to my knowledge, done
       15       anything related to racial justice.
       16                   Q.   How about other DHS components, do
       17       they do anything on that?
       18                   A.   Not that I'm aware of, but
       19       obviously I don't know everything that they do.
       20                   Q.   How about US withdrawal from
       21       Afghanistan, does CISA work on that?
       22                   A.   Not that I'm aware of.
       23                   Q.   And how about other DHS components?
       24                        MR. GARDNER:     Objection, calls for
       25       speculation.



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        1                   A.   Yeah, I -- I'm not aware of what
        2       other components are doing.
        3                   Q.   And then the nature of US support
        4       to Ukraine?
        5                   A.   So there was a department stood
        6       out, what's called the Unified Coordination
        7       Group, when Russia invaded Ukraine, to
        8       coordinate DHS activities related to the crisis.
        9       As a part of that there was an MDM component,
       10       and a member of the MDM team was detailed to
       11       lead the MDM component of the Russian/Ukraine
       12       work.    I believe it lasted about two months.
       13                   Q.   What did they do?
       14                   A.   The Unified Coordination Group.
       15       Sorry.
       16                   Q.   What did that group do?
       17                   A.   So most of it took place while I
       18       was out, so I don't have a super clear
       19       understanding of everything, but generally
       20       speaking, they provided a -- they would monitor
       21       open source researching.
       22                        So we talk about third-party
       23       researchers, we put out reports, and things like
       24       that, and they would provide situational
       25       awareness, at least from our perspective, CISA



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        1       perspective, they would provide situational
        2       awareness up to the MDM Unified Coordination
        3       Group.
        4                   Q.   Who at CISA participated in that?
        5                   A.   So Rob Schaul from the MDM team was
        6       detailed to the Unified Coordination Group, and
        7       then several members of the team would have been
        8       monitoring open source.
        9                        So we have the open source
       10       reporting.       These are third-party research
       11       reports, things like that, to point to
       12       information to just make leadership aware.
       13                   Q.   Did they -- did that group
       14       communicate with social media platforms about
       15       disinformation relating to Ukraine?
       16                   A.   By that group, do you mean Unified
       17       Coordination Group?
       18                   Q.   Correct.
       19                   A.   I -- I don't know.
       20                   Q.   Rob Schaul would know that?
       21                   A.   He led the team, so I suspect he
       22       might.
       23                   Q.   Do you know if that team
       24       communicated with social media platforms, at
       25       all?



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        1                   A.   I don't know.     There was a call, at
        2       some point, early, between -- between critical
        3       infrastructure and I believe some social media
        4       around that, but I wasn't around for that call
        5       so I don't really know the nature of what was
        6       discussed or anything along those lines.
        7                   Q.   There was a call between -- and I'm
        8       sorry, I couldn't hear clearly what you said --
        9       there was a call between social media platforms
       10       and -- and who?
       11                   A.   So I believe the way I understand
       12       the call is it facilitated a call with critical
       13       infrastructure, the critical infrastructure
       14       community, to private sector companies, sector
       15       risk management agencies, folks that were
       16       involved in critical infrastructure security.              I
       17       believe, my understanding is that call did
       18       include some social media platforms.
       19                   Q.   And you -- but you don't know what
       20       was said in that call?
       21                   A.   No, I wasn't -- I wasn't back at
       22       CISA yet.
       23                   Q.   Do you know when the call occurred?
       24                   A.   It would have been in probably the
       25       February -- February time -- timeframe, I would



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        1       think.
        2                   Q.   February 2022?
        3                   A.   Correct.
        4                        (Exhibit No. 31 was marked for
        5       identification.)
        6    BY MR. SAUER:
        7                   Q.   I'm putting up Exhibit 31 on the
        8       screen share.      You should have it in front of
        9       you.
       10                   A.   Okay.   I got it.
       11                   Q.   Here's a report from the Office of
       12       the Inspector General, entitled:           DHS needs a
       13       unified strategy to counter disinformation
       14       campaigns; do you see that?
       15                   A.   I do.
       16                   Q.   Are you familiar with this OIG
       17       report?
       18                   A.   Mostly familiar with it, yeah.
       19                   Q.   Were you aware that they -- do you
       20       know what the day of the report is?
       21                   A.   Says August 10th, 2022.
       22                   Q.   And I take it this report is
       23       recommending that here to what we have found,
       24       DHS needs unified strategy or -- to address
       25       disinformation; right?        Right here, it says:



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        1       DHS does not yet have a unified department-wide
        2       strategy to effectively counter disinformation
        3       that originates from both foreign and domestic
        4       sources; correct?
        5                   A.    I'm trying to find that.       Okay.
        6                   Q.    Yeah.
        7                   A.    DHS does not yet have a unified
        8       strategy.        Correct, yeah, that's what's written
        9       there.
       10                   Q.    Do you share that view, do you
       11       think DHS lacks a department-wide strategy?
       12                   A.    Yes.
       13                   Q.    Do you think that different
       14       components of DHS are engaging in different sort
       15       of MDM-related activities without coordinating
       16       with each other?
       17                   A.    Yeah, I think that's a fair
       18       assumption.
       19                   Q.    Were you aware that this
       20       recommendation was made for DHS to do internal
       21       and external coordination better?
       22                   A.    Was I aware that this report was
       23       stating that DHS needs to do better in internal
       24       and external coordination?
       25                   Q.    Yeah.



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        1                   A.   I -- I don't know if that's what it
        2       says, is there a page in here where that
        3       recommendation is or those recommendations?
        4                   Q.   Let's go to page 7.
        5                   A.   Is this PDF 7 or document page 7?
        6                   Q.   Good question.     It's PDF 9,
        7       document --
        8                   A.   PDF 9?     Okay.
        9                   Q.   It's here underneath the graphic
       10       novels images, there's a paragraph that begins:
       11       More recently; do you see that?
       12                   A.   Yep.
       13                   Q.   It says:     In January 2021 CISA
       14       transitioned its countering foreign influence
       15       task force to promote more flexibility to focus
       16       on general MDM; right?
       17                   A.   Mm-hmm, that's what it says.
       18                   Q.   And that CISA's got 15 dedicated
       19       part- and full-time staff; is that still true?
       20                   A.   No.
       21                   Q.   I'm sorry, the MDM team has 15
       22       staff; is that still true?
       23                   A.   No.
       24                   Q.   How many does it have?
       25                   A.   Right now, we have five full-time



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        1       staff plus one on maternity leave, so six.             And
        2       then we have one, two, two contractor's
        3       support -- no, three contractor's supporting us.
        4                   Q.   Did at some time you have 15 people
        5       working on this on the MDM team?
        6                   A.   I suspect at the height of the team
        7       if you add in all the contractors there it
        8       probably got close to 15, but I'm not sure of
        9       the exact number.
       10                   Q.   When was the height of the team?
       11                   A.   Staff plus contractors was
       12       probably -- good question.         When was the height
       13       of the team?     We didn't have much contract
       14       support in 2020, so I would probably say 2021,
       15       while I was gone.
       16                   Q.   It says:    The MDM team focuses on
       17       disinformation activities targeting elections
       18       and critical infrastructure.          According to a
       19       CISA official, the MDM team counters all types
       20       of disinformation, to be responsive to current
       21       events; is that right?
       22                   A.   That's what the document says, yep.
       23                   Q.   Is that true that the MDM team
       24       counters all types of disinformation to be
       25       responsive to current events?



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        1                   A.   We, again, try to build resilience
        2       and reduce risks to critical infrastructure.              So
        3       I -- you know, if the event could impact
        4       critical infrastructure, that would be something
        5       we would consider addressing.
        6                   Q.   Does critical infrastructure
        7       include cognitive infrastructure?
        8                   A.   Not through national policy.
        9                   Q.   Okay.    Let me go two pages further,
       10       paragraph -- page 9, it says:             For example,
       11       according to an ODNI official, prior to the
       12       November 2020 elections CISA and I&A joined in
       13       weekly teleconferences to coordinate
       14       intelligence community activities to counter
       15       election-related disinformation; correct?
       16                   A.   That's what the document says, yes.
       17                   Q.   Were you aware of those calls,
       18       that's a coordinating call between CISA, I&A and
       19       ODNI?
       20                   A.   No, that was a coordinate -- so
       21       yeah, from the call, but the calls were DNI-led
       22       coordination calls of the intelligence
       23       community.       CISA was there mostly from an
       24       observer standpoint, to do as an election
       25       security lead.       But it was -- it was an intel



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        1       community-focused coordination and conversation.
        2                   Q.      Who from CISA participated in those
        3       calls?
        4                   A.      I think it was just a random -- a
        5       random mix.         Geoff did not generally participate
        6       in them.         I didn't generally participate in
        7       them, although I think I did maybe once or
        8       twice, normally somebody at the staff level.
        9                           Yeah, we have an intel office in
       10       CISA, so I suspect that at least somebody from
       11       the intel office was on the calls.            But I think
       12       it was just, you know, it was who's available at
       13       the staff level would go participate at that
       14       time.
       15                   Q.      Was disinformation, you know, how
       16       to combat disinformation on social media, is
       17       that discussed in these calls?
       18                           MR. GARDNER:     Objection, calls for
       19       speculation, lack of foundation.
       20                   A.      My understanding, my recollection
       21       of the calls, at least the couple I was on, it
       22       was generally the intel community talking about
       23       what products they were developing, what
       24       analysis they were doing, things along those
       25       lines.



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        1                   Q.   The next sentence says:        The office
        2       of the DNI official stated the teleconferences
        3       continue to occur every two weeks after the 2020
        4       elections, and were still taking place at the
        5       time of this audit in August of 2022; do you see
        6       that?
        7                   A.   I do.
        8                   Q.   Yeah, what -- are those calls still
        9       going on today, every two weeks?
       10                   A.   I don't know.     That was -- that's
       11       a -- THAT they're still continuing to November
       12       of 2022 is news to me.        So yeah, I don't -- as
       13       far as I know, we weren't participating in them.
       14       I wouldn't be surprised if there was some calls
       15       going on, but I don't recall.            The intel
       16       community doesn't tell community things when I
       17       was involved in that.
       18                   Q.   Why don't I e-mail you another
       19       exhibit, 27.
       20                        MR. GARDNER:     John, if you just
       21       spoke, I couldn't hear you, but sound wasn't
       22       coming through.
       23                        MR. SAUER:     I'm sorry.     Yeah,
       24       actually, I'm going to skip that one.            I meant
       25       Exhibit 23, which I'm now e-mailing you.



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        1                        MR. GARDNER:     Not Exhibit 27?
        2                        MR. SAUER:     27 should look familiar
        3       to you.      We talked about it already.
        4                        MR. GARDNER:     Okay.    Just to be
        5       clear, are we talking about 27 now or a
        6       different exhibit?
        7                        MR. SAUER:     23.
        8                        MR. GARDNER:     Okay.    Don't have
        9       that yet, but as soon as we do.
       10                        MR. SAUER:     And I'm putting it up
       11       on the screen share, too.
       12                        (Exhibit No. 23 was marked for
       13       identification.)
       14    BY MR. SAUER:
       15                   Q.   Here's a November 2021 report on
       16       public comments by Director Easterly and The
       17       Hill; do you see that?
       18                   A.   Yes.
       19                   Q.   It says:     The title is cyber agency
       20       beefing up disinformation misinformation team;
       21       correct?
       22                   A.   Correct.
       23                   Q.   And in the first paragraph says:
       24       CISA is beefing up its disinformation and
       25       misinformation team in the wake of a dismissive



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        1       precedential election that saw a proliferation
        2       of misleading online information; correct?
        3                   A.   Yeah, that's what the article says.
        4                   Q.   Were you aware of efforts to beef
        5       up the misinformation team in November of '21?
        6                   A.   No, not specific efforts.        I was
        7       over at the National Security Council at the
        8       time.
        9                   Q.   When did you come back from that
       10       detail?
       11                   A.   The detail officially ended in
       12       early March, and I took some leave and started
       13       back at CISA in early to mid April.
       14                   Q.   And the director says in the next
       15       paragraph:       I'm actually going to grow and
       16       strengthen my misinformation and disinformation
       17       team; do you see that?
       18                   A.   I do.
       19                   Q.   I know you were on detail then, are
       20       you aware of efforts to grow and strengthen the
       21       team, for example, by adding new people?
       22                   A.   Again as I mentioned earlier in my
       23       testimony, my understanding is there was some
       24       budget increase that was proposed.           I don't -- I
       25       don't know if that moved forward or not, from



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        1       the department.
        2                   Q.   Is the -- do these remarks coincide
        3       with what you said was kind of the high point,
        4       when you had 15 people on the MDM team, was that
        5       around, you know, November 2021?
        6                   A.   It's hard to say for sure.         I'm
        7       not -- I'm not sure how they're counting
        8       positions.       So I don't think we ever had 15
        9       federal employees.        So there's, you know, it
       10       seems to me like they were probably counting
       11       contract support, so -- so it's hard for me to
       12       say exactly when that would have been.
       13                   Q.   You say there was, in this
       14       timeframe, some attempt to get budget authority
       15       to add people to the MDM team?
       16                   A.   It was my understanding that there
       17       was a request for additional funds made to the
       18       budget.      But again, I don't know, the budget
       19       process is a little bit of a mystery to me, so
       20       I'm not sure what exactly happened along the
       21       way, if it ended up in the -- you know, in the
       22       budget requests or what.
       23                   Q.   The next paragraph says that
       24       Easterly noted that earlier this week she had a
       25       meeting with six of the nation's experts in that



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        1       misinformation and disinformation space; do you
        2       see that?
        3                   A.   I do.
        4                   Q.   Do you know who she met with?
        5                   A.   I don't.
        6                   Q.   Do you know who are six of the
        7       nation's experts in disinformation and
        8       misinformation?
        9                   A.   I mean, I could come up with a list
       10       of experts.      I don't know if that's who she met
       11       with.
       12                   Q.   She stressed her concerns around
       13       this being a top threat for CISA; correct?
       14                   A.   That's what the article says, yep.
       15                   Q.   And it goes on to quote her,
       16       saying:      One could argue we're in the business
       17       of critical infrastructure, and the most
       18       critical infrastructure is our cognitive
       19       infrastructure; correct?
       20                   A.   That's what the quote says, yep.
       21                   Q.   Do you -- do you -- do you -- does
       22       the MDM team view protecting our cognitive
       23       infrastructure as part of its mission?
       24                   A.   No.     We look at the -- again, the
       25       international policy there's, like, 16 sectors,



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        1       and those are the critical infrastructure
        2       factors we look to protect.         So we wouldn't
        3       include cognitive infrastructure in that list.
        4                   Q.   One of them is election
        5       infrastructure; is that right?
        6                   A.   Election infrastructure is actually
        7       a subsector of the government's stability
        8       structure.
        9                   Q.   So if someone posts information on
       10       social media implying that, you know, ballots
       11       were being shredded by poll workers, what
       12       infrastructure is that a threat to?
       13                        MR. GARDNER:     Objection, calls for
       14       a hypothetical.
       15                   A.   Yeah, I would rather not answer
       16       hypotheticals.
       17                   Q.   You have no instruction not to
       18       answer, please answer the question.
       19                        MR. GARDNER:     Same objection.
       20                   A.   Yeah, I'm not answering a
       21       hypothetical.
       22                   Q.   Please answer the questions.         If
       23       someone posts on social media --
       24                   A.   Can you give me an example of the
       25       post?



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        1                   Q.   If you look at all the posts we
        2       looked at earlier in your e-mails, where, for
        3       example, suppose someone posts the hammer and
        4       scorecard conspiracy on social media, and
        5       Director Krebs tells you to reach out to social
        6       media platforms to see what they're doing about
        7       it, how does the posting about the hammer and
        8       scorecard narrative on social media threaten
        9       critical infrastructure?
       10                   A.   So it -- so generally speaking,
       11       this mis, mal-information threatens critical
       12       infrastructure in a number of ways, it could be
       13       operational impact, so in the case of the
       14       elections, disrupting election operations,
       15       things along those lines.         It could be human
       16       impact, so again, see election example, there's
       17       a lot of threats of violence made against
       18       election officials, making it harder to do their
       19       jobs.
       20                        So a multitude of ways that
       21       disinformation could impact critical
       22       infrastructure, like I said, we -- you know,
       23       there's financial, there's reputational, there's
       24       just a multitude of ways that this
       25       disinformation could affect critical



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        1       infrastructure.
        2                   Q.   Does infrastructure have a
        3       reputational interest?
        4                   A.   Does infrastructure have a
        5       reputational interest?
        6                        MR. GARDNER:     Objection, vague.
        7                        THE WITNESS:     Yeah, could you be a
        8       little more specific.
        9    BY MR. SAUER:
       10                   Q.   You just used the word, you said
       11       there's financial, there's reputational, what do
       12       you mean by that?       What is the reputational
       13       threat to critical infrastructure from social
       14       media postings?
       15                   A.   Well, I wouldn't -- I wasn't saying
       16       specifically from social media postings.             I was
       17       saying from fraud, from mis, dis and
       18       mal-information, a reputational risk could come
       19       about if the integrity or the public confidence
       20       in a particular sector was critical to that
       21       sector's functioning.
       22                        So I think the financial services
       23       would probably be a good example.           So if there's
       24       a loss of confidence by the American public in
       25       financial services, financial systems of the



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        1       United States, that could create national
        2       security concerns.
        3                   Q.   Explain that to me, how would a
        4       loss of confidence in the financial system
        5       create national security concerns?
        6                   A.   Lots of ways, you can have runs on
        7       banks, such as the banking, you could have, you
        8       know, other sorts of issues related to that, so
        9       yeah, so there's -- you know, if there's a loss
       10       of confidence, if there's a run on banks and
       11       there's a run on the financial systems, those
       12       sorts of things can create physical harms,
       13       operational harms.
       14                        So again, if we go back to the list
       15       of potential harms, the reputational could lead
       16       to operational, right?        So banks could be
       17       overwhelmed with people showing up trying to
       18       take money out.      They could be overwhelmed with
       19       people showing up elsewhere at other facilities
       20       and disrupt our operations.         So it's a full
       21       range of potential risks.         A lot of these are
       22       cascading, and so, yeah.
       23                   Q.   So is it part of the MDM team's job
       24       and CISA's job to counter disinformation that
       25       creates reputational risks to, for example, the



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        1       financial services industry?
        2                   A.   So again, our mission is to build
        3       resilience.      And so we would work -- if the
        4       financial services sector wanted us to work with
        5       them, to develop products to help them
        6       understand how mis, dis and mal-information
        7       could impact their -- their sector, we would --
        8       we would work with them on that yes.
        9                   Q.   What sorts of mis, dis and
       10       mal-information might undermine confidence in
       11       the financial services?
       12                   A.   I don't know.     We haven't -- we
       13       haven't dealt with that.         We're not financial
       14       services experts, so we generally defer to a
       15       department or agency.
       16                        So in this case, Treasury, the
       17       sector risk management agency responsible for
       18       the financial services sector, so our expertise
       19       with the MDM team is understanding MDM and
       20       potentially to mitigate risks and to build
       21       resilience, and so we wouldn't be the experts on
       22       the actual financial services MDM.
       23                   Q.   So everything you just said about
       24       the financial services was a lengthy
       25       hypothetical?



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        1                   A.   Like I said, I don't like getting
        2       into hypotheticals.
        3                   Q.   You did for awhile, there.
        4                        Scrolling down in the same
        5       document, it says -- there's a quote from
        6       Director Easterly, where she says now --
        7                        MR. GARDNER:     Sorry, hold on.
        8                        MR. SAUER:     Can you guys hear me
        9       now?
       10                        MR. GARDNER:     Yeah.
       11                        MR. SAUER:     Okay.
       12    BY MR. SAUER:
       13                   Q.   Quote from Director Easterly, we
       14       now live in a world where people talk about
       15       alternative facts, post truth, which I think is
       16       really, really dangerous, if you get to pick
       17       your own facts, and it's particularly corrosive
       18       when you talk about matters of election
       19       security; right?
       20                   A.   That's the quote, yeah.
       21                   Q.   And is that kind of consistent with
       22       what the MDM team does, it tries to prevent a
       23       situation where Americans get to pick their own
       24       facts?
       25                        MR. GARDNER:     Objection, vague.



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        1                   A.   I -- I -- that's -- no, that's not
        2       consistent with what we do.
        3                   Q.   So that's -- that's not a -- you
        4       don't think Director Easterly's description is
        5       very fair?
        6                        MR. GARDNER:     Objection,
        7       mischaracterizes the witness's previous
        8       testimony.
        9                   A.   Yeah, if I understand your question
       10       you said that CISA played a role in alternate
       11       facts and post truths and things like that, and
       12       CISA does not do that sort of thing.
       13                        MR. SAUER:     Sending you a few more
       14       exhibits by e-mail.       You should be getting two
       15       e-mails, the first one with three attachments,
       16       and the second one with one.
       17                        It may take a minute.       It's loading
       18       slowly on my end.       Okay.    I'm opening Exhibit
       19       49, and I'll put that on the screen share.
       20                        (Exhibit No. 49 was marked for
       21       identification.)
       22    BY MR. SAUER:
       23                   Q.   Did you give an interview to the
       24       Berkman Klein Center on June 18th of 2020?
       25                   A.   I don't recall the specific date,



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        1       but I did give them an interview, so that's
        2       probably about right.
        3                   Q.      And this is an interview by The
        4       Breakdown.         And do you recall doing this
        5       interview?
        6                   A.      I do.
        7                   Q.      On the third page of the document,
        8       you say:         For us, in particular -- oops, it
        9       didn't highlight well -- for us, in particular,
       10       you see here, it's the second bullet -- for us,
       11       in particular, we're trying to reduce the amount
       12       that Americans engage with disinformation;
       13       right?
       14                   A.      Yes.
       15                   Q.      Is that -- to your mind, is that a
       16       good summary of what the MDM team does, it tries
       17       to reduce the amount that Americans engage with
       18       disinformation?
       19                   A.      That's the general idea behind
       20       resilience-building, yeah.
       21                   Q.      What is engaging with
       22       disinformation?
       23                   A.      Amplifying it, re-tweeting it,
       24       resending it, things like that.
       25                   Q.      How about liking it on social



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        1       media, is that a form of engagement?
        2                   A.   Yep.
        3                   Q.   How about just reading it, is that
        4       a form of engagement?
        5                   A.   No.
        6                   Q.   So if you're reading disinformation
        7       is not engagement with it?
        8                   A.   Correct.
        9                   Q.   But -- but so engagement is taking
       10       some affirmative step further, like you said,
       11       amplify, like, repost, that's kind of
       12       disinformation, in your view, I'm sorry, that's
       13       engagement; correct?
       14                   A.   Yes.
       15                   Q.   And it's part of CISA's or the --
       16       CISA's job to try to reduce the amount that that
       17       happens; right?
       18                   A.   I wouldn't characterize it that
       19       way.   I would say the ultimate goal of building
       20       resilience is that people are less likely to
       21       amplify mis and disinformation.
       22                   Q.   And that's what you're trying to do
       23       at the MDM team, is reduce the amount that
       24       Americans engage with disinformation?
       25                   A.   Yeah, through public awareness and



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        1       public engagement and things like that, yep.
        2                   Q.   The last page of the document, you
        3       say -- here there's a paragraph where you say:
        4       The question is, we have people calling for more
        5       monitoring of speech on platforms.           And then you
        6       go on to say:      We have to built the platforms
        7       that this is a lie and they need to take it down
        8       or we're asking the platforms to do that; right?
        9                   A.   Yeah, that's what -- that's what
       10       the quote is, yep.
       11                   Q.   Okay.    Is that, in fact, what the
       12       MDM team is doing or I guess it was countering
       13       foreign influence task force team was doing in
       14       2020 when it was routing disinformation concerns
       15       to Facebook, were you telling them to --
       16                   A.   No.
       17                   Q.   Go ahead.
       18                   A.   No.     Essentially what this quote is
       19       saying is that in the general conversation about
       20       how to address mis and disinformation there are
       21       a lot of people saying that we should -- the
       22       government should be the ones taking things
       23       down, or the government should be asking the
       24       platforms to do certain things, and that's not
       25       necessarily the right spot for government to be.



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        1                   Q.   So when you say:        We have to tell
        2       the platforms that this is a lie and they need
        3       to take it down, you're attributing that view to
        4       other people, not yourself?
        5                   A.   Yeah, so that's generally what we
        6       hear a lot, you go out and you talk to different
        7       groups about disinformation that's just a common
        8       theme that we would hear from people that we
        9       should be doing.
       10                        And as I mentioned, the rest of the
       11       quote is -- is -- it's just not a question of
       12       what we should be doing.         There's lots of issues
       13       and things like that there.         So that's what I
       14       was trying to get across there.
       15                        (Exhibit No. 52 was marked for
       16       identification.)
       17    BY MR. SAUER:
       18                   Q.   Exhibit 52.
       19                   A.   52?   I've got it.
       20                        MR. SAUER:     How long have we been
       21       on the record.
       22                        MR. SCOTT:     So I have an unofficial
       23       tally of six hours and 32 minutes.
       24                        MR. SAUER:     Okay.    Exhibit --
       25                        MR. GARDNER:     I agree.



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        1    BY MR. SAUER:
        2                   Q.   Exhibit 52, if we go in this
        3       e-mail -- excuse me, there's an e-mail from
        4       Lauren Protentis copying Allison Snell and Geoff
        5       Hale and Rob Schaul to a contact at Google; do
        6       you see that?
        7                   A.   Mm-hmm.
        8                   Q.   And she says, this is in February
        9       17th of 2022; do you see that?
       10                   A.   I do.
       11                   Q.   And she says:     Hi Richard, I hope
       12       this e-mail finds you well.         The Department of
       13       Treasury has asked our team for an appropriate
       14       POCs -- I assume that means points of contact --
       15       to discuss social media and influence matters.
       16       We would like to make a connection to Google, if
       17       you're amenable; do you see that?
       18                   A.   I do.
       19                   Q.   What -- do you know why Treasury
       20       reached out to CISA to get a contact for -- at
       21       social media platforms to discuss social media
       22       and influence matters?
       23                        MR. GARDNER:     Objection, lack of
       24       foundation.
       25                   A.   I -- I don't know why Treasury



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        1       reached out, but CISA obviously, as we discussed
        2       earlier, has points of contact in various social
        3       media companies.
        4                   Q.   Does that happen from time to time,
        5       that other agencies would reach out to CISA and
        6       say:     Can you put us in touch with a social
        7       media contact?
        8                   A.   It's -- it's happened a couple
        9       times.      I don't -- I don't -- I don't recall how
       10       many, and it's -- it's been awhile, I think,
       11       but -- so if that qualifies as time to time.
       12                   Q.   Do you know what Lauren Protentis
       13       meant when she talked about social media
       14       influence matters, do you know what that means?
       15                        MR. GARDNER:     Objection, calls for
       16       speculation.
       17                   A.   Yeah, I don't know what she means.
       18                   Q.   Were you on detail when this e-mail
       19       was sent?
       20                   A.   I was.
       21                   Q.   Do you remember any discussions
       22       with anyone about the Department of Treasury
       23       reaching out to discuss -- I'm sorry -- wanting
       24       to be put in place in contact with social media
       25       platforms?



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        1                   A.   I don't, no.
        2                   Q.   There's a follow up e-mail from
        3       Ms. Protentis, saying:        Apologies for the second
        4       e-mail, this is somewhat time sensitive.             Do you
        5       know why Treasury was raising a time sensitive
        6       concern -- concern?
        7                        MR. GARDNER:     Objection, calls for
        8       speculation.
        9                   A.   I don't know.
       10                   Q.   Do you know if Treasury ever
       11       connected with the social media platform?
       12                   A.   I don't know.
       13                        (Exhibit No. 46 was marked for
       14       identification.)
       15    BY MR. SAUER:
       16                   Q.   I'm pulling up Exhibit 46.         It
       17       should be in the second e-mail I sent you a
       18       moment ago.
       19                   A.   I got it.
       20                   Q.   Here's a draft report to the CISA
       21       director, dated June 22nd, 2022; correct?
       22                   A.   Yes.
       23                   Q.   This is from the CISA cyber
       24       security advisory committee; correct?
       25                   A.   It appears so, yep.



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        1                   Q.   I believe you said in your
        2       interrogatory responses that this also has an
        3       MDM subcommittee; is that right?
        4                   A.   Yes, that's correct.
        5                   Q.   Do you participate in those
        6       committees, either the security advisory
        7       committee or the MDM subcommittee?
        8                   A.   I don't.
        9                   Q.   Who participates from -- does
       10       anyone participate from the MDM team in those --
       11       those committees?
       12                   A.   Not from the MDM team, no.
       13                   Q.   So no one on the MDM team
       14       participates in the committees?
       15                   A.   No.
       16                   Q.   Who from CISA participates, do you
       17       know?
       18                   A.   Kim Wyman is, as I mentioned
       19       earlier, I think, that was one of her
       20       responsibilities, and then Geoff Hale
       21       participated.
       22                   Q.   And then who else, from outside
       23       CISA, participates in these meetings?
       24                        MR. GARDNER:     Objection, lack of
       25       foundation.



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        1                   A.   I don't know who's -- I don't know
        2       who's in the -- the participant list.            I believe
        3       it's all publicly available online.
        4                   Q.   Turning to the second page of this
        5       document.
        6                   A.   Okay.   Recommendations?
        7                   Q.   Yeah.   First bullet point, do you
        8       see there, it says:         CISA should focus on MD --
        9       I assume that's mis and disinformation?
       10                   A.   Is that a question?
       11                   Q.   Yeah.   Is that --
       12                        MR. GARDNER:     Objection, calls for
       13       speculation, lack of foundation.
       14    BY MR. SAUER:
       15                   Q.   Does MD refer to mis and
       16       disinformation?
       17                   A.   In the context, I would say that it
       18       does, but I don't -- I don't know what they
       19       meant by it.
       20                   Q.   It says:    CISA should focus on MD
       21       that risks undermining critical functions of
       22       American society, including sub-bullet one, MD
       23       that suppresses election participation or
       24       falsely undermines confidence in election
       25       procedures and outcomes; correct?



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        1                   A.   Correct.
        2                   Q.   So the advisory committee is
        3       recommending that CISA focus on election-related
        4       disinformation; right?
        5                        MR. GARDNER:     Objection, lack of
        6       foundation.
        7                   A.   That's how I would read that
        8       sentence, correct.
        9                   Q.   Okay.   Second bullet point says:
       10       MD that undermines critical functions carried
       11       out by other key democratic institutions, such
       12       as the courts or by other sectors, such as the
       13       financial system or public health measures;
       14       right?
       15                   A.   That's what it says, yep.
       16                   Q.   You talked about the financial
       17       system, earlier, and interestingly that's raised
       18       in this recommendation.         Are you aware of CISA
       19       doing anything to address MD that undermines the
       20       financial system?
       21                   A.   So we've -- as I mentioned earlier,
       22       we -- we're working with Treasury to develop a
       23       product to help the financial services sector
       24       understand MDM risks to the sector.
       25                   Q.   What risks have there been to that



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        1       sector?      And I don't remember any runs on banks,
        2       you know, recently, what risks?
        3                   A.   So again, as I mentioned earlier,
        4       we're not the experts in financial services, so
        5       we, you know, depend on the financial services
        6       sector to kind of work us through, help us work
        7       through what those risks are, we're pretty early
        8       in the process, so we're still kind of working
        9       through those sorts of questions.
       10                   Q.   Do you know what, what was the
       11       impetus for doing that product in the first
       12       place?      Was someone worried about MDM that would
       13       undermine financial services?
       14                   A.   I -- I don't -- I don't know why
       15       Treasury reached out to us and discussed that, I
       16       don't recall.
       17                   Q.   Is that unrelated to the last
       18       e-mail we saw, where they wanted to talk to
       19       social media platforms about social media and
       20       influence matters?
       21                        MR. GARDNER:     Objection, calls for
       22       speculation, lack of foundation.
       23                   A.   Yeah, I don't know.       I don't know
       24       if the two are connected.
       25                   Q.   Okay.   The bottom of the same page,



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        1       there's a bullet recommending that CISA should
        2       consider MD across the information ecosystem;
        3       right?
        4                   A.   Yep.
        5                   Q.   And it goes down in the second
        6       sub-bullet there, it says:         CISA should approach
        7       the MD problems with the entire information
        8       ecosystem in mind, this includes social media
        9       platforms of all sizes, mainstream media, cable
       10       news, hyper partisan media, talk radio and other
       11       online resources; do you see that?
       12                   A.   I do.
       13                   Q.   Has CISA been taking steps to
       14       consider or address misinformation in these
       15       other venues, besides social media, for example,
       16       mainstream media?
       17                   A.   No.     What I would say is that,
       18       generally speaking, we -- we -- I believe it's
       19       generally too much of a focus on just the social
       20       media platform, and MDM that kind of flows
       21       through social media.         When potentially it's MDM
       22       that flows through all different sources of
       23       media communication.
       24                        So that's kind of how we think
       25       about it, we try not to just focus on MDM, but



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        1       we don't do anything counter to your point.
        2       Again, we built resilience helping people
        3       understand what's going on and how to mitigate
        4       the risks.
        5                   Q.   Do you try to build resilience to
        6       MDM on -- in cable news?
        7                   A.   I mean, generically speaking, all
        8       of our resilience activity would be useful
        9       regardless of how -- we try to make it as broad
       10       as possible so it's applicable anywhere that
       11       somebody may come across MDM.
       12                   Q.   How about hyper partisan media,
       13       what does that mean, do you know?
       14                        MR. GARDNER:     Objection, calls for
       15       speculation.
       16                   A.   I don't know what it's meant in
       17       this context, but again, we try to be general
       18       enough in our kind of guidance to help people
       19       understand.
       20                        We're essentially agnostic of where
       21       it's coming from, we just want people to be able
       22       to understand where -- what it is, how it works,
       23       and things they can do to mitigate those risks.
       24                   Q.   I take it, then, the MDM team would
       25       agree with this recommendation that CISA should



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        1       approach the MDM problem, you know, with a whole
        2       information universe in mind, including
        3       mainstream media, cable news, hyper partisan
        4       media, talk radio, and other online resources?
        5                        MR. GARDNER:     Objection, form.
        6                   A.   What I would say, from a
        7       resilience-building standpoint, we generally
        8       don't -- try not to hone too much on any one
        9       particular medium for communication.            There's
       10       obviously tactics that fall across multiple, but
       11       we don't generally try to hone in on any one in
       12       particular.
       13                        (Exhibit No. 59 was marked for
       14       identification.)
       15    BY MR. SAUER:
       16                   Q.   I'm pulling up Exhibit 59.
       17                   A.   Okay.
       18                   Q.   And then here's a cyber security
       19       advisory committee e-mail to a group, I assume
       20       it's the committee members; does that look right
       21       to you or do you not know?
       22                        MR. GARDNER:     Objection, lack of
       23       foundation, calls for speculation.
       24                   A.   Yeah, I don't -- I don't know who
       25       all the members are, so it would be hard for me



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        1       to say if that's the case.
        2                   Q.   Here's some people that are copied
        3       on this e-mail from the CISA cyber security
        4       advisory committee e-mail, the first one is Kate
        5       Starbird; right?
        6                   A.   Yeah.
        7                   Q.   Do you know who she is?
        8                   A.   She's a professor at the University
        9       of Washington.
       10                   Q.   She was involved in the Election
       11       Integrity Partnership that we talked about
       12       earlier; right?
       13                   A.   I believe so, yeah.
       14                   Q.   Next one is Vijaya Gadde or Gadde,
       15       do you know who she is?
       16                   A.   I don't know.
       17                   Q.   Was she a senior official at
       18       Twitter, at the time, do you know?
       19                        MR. GARDNER:     Objection, calls for
       20       speculation.
       21                   A.   I don't know.
       22                   Q.   I see you've got Kim Wyman and
       23       Geoff Hale on this e-mail.         They were the two
       24       that you testified earlier are involved in the
       25       cyber security advisory committee for CISA;



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        1       right?
        2                   A.   Yep.
        3                   Q.   And then lower down, there's a list
        4       of -- we have identified a list of potential
        5       subject matter experts to potentially brief at
        6       our biweekly meetings, bios attached; do you see
        7       that?
        8                   A.   I do.
        9                   Q.   So -- and that's a list of, I take
       10       it, experts who would provide briefings at the
       11       advisory committee's meetings; is that how you
       12       read that?
       13                        MR. GARDNER:     Objection, lack of
       14       foundation, calls for speculation.
       15                   A.   So the paragraph reads:        Identify a
       16       list of subject matter experts.           Please be
       17       prepared to provide your feedback.            I'm sorry,
       18       what was your question again?
       19                   Q.   Let me just ask:        Is the third
       20       expert on the list is Renée DiResta; right?
       21                   A.   Yeah.
       22                   Q.   And she's at Stanford Internet
       23       Observatory; right?
       24                   A.   Correct.
       25                   Q.   You were involved in conversations



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        1       with her, because she was a part of the Election
        2       Integrity Partnership; right?
        3                   A.    We should have Stanford Internet
        4       Observatory, we were certainly involved in
        5       conversations with her, as I talked about
        6       earlier.
        7                   Q.    And those conversations were
        8       related to the commencement of the Election
        9       Integrity Partnership; right?
       10                   A.    I -- I don't know if she was
       11       involved in the early conversations, before it
       12       stood up.        I know Stamos was there, I don't know
       13       if Renée was there in those early conversations.
       14                   Q.    Was she in some conversations
       15       between -- with you about the EIP?
       16                   A.    As I mentioned before, she briefed
       17       us about the 2022 EIP work.           I don't recall
       18       conversations in 2020, but again, it wouldn't
       19       surprise me if she was involved in those.
       20                         MR. SAUER:     Let's go off the
       21       record.
       22                         THE VIDEOGRAPHER:        The time is now
       23       5:46 p.m.        We are off the record.
       24                         (Recess.)
       25                         THE VIDEOGRAPHER:        The time is now



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        1       5:53 p.m.        We're back on the record.
        2                         MR. SAUER:     Are we back on the
        3       record?
        4                         THE VIDEOGRAPHER:        Yes.
        5                         MR. SAUER:     Oh, sorry.
        6                         (Exhibit No. 19 was marked for
        7       identification.)
        8    BY MR. SAUER:
        9                   Q.    Exhibit 19, I put it on the screen
       10       share.
       11                         Here's a proposal from CIS, Center
       12       For Internet Security, to create an election
       13       misinformation reporting portal, and it talks
       14       about the benefits to election officials being
       15       in a single place for reporting mis and
       16       disinformation across multiple social media
       17       platforms.
       18                         Do you know if this proposal was
       19       ever implemented to create a single election
       20       misinformation reporting portal?
       21                   A.    I -- I don't know.        I'm not
       22       entirely sure.        I don't know that I've seen
       23       this, I don't know if I've seen this proposal
       24       before, so I'm not certain.
       25                   Q.    So you don't know?



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        1                   A.      It sounds like what they were
        2       trying to do, that we discussed earlier, but I
        3       don't know to what extent it was, to your
        4       question, to what extent it was stood up or
        5       established.
        6                   Q.      You don't know to what extent that
        7       CIS managed to implement this proposal for an
        8       elections misinformation reporting portal?
        9                   A.      Yeah, or if they -- if they did it
       10       at all.
       11                           (Exhibit No. 21 was marked for
       12       identification.)
       13    BY MR. SAUER:
       14                   Q.      Exhibit 21, it's on the screen
       15       share, this is a CNN political report, September
       16       of 2022.         If you go to the third -- fourth page
       17       of the document, in this report it says:             While
       18       the anti-doxing and foreign influence parts of
       19       the proposal remain stalled, work on the online,
       20       quote, portal for election officials to flag
       21       misinformation to social media platforms
       22       predated the proposal and continues today,
       23       according to people familiar with it.
       24                           So are you aware of ongoing work,
       25       at least as of September of 2022, to set up an



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        1       online portal for election officials to flag
        2       misinformation to social media platforms.
        3                   A.      So I think as I testified to
        4       earlier, my understanding is that CIS did do
        5       something along the lines, I just don't know the
        6       extent of it.
        7                   Q.      And you don't know whether or when
        8       it -- it might be completed?
        9                   A.      Correct.
       10                           (Exhibit No. 24 was marked for
       11       identification.)
       12    BY MR. SAUER:
       13                   Q.      Exhibit 24, here's a CISA bulletin
       14       that's on your website called --
       15                   A.      Mm-hmm.
       16                   Q.      -- misinformation, you go to the
       17       third page.
       18                   A.      Correct.
       19                   Q.      Are you familiar with this
       20       bulletin?
       21                   A.      Actually, I think this may be our
       22       website.         I'm not sure if it's a bulletin.
       23                   Q.      It is on your website.     I don't
       24       know if it's a bulletin, either.
       25                           Let me ask you this:     Here on the



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        1       third page, it says:          Bridging election
        2       stakeholders and social media, and under there
        3       it says:         The MDM team serves as a switchboard
        4       for routing disinformation concerns to
        5       appropriate social media platforms and law
        6       enforcement; correct.
        7                   A.      It does, yep.
        8                   Q.      You guys refer stuff to law
        9       enforcement, too?
       10                   A.      Yes, if there was -- particularly
       11       if there was violence, promoted in whatever was
       12       sent to us from an election official.
       13                   Q.      Anything else involved that would
       14       be reported to law enforcement, other than
       15       threats of violence?
       16                   A.      So we would generally share
       17       whatever we received from the election officials
       18       with the FBI, in case there was an ongoing
       19       investigation related to whatever it was that we
       20       forwarded to them.
       21                   Q.      And is this still true, I mean,
       22       it's on your website today, is it still true
       23       that the MDM team serves as a switchboard for
       24       routing disinformation concerns to appropriate
       25       social media platforms?



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        1                   A.   No.   Like I said earlier, we didn't
        2       do this in 2022, so we should change that to
        3       served.      Thank you for finding that.
        4                   Q.   And I take it you -- you testified
        5       earlier that that decision was made in late
        6       April or early May of 2022?
        7                   A.   That's my recollection.
        8                   Q.   Do you know why the decision was
        9       made?
       10                   A.   I don't, but as I also mentioned,
       11       it was something that we were comfortable with,
       12       from the MDM team perspective, because of heavy
       13       burden on our resources.
       14                   Q.   You anticipate serving in a
       15       switchboard in the future or do you not know
       16       whether you will?
       17                   A.   That's not my decision to make,
       18       so -- so I don't want to speak on behalf of the
       19       director or future directors.
       20                   Q.   You don't know what the director's
       21       plans are for the future when it comes to
       22       serving as a switchboard for routing
       23       disinformation concerns?
       24                   A.   I don't know what direct --
       25       Director Easterly's position is, and obviously I



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        1       wouldn't know any future director's position on
        2       that, either.
        3                           (Exhibit No. 6 was marked for
        4       identification.)
        5    BY MR. SAUER:
        6                   Q.      Exhibit 6?
        7                   A.      Okay.
        8                   Q.      Here's a public comments by Renée
        9       DiResta about -- about the Election Integrity
       10       Project.         And let me put it on the screen share.
       11                           On the third page, call -- which is
       12       called page 2 of the transcript, she talks -- or
       13       sorry, it's quoting Alex Stamos, saying that the
       14       EIP started with our team at Stanford sending a
       15       group of interns to work with CISA; right?             Do
       16       you see that?
       17                   A.      Yep.
       18                   Q.      It talks about the sort of stuff we
       19       talked about the gap earlier, about how there's
       20       a lack of capability, about disinformation.
       21                           But Stamos says they lack a funding
       22       and legal authorization to do the kinds of work
       23       that will be necessary to truly understand how
       24       election disinformation was operated; correct?
       25                   A.      That's what he says, yep.



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        1                   Q.      And he goes on to say:    Our
        2       partners in government, most particularly those
        3       in CISA and DHS, but also state and local
        4       governments whom we worked with; correct?
        5                   A.      He says that, yes.
        6                   Q.      Were CISA and DHS partners of the
        7       EIP, in your view?
        8                   A.      We generally describe any external
        9       organization that we have a relationship as a
       10       partner.         So I think that probably, you know --
       11       so yeah.
       12                   Q.      Okay.   So in a sense that you were
       13       a partner of the EIP, fair to say?
       14                   A.      Again, we would say that of any
       15       external entity that we have a relationship
       16       with.
       17                           (Exhibit No. 7 was marked for
       18       identification.)
       19    BY MR. SAUER:
       20                   Q.      On the screen share I put Exhibit
       21       7, which is now public comments from Renée
       22       DiResta from the EIP; do you see it up there?
       23                   A.      Sorry, you are an on Exhibit 7?
       24                   Q.      Yeah.
       25                   A.      Yep.



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        1                   Q.   If you go to page 2 of the
        2       transcript, which is page 4 of the PDF, and
        3       it -- it quotes Renée DiResta, again, talking
        4       about the students from Stanford doing an
        5       internship at CISA and identifying a gap, right,
        6       that was the word we used earlier?
        7                   A.   Mm-hmm.
        8                   Q.   It talks about how there was no
        9       clear federal lead to coordinate, and it wasn't
       10       prepared to identify it; correct?
       11                   A.   I don't --
       12                   Q.   It says that gap, the federal
       13       government wasn't prepared to identify and
       14       analyze election mis and disinfo; correct?
       15                   A.   Correct.     That's what she says,
       16       yep.
       17                   Q.   And she says there was no clear
       18       federal lead to coordinate the work and so
       19       forth?
       20                   A.   Correct.
       21                   Q.   And she says:     There were unclear
       22       legal authorities, including very clear first
       23       amendment questions; right?
       24                   A.   That's what she says.
       25                   Q.   That's a reference to the federal



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        1       government taking the leadership role and
        2       analyzing to respond to election mis and
        3       disinformation; correct?
        4                   A.      I'm not seeing that in here, is
        5       that a sentence or are you asking me to --
        6                   Q.      I'm just --
        7                   A.      -- interpret what Renée is saying?
        8                   Q.      Yeah, interpret, is that how you
        9       read it?         That's how I read it.
       10                           MR. GARDNER:     I'm sorry, can you --
       11       John, can you re-ask that question?
       12    BY MR. SAUER:
       13                   Q.      Let me ask you this:    Were there
       14       any discussions of -- that you're aware of,
       15       relating to the EIP, that related to unclear
       16       legal authorities, including very real first
       17       amendment questions, when it comes to direct
       18       involvement of the federal government?
       19                   A.      I'm not aware, but, in general,
       20       conversations about MDM, first amendment comes
       21       up.
       22                   Q.      Did it come up with the CISA
       23       interns who originated the idea of the EIP?
       24                   A.      I don't -- I don't recall that
       25       being the nature of the conversation.            I think



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        1       it was really mostly around gaps for election
        2       officials.     But as you probably picked up, I
        3       don't remember in detail the conversations that
        4       well that long ago.
        5                       MR. SAUER:     I think that's all the
        6       questions I have.
        7                       MR. GARDNER:      Well, the government
        8       has no questions.       We just, again, we emphasize
        9       that the witness will read and sign.
       10                       THE VIDEOGRAPHER:        This
       11       concludes -- this concludes the deposition of
       12       Brian Scully.      The time is now 6:04 p.m.         We are
       13       off the record.
       14                       THE REPORTER:      Mr. Sauer, when do
       15       you need the transcript?
       16                       MR. SAUER:     Could we have it
       17       expedited within two days, that's -- Ben, I
       18       think our standard request for these is two
       19       business days?
       20                       MR. GARDNER:      Yes.
       21                       THE REPORTER:      And Mr. Gardner,
       22       will you be purchasing a copy.
       23                       MR. GARDNER:      Yes, ma'am, we'll be
       24       purchasing a copy.
       25                       THE REPORTER:      And you want the



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        1       same delivery?
        2                        MR. GARDNER:     Yes, ma'am.
        3                        THE REPORTER:     Is it okay if I
        4       e-mail you spelling questions on Monday?
        5                        MR. GARDNER:     You have until
        6       Tuesday, with the holiday.
        7                        (Signature having not been waived,
        8       the deposition of BRIAN SCULLY was concluded at
        9       6:04 p.m.)
       10                    ACKNOWLEDGMENT OF DEPONENT
       11                   I, BRIAN SCULLY, do hereby acknowledge
       12    that I have read and examined the foregoing
       13    testimony, and the same is a true, correct and
       14    complete transcription of the testimony given by
       15    me and any corrections appear on the attached
       16    Errata sheet signed by me.
       17
       18    ____________________           ____________________
       19           (DATE)                    (SIGNATURE)
       20
       21
       22
       23
       24
       25



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        1                CERTIFICATE OF SHORTHAND REPORTER
        2                   I, Cassandra E. Ellis, Registered
        3    Professional Reporter, the officer before whom the
        4    foregoing proceedings were taken, do hereby
        5    certify that the foregoing transcript is a true
        6    and correct record of the proceedings; that said
        7    proceedings were taken by me stenographically and
        8    thereafter reduced to typewriting under my
        9    supervision; and that I am neither counsel for,
       10    related to, nor employed by any of the parties to
       11    this case and have no interest, financial or
       12    otherwise, in its outcome.
       13                   IN WITNESS WHEREOF, I have hereunto set
       14    my hand this 17th day of January 2023.
       15
       16
       17    ____________________________________________
       18    CASSANDRA E. ELLIS, CSR-HI, CSR-VA, CCR-WA, RPR,
       19    CRR
       20    REALTIME SYSTEMS ADMINISTRATOR
       21    NOTARY PUBLIC
       22
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       24
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        1                                  LEXITAS LEGAL
        2
        3    January 17, 2023
        4
        5    JOSHUA E. GARDNER, ESQUIRE
             DEPARTMENT OF JUSTICE
        6    1100 L STREET, NORTHWEST
             WASHINGTON, D.C. 20530
        7
        8    IN RE: THE STATE OF MISSOURI, et al. v. JOSEPH R.
                    BIDEN, JR., et al.
        9
       10    Dear JOSHUA E. GARDNER:

       11    Please find enclosed your copies of the deposition of
       12    BRIAN J. SCULLY taken on January 12, 2023 in the
       13    above-referenced case. Also enclosed is the original
       14    signature page and errata sheets.

       15    Please have the witness read your copy of the
       16    transcript, indicate any changes and/or corrections
       17    desired on the errata sheets, and sign the signature
       18    page before a notary public.

       19    Please return the errata sheets and notarized
       20    signature page within 30 days to our office at 1608
       21    Locust Street, Kansas City, MO 64108 for filing.

       22    Sincerely,
       23

       24    Lexitas Legal

       25    Enclosures



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        1                              ERRATA SHEET
        2    Witness Name: BRIAN J. SCULLY
        3    Case Name: THE STATE OF MISSOURI, et al. v. JOSEPH R.
                        BIDEN, JR., et al.
        4    Date Taken: JANUARY 12, 2023

        5    Page #_____       Line #_____
        6    Should read:      ____________________________________
        7    Reason for change:       ______________________________
        8
        9    Page #_____       Line #_____
       10    Should read:      ____________________________________
       11    Reason for change:       ______________________________
       12
       13    Page #_____       Line #_____
       14    Should read:      ____________________________________
       15    Reason for change:       ______________________________
       16
       17    Page #_____       Line #_____
       18    Should read:      ____________________________________
       19    Reason for change:       ______________________________
       20
       21    Page #_____       Line #_____
       22    Should read:      ____________________________________
       23    Reason for change:       ______________________________
       24
       25    Witness Signature:       ______________________________



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        1    STATE OF _______________)
        2
        3    COUNTY OF ______________)
        4
        5    I, BRIAN J. SCULLY, do hereby certify:
        6             That I have read the foregoing deposition;
        7             That I have made such changes in form
        8    and/or substance to the within deposition as might
        9    be necessary to render the same true and correct;
       10             That having made such changes thereon, I
       11    hereby subscribe my name to the deposition.
       12             I declare under penalty of perjury that the
       13    foregoing is true and correct.
       14             Executed this _____ day of _______________,
       15    20___, at ___________________________.
       16
       17
       18
       19                                 __________________________
       20                                 BRIAN J. SCULLY
       21
       22                                 __________________________
       23                                 NOTARY PUBLIC
       24    My Commission Expires:

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